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           EXHIBIT A
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                                          USA Warranty and Maintenance
                                          Volkswagen
                                          Model year 2010
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                 Afterword
                 It has always been Volkswagen's policy to con-       Text and specifications in this manual are based
                 tinuously improve its products. Volkswagen,          on information and knowledge available at the
                 therefore, reserves the right to make changes in     time of printing.
                 design and specifications, and to make addi-
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                 swagen Group of America, Inc. Specifications         Printed on environmentally friendly paper
                 are subject to change without notice.                (bleached without chlorine, recyclable).
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                                                                      USA Warranty and Maintenance | Volkswagen
                                                                                                Print status: 10.2009
                                                | Art.-Nr.: 103.5W5.WAM.23 | Ausgabe: englisch Nordamerika 11.2009
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             2       Warranty



             Warranty
             Owner's information
             Dear Owner,                                             In addition to and separate from the above com-
                                                                     prehensive warranty package, Volkswagen of
             This booklet contains the limited warranties ap-
                                                                     America, Inc., an operating unit of Volkswagen
             plicable to your new Volkswagen model. Please
                                                                     Group of America, Inc. (“Volkswagen”) also of-
             read these limited warranties carefully to deter-
                                                                     fers you complimentary participation in the
             mine your warranty rights and obligations.
                                                                     Volkswagen Carefree Maintenance Program de-
             Your New Vehicle Limited Warranty includes              scribed in this booklet.
             virtually bumper to bumper coverage for 3
                                                                     If you have a concern or you are not satisfied
             years or 36,000 miles, whichever occurs first
                                                                     with the service that you receive from your
             and powertrain limited warranty coverage for 5
                                                                     dealer, we suggest that you discuss it with the
             years or 60,000 miles, whichever occurs first.
                                                                     Service Manager at your dealership. If it is not
             Your vehicle has a limited warranty corrosion
                                                                     resolved through your dealership, you may call
             against perforation for a period of 12 years irre-
                                                                     or write to the Volkswagen Customer CARE
             spective of mileage.
                                                                     Center.
             In addition, your vehicle is covered by emissions
                                                                     In the event that your authorized Volkswagen
             limited warranties mandated by Federal law. If
                                                                     dealer or Volkswagen Customer CARE Represen-
             you are a resident of the State of California, Con-
                                                                     tative has been unable to address the concern to
             necticut, Maine, New Jersey, New York, Oregon,
                                                                     your satisfaction, you may take advantage of
             Rhode Island, Vermont, Washington or the Com-
                                                                     BBB AUTO LINE, a program administered
             monwealths of Massachusetts and Pennsylvania
                                                                     through the Council of Better Business Bureaus.
             and have purchased a California emissions
                                                                     The BBB AUTO LINE program offers both medi-
             equipped vehicle, you may also have rights
                                                                     ation and arbitration services for the resolution
             under California mandated emissions warran-
                                                                     of disputes arising while a vehicle is under war-
             ties. Please consult these warranties whenever a
                                                                     ranty.
             repair to your emission control system is re-
             quired to determine whether it is covered by            Complete details of Volkswagen's Customer
             warranty. Your satisfaction in understanding the        CARE programs begin on ⇒ page 17.
             limited warranties that apply to your
                                                                     •   Notice of Address Change
             Volkswagen model is important to us. Any ques-
             tions concerning warranty coverage should be            •   Notice of Used Car Purchase
             directed to:                                            The “National Traffic & Motor Vehicle Safety Act
                                                                     of 1966” requires manufacturers to be in a posi-
             Volkswagen Group of America, Inc.
                                                                     tion to contact vehicle owners if a correction of a
             Customer CARE
                                                                     safety-related defect or a noncompliance with
             3499 West Hamlin Road
                                                                     an applicable Federal motor vehicle safety stan-
             Rochester Hills, MI 48309
                                                                     dard becomes necessary. If you change your ad-
             Telephone: 1 (800) 822-8987
                                                                     dress or buy a used Volkswagen model, com-
             Refer to the California Emissions Warranty Sup-         plete one of the postcards in the middle of this
             plement for additional information on Cali-             booklet. You need not use this card if you pur-
             fornia Emissions Warranty coverage.                     chased your Volkswagen through an authorized
                                                                     Volkswagen dealer.
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                                                                                                      Warranty             3



                New Vehicle Limited Warranty
                What is covered
                Warranty period                                          Mechanical adjustments not associated with a
                The New Vehicle Limited Warranty period is 3             defect in material and workmanship, are cov-
                years or 36,000 miles, whichever occurs first.           ered up to one year or 12,000 miles, whichever
                                                                         occurs first (i.e. headlight adjustment).
                Any implied warranty, including any implied
                warranty of merchantability or warranty of fit-          Towing / Jump start
                ness for a particular purpose, is limited in dura-       Towing service to the nearest authorized
                tion to the period of this written warranty. Some        Volkswagen dealer and/or a jump start are cov-
                states do not allow limitations on how long an           ered for 3 years or 36,000 miles, whichever oc-
                implied warranty lasts, so this limitation may           curs first, IF your vehicle is inoperable AND the
                not apply to you.                                        failure is warrantable.
                You are required to use the BBB AUTO LINE pro-           Refer to the 24-Hour Roadside Assistance
                cedure before pursuing any legal remedy under            Owner's Guide for specific details on the ser-
                15 U.S.C. 2310(d) with respect to the New Vehicle        vices provided.
                Limited Warranty. You may also be required to
                use the BBB AUTO LINE procedure before pur-              Where to go for warranty service
                suing legal remedies under your state lemon              This limited warranty will be honored by any au-
                law. Please refer to the Consumer Protection In-         thorized Volkswagen dealer in the United States,
                formation section of this booklet for more in-           including its territories.
                formation.
                                                                         If your Volkswagen model is brought to an au-
                Coverage                                                 thorized Volkswagen dealer outside the United
                                                                         States, including its territories, this limited war-
                This limited warranty covers any repair to cor-
                                                                         ranty will not apply. Defects in material or work-
                rect a manufacturer's defect in material or work-
                                                                         manship will be corrected under the terms of the
                manship except wheel alignment, tire balance,
                                                                         limited warranty for new Volkswagen vehicles in
                and the repair or replacement of tires.
                                                                         effect in that country (except Canada).
                The repair or replacement of wear and tear
                                                                         Warranty repairs while traveling in Canada
                items, which are defined as brake pads worn
                below manufacturer specifications, brake discs           Warranty repairs while traveling in Canada
                worn below manufacturer specifications, and              should be performed by an authorized
                light bulbs1) replaced for wear and tear, are cov-       Volkswagen dealer. If your Volkswagen model is
                ered up to one year or 12,000 miles, whichever           within the United States New Vehicle Limited
                occurs first. Wiper blades replaced for wear and         Warranty, Canadian dealers can submit a claim.
                tear are covered up to 6 months or 6,000 miles,          Proof of United States residence is required. If
                whichever occurs first.                                  the Canadian dealer cannot submit your claim,
                                                                         you may be asked to pay for the repair. On your
                Original Equipment Battery
                                                                         return to the United States, please present the
                Original equipment batteries are covered 100%            invoice to your United States Volkswagen dealer,
                parts and labor for 2 years or 24,000 miles,             who will submit a claim on your behalf and ob-
                whichever occurs first, for defects in material or       tain reimbursement for you.
                workmanship.
                                                                         When the warranty period begins
                Mechanical Adjustments
                                                                         The warranty period begins on the date the ve-
                                                                         hicle is delivered to either the original purchaser


                1)   Excludes Halogen and Xenon headlight bulbs, which are covered for 3 years or 36,000 miles, whichever oc-
                     curs first. Headlight bulbs damaged by outside influence are not covered.
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           4         Warranty


           or the original lessee; or if the vehicle is first      Emergency repairs
           placed in service as a “demonstrator” or “com-          If an emergency repair was performed by a non-
           pany” car, on the date such vehicle is first placed     Volkswagen service facility, keep all receipts, re-
           in service.                                             pair orders, and parts removed from your
           This New Vehicle Limited Warranty is automati-          Volkswagen model.
           cally transferred without cost if the ownership of      You will be reimbursed if the repair work was
           the vehicle changes within the Warranty period.         needed and correctly performed and it was im-
                                                                   possible or unreasonable under the circum-
           Free-of-charge repair
                                                                   stances to tow or drive your Volkswagen model
           Repairs under this limited warranty are free of         to the nearest authorized Volkswagen dealer.
           charge. Your authorized Volkswagen dealer will
           repair the defective part or replace it with a new      A statement of the circumstances that prevented
           or remanufactured genuine Volkswagen part.              you from getting to an authorized Volkswagen
                                                                   dealer, together with the paid receipts, repair or-
                                                                   ders, and replaced parts must be submitted to
                                                                   your authorized Volkswagen dealer in order to
                                                                   be considered for reimbursement.



           What is not covered
           Tires                                                   Damage or malfunctions due to misuse, negli-
           Tires are not covered by this warranty, but are         gence, alteration, accident or fire
           separately warranted by the tire manufacturer.          This limited warranty does not cover:
           To assist you in obtaining related Warranty in-
           formation, a list of tire manufacturers and ad-
                                                                   •   damage or malfunctions which are the result
                                                                   of improper repair of the vehicle, installation of
           dresses is provided at the end of this booklet.
                                                                   any non Genuine Volkswagen parts that will
           Verify with the tire manufacturer what is covered
                                                                   alter the vehicle performance specifications
           under their warranty.
                                                                   from those set by the vehicle manufacturer,
           Maintenance services2) and mechanical adjust-           modifications to the vehicle (including the en-
           ments                                                   gine management system), accessories in-
                                                                   cluding but not limited to alarm systems, remote
           This limited warranty does not cover the cost of
                                                                   starters, roof racks or communications equip-
           parts and labor involved in any scheduled main-
                                                                   ment, defects or failures resulting from the use
           tenance service2) .
                                                                   of new parts not sold or approved by
           This limited warranty does not cover the re-            Volkswagen, or used parts, or the resultant
           placement of spark plugs, clutch discs, filters,        damage to associated parts or systems; or
           oil, lubricants, fluids, or air conditioner refrig-     •   damage or malfunctions which were caused
           erant charge, unless their replacement is a nec-        by the alteration of the vehicle, in particular any
           essary part of warranty service on a covered            major or structural alterations including but not
           component.                                              limited to the conversion of the vehicle to a con-
           Mechanical adjustments not associated with a            vertible or the modification of the roof to accom-
           defect in material or workmanship are not cov-          modate a glass roof structure or other similar
           ered after the first year or 12,000 miles, which-       structural alterations; or
           ever occurs first (i.e. headlight adjustment). This     •  damage or malfunctions caused by using
           limited warranty does not cover wheel align-            contaminated or improper fuel, intentional or
           ment or tire balancing.                                 unintentional misfueling; or


           2)   Some specific maintenance services are covered by the Volkswagen Carefree Maintenance Program.
                Please consult the Volkswagen Carefree Maintenance Program guidelines in the maintenance section of
                this booklet.
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                                                                                                       Warranty             5


                • damage or malfunctions caused by collision              Odometer tampering
                or modifications of the vehicle, including but            These limited warranties do not cover repairs on
                not limited to the installation of engine manage-         a Volkswagen model on which the odometer has
                ment components not approved by Volkswagen;               been altered or on which the actual mileage
                or                                                        cannot readily be determined.
                • damage or malfunctions resulting from the               If the speedometer unit is replaced, a “Speed-
                use of the vehicle in competitive events or
                                                                          ometer Replacement Record” must be filled out
                caused by accident or fire; or
                                                                          by an authorized Volkswagen dealer.
                • damage or malfunctions resulting from con-
                tinued operation of the vehicle after a warning           Other expenses
                light, gauge reading or other warnings indicate a         This limited warranty does not cover any inci-
                mechanical or operational problem; or                     dental or consequential damage, including loss
                • damage or malfunctions due to suspension                of value of the vehicle, lost profits or earnings,
                modifications, including but not limited to the           and out-of-pocket expenses for substitute
                installation of aftermarket springs, shock ab-            transportation or lodging3) .
                sorbers, or lowering kits.                                This limited warranty gives you specific legal
                This limited warranty does not cover vehicles se-         rights and you may also have other rights, which
                verely damaged or declared to be a total loss by          vary from state to state.
                an insurer or vehicles substantially re-assem-
                                                                          Other terms
                bled from or repaired with parts obtained from
                another used vehicle.                                     This New Vehicle Limited warranty is issued by
                                                                          Volkswagen. This limited warranty does not
                Damage or malfunctions due to lack of mainte-             apply to Volkswagen vehicles or parts and acces-
                nance                                                     sories not imported or distributed by
                This limited warranty does not cover damage or            Volkswagen.
                malfunctions due to failure to follow recom-              This warranty, the Limited Warranty Against
                mended maintenance and use requirements as                Corrosion Perforation, the Powertrain Limited
                set forth in the Volkswagen Owner’s Manual and            Warranty and the Emissions Warranties are the
                the Maintenance section of this booklet.                  only express warranties made in connection
                Your dealer will deny warranty coverage unless            with the sale of this Volkswagen model. Any im-
                you present to the dealer proof in the form of            plied warranty, including any warranty of mer-
                Service or Repair Orders that all scheduled               chantability or warranty of fitness for a partic-
                maintenance was performed in a timely                     ular purpose, is limited in duration to the stated
                manner.                                                   period of these written warranties.
                                                                          Some states do not allow limitations on how
                Damage caused by the environment
                                                                          long an implied warranty lasts, so, the above
                This limited warranty does not cover damage               limitation may not apply to you.
                caused by airborne industrial pollutants (e.g.
                acid rain), bird droppings, stones, floodwater,           Volkswagen reserves the right to make improve-
                windstorms, tree sap or other similar occur-              ments or change the design of any Volkswagen
                rences.                                                   model at any time with no obligation to make
                                                                          similar changes on vehicles previously sold.
                Glass
                                                                          Neither Volkswagen nor the manufacturer as-
                This limited warranty does not cover glass                sumes, or authorizes any person to assume, any
                breakage, unless due to a defect in manufac-              other obligation or liability on its behalf.
                turer’s material or workmanship.




                3)   Some states do not allow the exclusion or limitation of incidental or consequential damage, so this limi-
                     tation or exclusion may not apply to you. This warranty gives you specific legal rights and you may also
                     have other rights, which vary from state to state.
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           6        Warranty



           Powertrain Limited Warranty
           What is covered
           Warranty period                                         If your Volkswagen model is brought to an au-
           The coverage under this warranty lasts for              thorized Volkswagen dealer outside the United
           5 years or 60,000 miles whichever occurs first,         States, including its territories, this warranty will
           from the date the vehicle was first placed in ser-      not apply. Defects in material or workmanship
           vice.                                                   will be corrected under the terms of the limited
                                                                   warranty for new Volkswagen vehicles in effect
           This limited warranty does not apply to vehicles        in that country (except Canada).
           used for commercial purposes including but
           not limited to taxi, courier or delivery service, or    Warranty repairs while traveling in Canada
           limousine.                                              Warranty repairs while traveling in Canada
           If a commercial vehicle is sold to a subsequent         should be performed by an authorized
           retail owner, this warranty still does not apply.       Volkswagen dealer. If your Volkswagen model is
                                                                   within the United States Powertrain Limited
           Any implied warranty, including any implied             Warranty, Canadian dealers can submit a war-
           warranty of merchantability or warranty of fit-         ranty claim. Proof of United States residence is
           ness for a particular purpose, is limited in dura-      required. If the Canadian dealer cannot submit
           tion to the period of this written warranty. Some       your warranty claim, you may be asked to pay for
           states do not allow limitations on how long an          the repair. On your return to the United States,
           implied warranty lasts, so this limitation may          please present the invoice to your United States
           not apply to you.                                       Volkswagen dealer, who will submit a claim on
           Coverage                                                your behalf and obtain reimbursement for you.
           The Powertrain Limited Warranty covers any re-          When the warranty period begins
           pair to correct a manufacturer's defect in mate-        The warranty period begins on the date the ve-
           rial or workmanship for the following                   hicle is delivered to either the original purchaser
           Volkswagen parts and components:                        or the original lessee; or if the vehicle is first
           Engine: Cylinder block and all internal parts,          placed in service as a “demonstrator” or “com-
               cylinder head and all internal parts, valve         pany” car, on the date such vehicle is first placed
               train, spur belt, flywheel, oil pump, water         in service.
               pump, manifolds, all related seals and gas-
                                                                   The Powertrain Limited Warranty is automati-
               kets.
                                                                   cally transferred without cost if the ownership of
           Transmission: Case and all internal parts,              the vehicle changes within the Warranty period.
               torque converter, all related seals and gas-
               kets.                                               Free-of-charge repair
           Drivetrain: Differential and all internal parts,        Repairs under this warranty are made free of
               drive shafts and constant velocity (CV)             charge. Your authorized Volkswagen dealer will
               joints.                                             repair the defective part or replace it with a new
                                                                   or remanufactured genuine Volkswagen part.
           Where to go for warranty service
           This limited warranty will be honored by any au-
           thorized Volkswagen dealer in the United States,
           including its territories.
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                                                                                                       Warranty             7


                What is not covered
                Maintenance services                                      •  damage or malfunctions resulting from the
                This limited warranty does not cover the cost of          use of the vehicle in competitive events or
                parts and labor involved in any scheduled main-           caused by accident or fire; or
                tenance service. Scheduled maintenance ser-               •   damage or malfunctions resulting from con-
                vices are described in the maintenance section            tinued operation of the vehicle after a warning
                of this booklet. Also see the Volkswagen Carefree         light, gauge reading or other warnings indicate a
                Maintenance Program outlined in the mainte-               mechanical or operational problem; or
                nance section of this booklet.                            •  damage or malfunctions due to suspension
                This limited warranty does not cover the re-              modifications, including but not limited to the
                placement of filters, oil, lubricants or fluids un-       installation of aftermarket springs, shock ab-
                less their replacement is a necessary part of war-        sorbers, or lowering kits.
                ranty service on a covered component.                     This warranty does not cover vehicles severely
                                                                          damaged or declared to be a total loss by an in-
                Damage or malfunctions due to misuse, negli-
                                                                          surer or vehicles substantially re-assembled
                gence, alteration, accident or fire
                                                                          from or repaired with parts obtained from an-
                This limited warranty does not cover:                     other used vehicle.
                • damage or malfunctions which are the result
                                                                          Wear and tear items
                of improper repair of the vehicle, installation of
                any non Genuine Volkswagen parts that will                This limited warranty does not cover the re-
                alter the vehicle performance specifications              placement of any powertrain components that
                from those set by the vehicle manufacturer,               wear as a result of normal use or deterioration.
                modifications to the vehicle (including the en-
                                                                          Damage or malfunctions due to lack of mainte-
                gine management system), accessories in-
                                                                          nance
                cluding but not limited to alarm systems, remote
                starters, roof racks or communications equip-             This limited warranty does not cover damage or
                ment, defects or failures resulting from the use          malfunctions which are due to failure to follow
                of new parts not sold or approved by                      recommended maintenance requirements as
                Volkswagen, or used parts, or the resultant               set forth in the Volkswagen Owner's Manual and
                damage to associated parts or systems; or                 the maintenance section of this booklet. Your
                                                                          dealer will deny warranty coverage unless you
                • damage or malfunctions which were caused                present to the dealer proof in the form of service
                by the alteration of the vehicle, in particular any
                                                                          or repair orders that all scheduled maintenance
                major or structural alterations including but not
                                                                          was performed in a timely manner.
                limited to the conversion of the vehicle to a con-
                vertible or the modification of the roof to accom-        Damage caused by the environment
                modate a glass roof structure or other similar            This limited warranty does not cover damage
                structural alterations; or                                caused by airborne industrial pollutants (e.g.
                • damage or malfunctions caused by using                  acid rain), bird droppings, tree sap, stones, flood
                contaminated or improper fuel, intentional or             water, windstorm or other similar occurrences.
                unintentional misfueling; or
                                                                          Other expenses
                •  damage or malfunctions caused by collision
                or modifications of the vehicle, including but            This limited warranty does not cover any inci-
                not limited to the installation of engine manage-         dental or consequential damage, including loss
                ment components not approved by Volkswagen;               of value of the vehicle, lost profits or earnings,
                or                                                        or out-of-pocket expenses for substitute trans-
                                                                          portation or lodging4) .



                4)   Some states do not allow the exclusion or limitation of incidental or consequential damage, so this limi-
                     tation or exclusion may not apply to you.
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           8       Warranty


           The “Other Terms” Presented in The New Ve-
           hicle Limited Warranty also apply to this
           warranty.
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                                                                                                    Warranty             9



                Limited Warranty Against Corrosion Perforation
                What is covered
                Warranty period                                        within the United States Limited Warranty
                The coverage under this limited warranty lasts         Against Corrosion Perforation, Canadian dealers
                for 12 years without mileage limitation.               can submit a warranty claim. Proof of United
                                                                       States residence is required. If the Canadian
                Any implied warranty, including any implied            dealer cannot submit your warranty claim, you
                warranty of merchantability or warranty of fit-        may be asked to pay for the repair. On your re-
                ness for a particular purpose, is limited in dura-     turn to the United States, please present the in-
                tion to the period of this written warranty. Some      voice to your United States Volkswagen dealer,
                states do not allow limitations on how long an         who will submit a claim on your behalf and ob-
                implied warranty lasts, so this limitation may         tain reimbursement for you.
                not apply to you.
                                                                       When the warranty period begins
                Neither Volkswagen nor the manufacturer as-
                sumes, or authorizes any person to assume, any         The limited warranty period begins on the date
                other obligation or liability on its behalf.           the vehicle is delivered to either the original pur-
                                                                       chaser or the original lessee; or if the vehicle is
                Coverage                                               first placed in service as a “demonstrator” or
                This limited warranty covers any repair or re-         “company” car, on the date such vehicle is first
                placement of body sheet metal panels that have         placed in service.
                been perforated by rust from the inside out.           This Limited Warranty Against Corrosion Perfo-
                Where to go for warranty service                       ration is automatically transferred without cost
                                                                       if the ownership of the vehicle changes within
                This limited warranty will be honored by any au-
                                                                       the warranty period.
                thorized Volkswagen dealer in the United States,
                including its territories.                             Free-of-charge repair
                If your Volkswagen model is brought to an au-          Repairs under this limited warranty are made
                thorized Volkswagen dealer outside the United          free of charge. An authorized Volkswagen dealer
                States, including its territories, this limited war-   will repair the defective part or replace it with a
                ranty will not apply. Defects in material or work-     new or remanufactured genuine Volkswagen
                manship will be corrected under the terms of the       part.
                warranty for new Volkswagen vehicles in effect
                in that country (except Canada).                           Tips
                Warranty repairs while traveling in Canada             Your Volkswagen model is corrosion protected
                Warranty repairs while traveling in Canada             at the factory. You do not need to purchase rust-
                should be performed by an authorized                   proofing when you buy your Volkswagen model
                Volkswagen dealer. If your Volkswagen model is         in order to keep this warranty in effect.
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           10      Warranty


           What is not covered
           Surface corrosion without perforation                    It does not cover corrosion perforation resulting
           Repairs are covered under this limited warranty          from the use of any inferior rustproofing agent
           only if there is a rust-through condition in the         or method.
           body sheet metal not caused by outside influ-            Your authorized Volkswagen dealership will do
           ences.                                                   its best to match your vehicles original finish,
                                                                    but this limited warranty does not cover the cost
           Perforation of sheet metal due to accident, lack
                                                                    of painting the entire vehicle solely for paint
           of care, or failure to repair or modifications to
                                                                    matching.
           the paint/painted surface
           This limited warranty does not cover corrosion           Environmental damage
           perforation resulting from the failure to                This limited warranty does not cover damage
           promptly repair paint damage, damaged under-             caused by airborne industrial pollutants (e.g.
           coating, or surface corrosion.                           acid rain), bird droppings, stones, flood water,
           It does not cover damage due to failure to wash          wind storms, tree sap or other similar occur-
           or otherwise regularly care for the vehicle as de-       rences.
           scribed in the Volkswagen Owner’s Manual.                Corrosion perforation because of failure to rust-
           This limited warranty does not cover corrosion           proof when collision damage is repaired
           perforation resulting from unrepaired collision          Body parts that have been repaired or newly in-
           damage or improper collision repair.                     stalled after a collision must be treated with a
                                                                    rustproofing agent that is compatible with
           Special exclusion for any aluminum portions
                                                                    Volkswagen’s own factory corrosion protection.
           that may be part of your Volkswagen vehicle
                                                                    If you fail to have your vehicle treated in this way
           This limited warranty does not cover corrosion           after a collision, Volkswagen will not be respon-
           perforation due to failure to perform body re-           sible for the repair of any resulting rust-through.
           pairs in accordance with Volkswagen’s specified
           repair procedures, including use of non-alu-
                                                                        Tips
           minum alloy parts.
                                                                    The “Other Terms” presented in the New Vehicle
                                                                    Limited Warranty also apply to this warranty.
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                                                                         Federal Emissions Warranties                 11



                Federal Emissions Warranties
                General
                The Emissions Warranties set out on the fol-         The State of New York has adopted emissions
                lowing pages are warranties which the manufac-       warranty requirements identical to California
                turer is required by law to furnish to you at the    mandated emissions warranties ONLY for vehi-
                time you take delivery of your new vehicle.          cles equipped to meet California's Partial Zero
                These coverages may also be included in the          Emission Vehicle (PZEV) emission require-
                Volkswagen 3 years / 36,000 miles New Vehicle        ments, as identified on the Vehicle Emission
                Limited Warranty.                                    Control Information Label located on the hood.
                                                                     Therefore, the owner of a Volkswagen model
                The warranties required by federal laws apply to
                                                                     equipped to meet California's PZEV emissions
                all new Volkswagen vehicles imported and dis-
                                                                     requirements and imported and distributed by
                tributed by Volkswagen of America, Inc., an op-
                                                                     Volkswagen for sale and registration in New York
                erating unit of Volkswagen Group of America,
                                                                     may have warranty rights under both Federal
                Inc. (“Volkswagen”) for sale in the United States,
                                                                     and state mandated emissions warranties.
                including its territories. The warranties required
                by the State of California law apply to all new      Please read these warranties carefully. If you
                Volkswagen vehicles imported and distributed         have any questions concerning the applicability
                by Volkswagen for sale and registration in the       of each warranty to your vehicle or want to know
                State of California, Connecticut, Maine, New         whether a particular repair will be performed
                Jersey, Oregon, Rhode Island, Vermont, Wash-         free of charge pursuant to these warranties,
                ington and the Commonwealths of Massachu-            please write to or telephone:
                setts and Pennsylvania. Therefore, the owner of
                                                                     Volkswagen Group of America, Inc.
                an above mentioned vehicle may have warranty
                                                                     Customer CARE
                rights under both Federal and State mandated
                                                                     3499 West Hamlin Road
                emissions warranties.
                                                                     Rochester Hills, MI 48309
                                                                     Tel.: 1 (800) 822-8987



                Federal Emissions Control System Defect Warranty
                For 2 years or 24,000 miles
                Volkswagen of America, Inc., an operating unit       •  is free from defects in material and work-
                of Volkswagen Group of America, Inc.                 manship which causes the vehicle to fail to con-
                (“Volkswagen”), the authorized United States         form with EPA regulations for 2 years after the
                importer of Volkswagen vehicles, warrants to the     date of first use or delivery of the vehicle to the
                original retail purchaser or original lessee and     original retail purchaser or original lessee or
                any subsequent purchaser or lessee that every        until the vehicle has been driven 24,000 miles,
                model year 2010 Volkswagen vehicle imported          whichever occurs first.
                by Volkswagen:
                                                                     A warranted part is any part installed on a motor
                •  was designed, built and equipped so as to         vehicle or motor vehicle engine by the vehicle or
                conform at the time of sale with all applicable      engine manufacturer, or installed in a warranty
                regulations of the United States Environmental       repair, which affects any regulated emission
                Protection Agency (EPA), and                         from a motor vehicle or engine which is subject
                                                                     to EPA emission standards. The following parts
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           12       Federal Emissions Warranties


           or systems listed, if defective, could cause the         •  OBD System: including Malfunction Indi-
           vehicle to fail to conform with EPA regulations:         cator Lamp (MIL) and Data Link Connector
           • Evaporative Emission Control System: in-               •  PCV System: including control valves and
           cluding fuel tank, filler cap, filler neck and leak      pipes
           detection pump                                           • Secondary Air Injection System: including air
           •  Exhaust System: including manifolds, turbo-           pump and control valves
           chargers, catalytic converters, down pipes and           •  Emission-related hoses, gaskets, clamps and
           particulate filter                                       other accessories used with the above compo-
           • EGR System: including valves, pipes and                nents
           coolers                                                  The obligation of Volkswagen under this war-
           • Fuel Injection System: including control               ranty is limited, however, to the following: If
           modules, sensors, switches, valves and fuel lines        within this period a defect in material or work-
           • Intake System: including camshaft adjuster             manship causes the vehicle to fail to conform
           units, sensors, manifold, pipes and control              with EPA regulations and the vehicle is brought
           valves                                                   to the workshop of any authorized Volkswagen
                                                                    dealer in the United States, including its territo-
           •    Ignition System: including coils and sensors
                                                                    ries the dealer will make repairs as may be re-
                                                                    quired by these regulations free of charge.



           For 8 years or 80,000 miles
           If the vehicle has been in use for more than 24          •   Catalytic Converter and Particulate Filter
           months or 24,000 miles, but less than 8 years or         •   Engine Electronic Control Module
           80,000 miles, whichever occurs first, your
           Volkswagen dealer will repair or replace free-of-
                                                                    •   On Board Diagnostic Device (OBD)
           charge the following major emission control
           components only:



           Federal Emissions Performance Warranty
           For 2 years or 24,000 miles and 8 years or 80,000 miles
           Volkswagen of America, Inc., an operating unit           standards as determined by an EPA Approved
           of Volkswagen Group of America, Inc.                     State Smog Check inspection, or
           (“Volkswagen”), to the original retail purchaser         •    if the vehicle has been in use for more than 24
           or original lessee of a model year 2010                  months or 24,000 miles, but less than 8 years or
           Volkswagen vehicle and any subsequent pur-               80,000 miles, whichever occurs first, the vehicle
           chaser or lessee of the vehicle that if the fol-         fails a Smog Check inspection resulting from a
           lowing conditions are met, any authorized                malfunction of a catalytic converter, particulate
           Volkswagen dealer in the United States, in-              filter, engine electronic control module or on-
           cluding its territories, will remedy any noncon-         board diagnostic device (OBD), and
           formity, as determined below, free of charge,
           under the following conditions:
                                                                    •   the failure of the Smog Check inspection re-
                                                                    quires the vehicle owner to bear any penalty or
           • the vehicle fails to conform at any time               other sanction, including the denial of the right
           during 24 months or 24,000 miles, whichever oc-          to use the vehicle under local, state or federal
           curs first, to applicable emission inspection            law, and
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                                                                             Federal Emissions Warranties                 13


                • the vehicle has been maintained and oper-
                ated in accordance with Volkswagen’s instruc-
                tions for proper maintenance and use.



                Performance Warranty claim approval
                You may raise a claim under this warranty im-            tenance and proper use, Volkswagen may re-
                mediately after your vehicle has failed a Smog           quire you to furnish proof of compliance only
                Check inspection if, as a result of that failure,        with those maintenance instructions which
                you are required by law to repair the vehicle to         Volkswagen has reason to believe were not per-
                avoid imposition of a penalty or cancellation of         formed and which could be the cause of the
                your right to use the vehicle. You need not actu-        Smog Check inspection failure.
                ally suffer the loss or lose the right to use your ve-
                                                                         Volkswagen may deny an emission performance
                hicle or pay for the repair before presenting your
                                                                         warranty claim on the basis that a replacement
                claim.
                                                                         part not certified by the EPA was used in the
                Claims may be presented only by bringing your            maintenance or repair of the vehicle if
                vehicle to any authorized Volkswagen dealer in           Volkswagen can prove that the non-certified
                the United States, including its territories. The        part is either defective in materials or workman-
                dealer will honor or deny your claim within a            ship, or not equivalent from an emission stand-
                reasonable time, not to exceed thirty (30) days,         point to the original part, and you are not able to
                from the time at which your vehicle is presented         offer information that the part is either not de-
                for repair or within any time period specified by        fective or equivalent to the original part with re-
                local, state or Federal law, whichever is shorter,       spect to its emission performance.
                except when a delay is caused by events not at-
                                                                         Volkswagen will not deny a claim relating to
                tributable to Volkswagen or the dealer. If the
                dealer denies your claim, you will be notified in        •  warranty work or pre-delivery service per-
                writing of the reasons for rejecting the claim. If       formed by an authorized Volkswagen dealer, or
                you do not receive notice of denial of your claim        •  work performed in an emergency to rectify
                within the above time period, Volkswagen is re-          an unsafe condition attributable to Volkswagen,
                quired by law to honor the claim.                        provided you have taken steps in a timely
                Under certain circumstances, your claim may be           manner to put the vehicle back into a con-
                denied because you have failed to comply with            forming condition, or
                instructions for scheduled maintenance con-              •   the use of an uncertified part or to noncom-
                tained in your Volkswagen Maintenance                    pliance with the instructions for proper mainte-
                booklet. In determining whether you have com-            nance and use, which is not related to the Smog
                plied with the instructions for scheduled main-          Check inspection failure
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           14       Federal Emissions Warranties



           Additional Information About Your Federal
           Emissions Warranties
           Warranty period                                          other than Genuine Volkswagen parts does not
           The warranty period begins on the date the ve-           invalidate these warranties, Volkswagen as-
           hicle is delivered to the original retail purchaser      sumes no liability under these warranties for
           or original lessee, and any subsequent pur-              failure of such parts and damage to other parts
           chaser or lessee or, if the vehicle is first placed in   caused by such failure.
           service as a demonstrator or company demon-
                                                                    EPA certified replacement parts
           strator or company car prior to delivery, on the
           date it is first placed in service.                      Maintenance, repair, or replacement of emis-
                                                                    sion control devices and systems may be per-
           Proper maintenance and use                               formed by any automotive service and repair es-
           Instructions for proper maintenance are con-             tablishment or qualified individual using Envi-
           tained in the maintenance section of this                ronmental Protection Agency (“EPA”) certified
           booklet. Time and mileage intervals, at which            replacement parts.
           maintenance is to be performed, may vary from
                                                                    Maintenance and repairs performed by inde-
           model to model.
                                                                    pendent service shops
           Volkswagen recommends you keep a record of               Without invalidating these warranties, you may
           scheduled maintenance by having your mainte-             choose to have maintenance, repair or replace-
           nance booklet validated at the approximate time          ment of emission control components per-
           or mileage intervals by the authorized                   formed by any automotive service establish-
           Volkswagen dealer or other service facility that         ment or individual qualified to perform such
           performed the maintenance. If you perform the            services. However, the cost of such services is
           maintenance yourself, keep all documentation             not covered by these warranties except in emer-
           as proof you have performed the maintenance at           gencies. If the independent service establish-
           the approximate time or mileage intervals rec-           ment finds a warrantable defect, you may deliver
           ommended, that you have used proper parts,               the vehicle to an authorized Volkswagen dealer
           and that you were able to perform the mainte-            and have the defect corrected free of charge.
           nance properly.                                          Volkswagen will not be liable for any expenses,
           Failure to maintain your vehicle according to the        which you have incurred at the independent
           instruction for proper maintenance may cause             service establishment, except for emergency re-
           the vehicle to exceed applicable emissions stan-         pairs. See “Emergency Repairs” for further de-
           dards and could result in denial of warranty cov-        tails.
           erage. However, Volkswagen will not deny a war-
                                                                    Parts not scheduled for inspection or replace-
           ranty claim solely on the basis of your failure to
                                                                    ments
           maintain the vehicle according to the instruc-
           tions or failure to keep a record of maintenance.        Any part, which is not scheduled for inspection
                                                                    or replacement at maintenance intervals speci-
           Instructions for proper use of the vehicle are           fied in the maintenance section of this booklet,
           contained in your Volkswagen Owner’s Manual.             is covered by this warranty for the full warranty
           Use of Genuine Volkswagen Parts                          period.
           Volkswagen recommends that Genuine                       Scheduled part inspection or replacement
           Volkswagen parts be used as replacement parts            A part scheduled only for inspection in accor-
           for the maintenance, repair or replacement of            dance with Volkswagen’s instructions or re-
           emission control systems. Use of replacement             quired scheduled maintenance is covered for
           parts which are not equivalent to Genuine                the duration of these warranties.
           Volkswagen parts in emission performance and
           durability may impair the effectiveness of emis-         A part installed in accordance with
           sion control systems. Although use of parts              Volkswagen’s instructions or required sched-
                                                                    uled maintenance is warranted until the next
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                                                                        Federal Emissions Warranties                15


                scheduled replacement interval or for the dura-     Damage caused by tampering, use of improper
                tion of these warranties.                           fuel, abuse, neglect and improper maintenance
                Damage to non-warranty parts                        These warranties do not cover any damage to
                                                                    the vehicle caused by tampering with emission
                If failure of a warranted part causes damage to a
                                                                    controls, use of fuel containing lead, or fuel not
                part not covered by warranty, the non-war-
                                                                    meeting the specifications set forth in the
                ranted part will also be replaced free of charge.
                                                                    Owner’s Manual, and abuse, neglect or im-
                Warranty repairs while traveling in Canada          proper maintenance of the vehicle. Diagnosis
                                                                    and repair of such damage are at the expense of
                Warranty repairs while traveling in Canada
                                                                    the owner.
                should be performed by an authorized
                Volkswagen dealer. If your Volkswagen model is      Implied warranties
                within the United States California Emissions
                                                                    Any implied warranty, including any warranty
                Warranties, Canadian dealers can submit a
                                                                    of merchantability or warranty of fitness for a
                claim. Proof of United States residence is re-
                                                                    particular purpose, is limited in duration to the
                quired. If the Canadian dealer cannot submit
                                                                    stated period of these written warranties.
                your claim, you may be asked to pay for the re-
                pair. On your return to the United States, please   Incidental and consequential damages
                present the invoice to your United States           These warranties do not cover any incidental or
                Volkswagen dealer, who will submit a claim on       consequential damages, including loss of resale
                your behalf and obtain reimbursement for you.       value, lost profits or earnings, and out-of-
                Emergency repairs                                   pocket expenses for substitute transportation
                                                                    or lodging.
                Emergency repairs performed by a non-
                Volkswagen service facility will be reimbursed if   Some states do not allow the exclusion or limita-
                the repair work was needed and correctly per-       tion of incidental or consequential damages, so
                formed, and it was impossible or unreasonable       this limitation or exclusion may not apply to
                under the circumstances to tow or drive your        you.
                Volkswagen model to the nearest authorized
                Volkswagen dealer. The maximum reimburse-                 Tips
                ment allowable is an amount equal to the cost if
                                                                    In the event you have not received the services
                your authorized Volkswagen dealer had com-
                                                                    promised in these warranties, please follow the
                pleted the repair(s). Reimbursement will be con-
                                                                    procedures described in this booklet under the
                sidered when you submit the following items to
                                                                    title “Customer CARE”.
                your authorized Volkswagen dealer:
                                                                    •  You may obtain further information re-
                •   A statement explaining the circumstances        garding the Emissions Performance Warranty or
                that prevented you from getting to an autho-        report violation of the terms of the Emissions
                rized Volkswagen dealer,                            Defect or Performance Warranty by contacting:
                •   Paid receipt(s)                                 US Environmental Protection Agency, Compli-
                •   Repair order(s) and                             ance and Innovation Strategy Division, Atten-
                                                                    tion: Emissions Warranty Claims, 2000 Traver-
                • Part(s) removed from your Volkswagen
                                                                    wood Rd., Ann Arbor, MI 48105.
                model
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           16      Kansas Safety Belt Limited Warranty



           Kansas Safety Belt Limited Warranty
           Information about Kansas Safety Belt Limited
           Warranty
           Applicable only to vehicles sold or registered in        This limited warranty does not cover the re-
           the State of Kansas                                      placement of safety belts and safety belt compo-
                                                                    nents:
           For vehicles sold or registered in the State of
           Kansas, safety belts and related safety belt com-        Damage or failure was due to misuse, alteration,
           ponents are warranted against defects in work-           accident, or collision damage
           manship and materials for a period of ten (10)
                                                                    Color fading, spotting, or other cosmetic prob-
           years, regardless of mileage.
                                                                    lems when the safety belt is otherwise func-
                                                                    tioning properly
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                                                                                          Customer Care                17



                Customer Care
                Volkswagen dealer assistance
                If you have questions about your vehicle or the     It is their business to be concerned about your
                service you have received, we suggest that you      satisfaction and goodwill. Because they are
                first discuss them with the service personnel at    closest to the situation, they are in the best posi-
                your authorized Volkswagen dealer. You may          tion to quickly resolve any concerns you may
                want to speak to the Service Manager or directly    have.
                to the owner of the dealership.



                Volkswagen corporate assistance
                If your concerns are not resolved to your satis-    Simply click on “Contact Us”.
                faction by the dealer, please contact Volkswagen
                                                                    When you call or write, please provide the fol-
                by calling our toll-free number:
                                                                    lowing information:
                Tel.: 1 (800) 822-8987                              •   Your name, address and telephone number
                If you prefer to write, please use the following    •   Vehicle Identification Number (VIN)
                address:
                                                                    •   Vehicle mileage
                Volkswagen Group of America, Inc.                   •   Dealer name
                Customer CARE
                                                                    •   Nature of concern or problem
                3499 West Hamlin Road
                Rochester Hills, MI 48309                           • Copies of repair orders or pertinent docu-
                                                                    ments (if you are writing to us)
                You can also contact us using our Internet ad-
                dress:                                              A Volkswagen Customer CARE Representative,
                                                                    in conjunction with your authorized
                www.vw.com.                                         Volkswagen dealer, will work with you to care-
                                                                    fully review all facts relating to your request.
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           18      Customer Care



           Repairs not covered by warranty
           In some circumstances, Volkswagen of America,            whether your vehicle is eligible for any repair
           Inc., an operating unit of Volkswagen Group of           free of charge.
           America, Inc. (“Volkswagen”) may offer financial
                                                                    In other instances, Volkswagen may offer assis-
           assistance toward repairs or expenses not cov-
                                                                    tance with a repair beyond warranty on a case-
           ered by Volkswagen's New Vehicle Limited War-
                                                                    by-case basis. If you believe that your vehicle
           ranties.
                                                                    needs a repair not covered by warranty which
           In certain instances, Volkswagen may pay for             Volkswagen should pay for in part or in whole,
           such repairs in accordance with the terms of ser-        please discuss the request with your dealer. If
           vice action campaigns it will conduct from time          you are not satisfied with your dealer’s decision,
           to time. In the event of a service action,               please contact Volkswagen Customer CARE by
           Volkswagen will notify you by mail and request           telephone or in writing. Your request should
           that you bring your vehicle to your nearest au-          provide the Vehicle Identification Number, the
           thorized Volkswagen dealer for repair free of            mileage, maintenance history and an explana-
           charge.                                                  tion of why you believe that the repair should be
                                                                    performed free of charge. Your request should be
           If you have not recently changed your address
                                                                    accompanied by all available maintenance and
           and Volkswagen has your current address on file,
                                                                    repair records which you have retained. A Cus-
           you will receive notification automatically. If you
                                                                    tomer CARE Representative will review your re-
           are concerned that you may not have received
                                                                    quest and advise you of our decision.
           notice concerning a particular service action,
           please check with your dealer to determine
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                                                                       Consumer Protection Information                    19



                Consumer Protection Information
                BBB AUTO LINE Dispute Resolution
                Informal dispute mechanism
                If your authorized Volkswagen dealer or                 claim to a mutually acceptable resolution. If you
                Volkswagen Customer CARE Representative has             do not agree with the mediated solution, you
                been unable to satisfactorily address your con-         may request an arbitration hearing.
                cern, Volkswagen offers additional assistance
                                                                        Arbitration is a process by which an impartial
                through BBB AUTO LINE, a dispute resolution
                                                                        person makes a decision on your claim. The ar-
                program administered by the Council of Better
                                                                        bitrators are not connected with the automobile
                Business Bureaus.
                                                                        industry and serve on a voluntary basis. You may
                The BBB AUTO LINE program is free of charge to          attend the hearing in person, be represented by
                you but there are some vehicle age and mileage          an attorney, bring witnesses, and give sup-
                limitations, so please call BBB AUTO LINE for           porting evidence. Instead of appearing in
                more details:                                           person, you may request a written or even a tele-
                                                                        phone arbitration hearing. The BBB shall make
                Tel.: 1 (800) 955-5100
                                                                        every effort to obtain a final resolution of your
                If you call BBB AUTO LINE, please be prepared           claim within 5 business days of the hearing (that
                to provide the following information:                   is, within 40 days of when your claim was filed),
                •   Your name and address                               unless state or Federal law provides otherwise.
                                                                        You then have the opportunity to accept or reject
                •   The Vehicle Identification Number (VIN)             the decision.
                •  The make, model, and model year of your ve-
                                                                        •   If you accept the decision, the manufacturer
                hicle
                                                                        will be bound by the decision and will be re-
                • The delivery date and current mileage of              quired to fulfill its obligation within the time-
                your vehicle                                            frame specified by the arbitrator.
                • A description of the concern with your ve-            •   If you reject the decision, you are free to
                hicle                                                   pursue other legal remedies available under
                The BBB AUTO LINE program consists of two               state or federal law, and the manufacturer will
                parts: mediation and arbitration. Mediation             not be required to comply with any part of the
                means that BBB staff will facilitate negotiations       decision.
                between the parties in an effort to bring your



                State-Specific Warranty Enforcement Laws
                Local laws
                Each state has enacted warranty enforcement             to provide owners with certain rights if they ex-
                laws (commonly referred to as “lemon laws”)             perience significant service-related difficulties
                that permit owners to obtain a replacement ve-          with their new vehicle.
                hicle or a refund of the purchase price under cer-
                                                                        IMPORTANT NOTICE: To the extent allowed by
                tain circumstances. Although the provisions of
                                                                        each state's law, Volkswagen requires that the
                these laws vary from state to state, their intent is
                                                                        owner first send written notification to Volk-
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          20        Consumer Protection Information


           swagen explaining the nonconformity that the             Rochester Hills, MI 48309
           owner has experienced with the vehicle, and to
                                                                    IMPORTANT NOTICE: Depending on the state's
           allow Volkswagen the opportunity to make any
                                                                    law, the owner may also be required to submit
           needed repairs before the owner pursues other
                                                                    their complaint to BBB AUTO LINE before
           remedies provided by that state's law (in all
                                                                    seeking other remedies. Please refer to the BBB
           other states where not specifically required by
                                                                    AUTO LINE Dispute Resolution section of this
           state law, Volkswagen requests that the owner
                                                                    booklet for more information about the BBB
           provide the written notification). The owner
                                                                    AUTO LINE dispute resolution program.
           should send written notification to:
                                                                    Because each state has enacted specific provi-
           Volkswagen Group of America, Inc.                        sions as part of its lemon law, owners are advised
           Customer CARE                                            to research and follow the laws in their state.
           3499 West Hamlin Road



           NOTICE TO CALIFORNIA PURCHASERS
           Volkswagen participates in BBB AUTO LINE, a              pate in mediation, claims within the program's
           mediation/arbitration program administered by            jurisdiction may be presented to an arbitrator at
           the Council of Better Business Bureaus (4200             an informal hearing. The arbitrator's decision
           Wilson Boulevard, Suite 800, Arlington, Virginia         should ordinarily be issued within 40 days from
           22203). BBB AUTO LINE and Volkswagen have                the time your complaint is filed; there may be a
           been certified by the Arbitration Certification          delay of 7 days if you did not first contact
           Program of the California Department of Con-             Volkswagen about your problem, or a delay of up
           sumer Affairs.                                           to 30 days if the arbitrator requests an inspec-
                                                                    tion/report by an impartial technical expert or
           If you have a problem arising under any
                                                                    further investigation and report by BBB AUTO
           Volkswagen written warranty, we request that
                                                                    LINE.
           you bring it Volkswagen's attention. If we are un-
           able to resolve it, you may file a claim with BBB        You are required to use BBB AUTO LINE before
           AUTO LINE. Claims must be filed with BBB                 asserting in court any rights or remedies con-
           AUTO LINE within six (6) months after the expi-          ferred by California Civil Code Section 1793.22.
           ration of the warranty.                                  You are not required to use BBB AUTO LINE be-
                                                                    fore pursuing rights and remedies under any
           To file a claim with BBB AUTO LINE, call:
                                                                    other state or Federal law.
           Tel.: 1 (800) 955-5100.
                                                                    California Civil Code Section 1793.2(d) requires
           There is no charge for the call.                         that, if Volkswagen or its representative is unable
           In order to file a claim with BBB AUTO LINE, you         to repair a new motor vehicle to conform to the
           will have to provide your name and address, the          vehicle's applicable express warranty after a rea-
           brand name and Vehicle Identification Number             sonable number of attempts, Volkswagen may
           (VIN) of your vehicle, and a statement of the na-        be required to replace or repurchase the vehicle.
           ture of your problem or complaint. You will also         California Civil Code Section 1793.22(b) creates a
           be asked to provide: the approximate date of             presumption that Volkswagen has had a reason-
           your acquisition of the vehicle, the vehicle's cur-      able number of attempts to conform the vehicle
           rent mileage, the approximate date and mileage           to its applicable express warranties if, within 18
           at the time any problem(s) were first brought to         months from delivery to the buyer or 18,000
           the attention of Volkswagen or one of our                miles on the vehicle's odometer, whichever oc-
           dealers, and a statement of the relief you are           curs first, one or more of the following occurs:
           seeking.                                                 •  The same nonconformity (a failure to con-
           BBB AUTO LINE staff may try to help resolve              form to the written warranty that substantially
           your dispute through mediation. If mediation is          impairs the use, value, or safety of the vehicle)
           not successful, or if you do not wish to partici-        results in a condition that is likely to cause death
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                                                                     Consumer Protection Information                  21


                or serious bodily injury if the vehicle is driven     The following remedies may be sought in BBB
                AND the nonconformity has been subject to re-         AUTO LINE: repairs, reimbursement for money
                pair two or more times by Volkswagen or its           paid to repair a vehicle or other expenses in-
                agents AND the buyer or lessee has directly noti-     curred as a result of a vehicle nonconformity, re-
                fied Volkswagen of the need for the repair of the     purchase or replacement of your vehicle, and
                nonconformity; OR                                     compensation for damages and remedies avail-
                • The same nonconformity has been subject to          able under Volkswagen's written warranty or ap-
                repair 4 or more times by Volkswagen or its           plicable law.
                agents AND the buyer has notified Volkswagen          The following remedies may not be sought in
                of the need for the repair of the nonconformity;      BBB AUTO LINE: punitive or multiple damages,
                OR                                                    attorney fees, or consequential damages other
                • The vehicle is out of service by reason of the      than as provided in California Civil Code Section
                repair of non-conformities by Volkswagen or its       1794(a) and (b).
                agents for a cumulative total of more than 30 cal-    You may reject the decision issued by a BBB
                endar days after delivery of the vehicle to the       AUTO LINE arbitrator. If you reject the decision,
                buyer.                                                you will be free to pursue further legal action.
                NOTICE TO VOLKSWAGEN AS REQUIRED                      The arbitrator's decision and any findings will
                ABOVE SHALL BE SENT TO THE FOLLOWING                  be admissible in a court action.
                ADDRESS:                                              If you accept the arbitrator's decision,
                Volkswagen Group of America, Inc.                     Volkswagen will be bound by the decision, and
                Customer CARE                                         will comply with the decision within a reason-
                3499 West Hamlin Road                                 able time not to exceed 30 days after we receive
                Rochester Hills, MI 48309                             notice of your acceptance of the decision.
                                                                      Please call BBB AUTO LINE for further details
                                                                      about the program.
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          22       Service Publications



           Service Publications
           Volkswagen Technical Literature Ordering Center
           Updated service information you can obtain
           Volkswagen monitors product performance in               ified technician may have to determine if a spe-
           the field and regularly sends dealers the latest         cific bulletin applies to your vehicle. You can
           service information about Volkswagen vehicles.           order Volkswagen bulletins, Volkswagen repair
                                                                    information and Volkswagen Owner's Literature
           Bulletins cover a wide variety of subjects: the
                                                                    24 Hours / 7 days a week on the Internet from the
           proper use and care of your car, costly repairs,
                                                                    Volkswagen Technical Literature Ordering
           inexpensive repairs or adjustments, which, if
                                                                    Center link at:
           done early, may avoid costly future repairs.
           Some bulletins describe repairs about new or             www.vw.com
           unexpected conditions. Others describe im-
           proved repair procedures or parts improve-
           ments. All of this information can also help a           You can contact our literature distribution ser-
           qualified technician better service your vehicle.        vice at:
           Most bulletins apply to conditions affecting a           Tel.: 1 (800) 544-8021
           small number of vehicles. Your dealer or a qual-



           What you will also find on the website
           • A list of Volkswagen bulletins for 1985 and
           later model years, covering all North American                WARNING
           specification Volkswagen models.                         These bulletins are intended for qualified
           •  Ordering and pricing information on how to            technicians. They are not meant for the CA-
           buy specific bulletins.                                  SUAL do-it-yourselfer. Qualified technicians
                                                                    have the equipment, tools, safety instructions,
           • Ordering and price information for
                                                                    and know-how to do a job properly and safely.
           Volkswagen Repair Manuals on paper format,
                                                                    Improperly performed repairs or mainte-
           CD ROM or DVD.
                                                                    nance can adversely affect the safety of your
           • Ordering and price information for                     vehicle, possibly leading to accident or injury.
           Volkswagen Electrical Wiring Diagrams.                   They may also impair the economy, durability
           •   Owner’s Manuals                                      or reliability of your vehicle and may void the
           •   Maintenance Booklets                                 warranty of your car. If you are not sure that
                                                                    you can perform a job properly and safely, you
           •   Warranty Manuals
                                                                    should not risk trying to do so.
           •   Sound System Manuals
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                                                                                   Tire Manufacturers      23



                Tire Manufacturers
                List of tire manufacturers for new Volkswagen
                vehicles
                The Magnuson-Moss Warranty Federal Trade            Continental General
                Commission Improvement Act of 1975 and regu-        1800 Continental Blvd.
                lations issued pursuant to the act require that a   Charlotte, NC 28273
                tire warranty pamphlet be placed in every new       Tel.: 1 (800) 847–3349
                vehicle prior to sale.
                                                                    Michelin Tire Corp.
                To assist you in obtaining the related warranty     P.O. Box 19001
                information, the following list of tire manufac-    Greenville, SC 29602-9001
                turers and addresses is being provided.             Tel.: 1 (800) 847–3435
                Tire Manufacturers                                  Pirelli Tires North America
                                                                    300 George Street, 5th Floor
                Dunlop Tire Corp.
                                                                    New Haven, CT 06511
                1144 East Market Street
                                                                    Tel.: 1 (800) 747-3554
                Akron, OH 44316
                Tel.: 1 (800) 548–4714                              Uniroyal Goodrich Tire Co.
                                                                    P.O. Box 19001
                Bridgestone/Firestone Inc.
                                                                    Greenville, SC 29602-9001
                1 Bridgestone Park
                                                                    Tel.: 1 (800) 521-9796
                Nashville, TN 37214
                Tel.: 1 (800) 356-4644                              Hankook Tires Corporate Headquarters
                                                                    1450 Valley Road
                Goodyear Tire & Rubber Co.
                                                                    Wayne, New Jersey 07470
                1144 East Market Street
                                                                    Tel.: 1 (877) 740-7000
                Akron, OH 44316
                Tel.: 1 (800) 321-2136
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          24          Maintenance



           Maintenance
           Warranty voucher
           Present this voucher to an authorized dealer if
           warranty service is required.



                 The warranty period begins on the date the vehicle is
                 purchased to either the original purchaser of the
                 original lessee: or if the vehicle is first placed in ser-
                 vice as a “demonstrator” or “company” car, on the
                 date such vehicle is first placed in service.



                                                                              Stamp of authorized Volkswagen
                 Month           Day             Year                                     Dealer
                   (to be filled in by authorized Volkswagen Dealer)




            1.




            2.


            3.


            4.




                         Vehicle Identification Label
            1.           Vehicle Identification No. / Engine Code
            2.           Type / Engine / Transmission
            3.           Transmission Code / Paint No. / Interior / Engine / Engine Code
            4.           Optional Equipment
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                                                                                              Maintenance     25



                Odometer replacement and other dealer stamps


                                                            Air Conditioner
                                                    Warranty Registration Certificate
                                                      (except factory installation)

                                                       Attach here (for dealer use only)




                                               Federal Law requires that a label be affixed
                                         to the left door frame when the replacement odometer
                                               does not indicate the actual vehicle mileage
                                                       after repair or replacement.

                                Genuine Volkswagen replacement odometers are supplied with a label




                   Odometer Replacement



                   Month          Day           Year
                   (to be filled in by authorized
                   Volkswagen Dealer)




                                                                      Stamp of authorized Volkswagen Dealer
                                  At mileage
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          26       Maintenance



           Service information
           Dealer service                                           • You can perform these simple checks once a
           There are approximately 600 authorized                   week. They save time, trouble and expense later.
           Volkswagen dealers in the United States. They            Your technician will not check the above men-
           have Volkswagen trained technicians, proper              tioned items in each case during regular service
           workshop equipment and parts to give you ex-             and maintenance visits.
           pert service.
                                                                    Emission control maintenance
           Volkswagen dealers are committed to quality
           service.                                                 1   A clean environment is of concern to all of
                                                                        us. Volkswagen has built into your vehicle
           • Your authorized Volkswagen dealer offers                   an efficient emission control system, using
           many services for your convenience, such as ex-              genuine Volkswagen parts, in conformance
           tended service hours, early bird service, body re-           with the Federal Clean Air Act in the United
           pairs, to name just a few. Ask about them.                   States. To help keep our air clean, you can do
           • Arrange your service with your dealer when it              your part by having your vehicle’s mainte-
           is convenient for you.                                       nance services and all repairs performed in
           • Ask your Service Advisor about the service                 a timely manner.
           you need and discuss the cost involved.                  2   Maintenance, repair or replacement of
                                                                        emission control components may be per-
           •   Leave word where you can be reached during
                                                                        formed by any qualified automotive service
           the day and when you would like to pick your car
                                                                        and repair establishment or individual
           up.
                                                                        without affecting the Emission Control
           • Keep all receipts of maintenance and repairs               System Warranty, provided that such re-
           performed. Your service record is important                  pairs are performed to manufacturer‘s
           when making use of your warranty.                            specifications, and that replacement parts
           • Maintenance services performed by your au-                 are at least equivalent to genuine
           thorized dealer at the intervals specified, will             Volkswagen parts in emission performance
           also be documented in this booklet.                          and durability. Warranty repairs and re-
           • Automobile technology changes continu-                     placements, however, must be performed
           ously. Your authorized Volkswagen dealer al-                 by an authorized Volkswagen dealer.
           ways has the most current Service and Mainte-            3   If other than genuine Volkswagen replace-
           nance information for your Volkswagen model.                 ment parts are used, the owner should make
           It is possible that this information may differ              sure that such parts are warranted by their
           from the check points listed in this booklet. Your           manufacturer and that they are at least
           Volkswagen Service Advisor can answer any                    equivalent to genuine Volkswagen replace-
           questions you may have.                                      ment parts in emission performance and
                                                                        durability.
           Do-it-yourself service
           Your Owner‘s Manual contains many helpful                Why maintenance?
           hints on what you can service yourself.                  With proper maintenance and care, your
                                                                    Volkswagen model will continue to provide you
           • You can check tires for wear or damage and             with a dependable and safe driving experience.
           correct tire pressure, including the spare.
                                                                    This booklet contains Volkswagen's prescribed
           • You can check the windshield washer con-               service intervals as well as other important in-
           tainer.                                                  formation you need to know to care for your
           • You can check your car‘s interior and exterior         Volkswagen model properly. Adherence to the
           lighting system for correct functioning.                 prescribed maintenance services and intervals
           • You can check the engine oil level with every          is necessary to protect your investment and
           fuel filling.                                            help ensure optimum performance. Failure to
                                                                    follow recommended maintenance services
                                                                    and intervals may result in a denial of your war-
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                                                                                             Maintenance              27


                ranty coverage. Please see the warranty section     Follow the service intervals schedule and item-
                of this booklet for further details.                ized list of services for each, and make fluid level
                                                                    and tire pressure checks between the scheduled
                Your vehicle is designed to keep maintenance
                                                                    intervals as recommended in your vehicle
                requirements to a minimum.
                                                                    Owner’s Manual.
                Today’s vehicles are precision engineered ma-
                                                                    The service intervals schedule is based on vehi-
                chines. They are designed with people’s safety in
                                                                    cles operating under normal conditions. In the
                mind, and are equipped with emission control
                                                                    case of severe conditions, such as extremely low
                systems to help keep our air clean. However, a
                                                                    temperatures and/or excessive dust, it is neces-
                certain amount of regular maintenance is still
                                                                    sary for some services to be performed between
                necessary to help assure optimum performance
                                                                    the scheduled intervals. This applies particu-
                and reliability. A well-maintained vehicle con-
                                                                    larly to engine oil changes and the cleaning or
                serves fuel, protects against unwanted emis-
                                                                    replacing of the air cleaner filter element.
                sions, and may prevent a major repair expense
                at a later date.                                    Authorized Volkswagen dealers are ready to
                                                                    serve you and are committed to quality
                                                                    service.



                Volkswagen Carefree Maintenance Program
                Volkswagen Carefree Maintenance Program Coverage Period
                All Volkswagen scheduled Maintenances de-           charge for 3 years or 36,000 miles, whichever oc-
                scribed in this booklet are covered with no         curs first.



                Additional Services
                The maintenance intervals in this booklet are       Additional services not specified in this booklet,
                based on normal operating conditions. Under         or services suggested by the dealer or performed
                severe operating conditions, it may become nec-     at the customer's request, are not covered under
                essary to perform additional or more frequent       the Volkswagen Carefree Maintenance
                maintenance operations.                             Program.



                Where to go for the Volkswagen Carefree Maintenance Program
                Service
                Volkswagen Carefree Maintenance Program Ser-        gram, Canadian dealers can submit a claim.
                vice can be honored by any authorized               Proof of United States residence is required. If
                Volkswagen dealer in the United States, in-         the Canadian dealer cannot submit your claim,
                cluding its territories.                            you may be asked to pay for the repair. On your
                                                                    return to the United States, please present the
                The Volkswagen Carefree Maintenance Program
                                                                    invoice to your United States Volkswagen dealer,
                Service, while traveling in Canada, should be
                                                                    who will submit a claim on your behalf and ob-
                performed by an authorized Volkswagen dealer.
                                                                    tain reimbursement for you.
                If your Volkswagen model is within the United
                States Volkswagen Carefree Maintenance Pro-
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          28        Maintenance


           Missed Maintenance Service
           Volkswagen recommends that the customer                  •   Additional services not specified in the
           have Maintenance Services performed at the               Maintenance Schedule, suggested by the dealer
           scheduled time or mileage.                               or performed at the customer's request, are not
                                                                    covered under the Volkswagen Carefree Mainte-
           However, if a Maintenance Service is missed, it
                                                                    nance Program.
           need not be “picked up” later. Rather,
           Volkswagen dealers should perform the most               •  Volkswagen will not reimburse owners for
           appropriate service upon considering the ve-             Maintenance Services performed at indepen-
           hicle's age and mileage driven. Reimbursement            dent facilities.
           for the missed service will not be provided.



           When the Scheduled Maintenance Period Begins
           The scheduled maintenance period begins on               hicle is first placed in service. The Volkswagen
           the date the vehicle is delivered to either the          Carefree Maintenance Program is automatically
           original purchaser or the original lessee: or if the     transferred without cost if the ownership of the
           vehicle is first placed in service as a “demon-          vehicle changes within the coverage period.
           strator” or “company” car, on the date such ve-
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                                                                                              Maintenance             29



                Service schedule
                Delivery inspection
                • Your authorized Volkswagen dealer will fill         It is possible that this information may differ
                out the necessary information and stamp this          from the check points listed in this booklet. Your
                booklet to confirm that the necessary services        Volkswagen Service Advisor can answer any
                have been performed.                                  questions you may have.
                • Automobile technology changes continu-              •   If you are not sure when to bring your car in
                ously. Your authorized Volkswagen dealer al-          for service, ask your authorized Volkswagen Ser-
                ways has the most current Service and Mainte-         vice Advisor.
                nance information for your Volkswagen model.

                 Delivery Inspection
                 Before your vehicle is delivered to you, it is inspected according to factory guidelines.
                 The Delivery Inspection was performed on:
                                             Next Service:
                 Date: ........................
                 Miles:...................


                                                                                       Today‘s date
                                   (whichever occurs first)                    and Volkswagen Dealer stamp
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          30           Maintenance


           Service at 10,000 miles (Included in the Volkswagen Carefree
           Maintenance Program)
           Service at 10,000 miles or one year from vehicle         •   Service interval display: Reset
           in-service date, whichever occurs first.                 •  Service sticker: Enter the date of the next ser-
           •  Brake pads: Check thickness and brake disc            vice on the service sticker and apply to the
           condition (front and rear)                               driver's side door pillar
           •   Engine: Change oil and replace oil filter            •   Tires: Rotate front to rear
           •  Rear window: Check cleaning nozzle func-              •  Windshield washer, headlight cleaning
           tionality (if applicable)                                system, and wiper blades: Check for damage and
                                                                    function, Check fluid level and add if necessary

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp



           Service at 20,000 miles (Included in the Volkswagen Carefree
           Maintenance Program)
           Service at 20,000 miles or one year after last ser-      •   Second battery: Check (if applicable)
           vice, whichever occurs first.                            •   Service interval display: Reset
           •   Battery: Check                                       •  Service sticker: Enter the date of the next ser-
           •  Brakes: Inspect brake system and shock ab-            vice on the service sticker and apply to the
           sorber for leaks and damage, check thickness of          driver's side door pillar
           brake pads, brake disc condition and check               •  Tires: Check tread depth, condition, wear
           brake fluid level                                        pattern and pressure of all tires (including
           •   Engine: Change oil and replace oil filter            spare)
           •   Fuel filter: Replace (2.0L TDI only)                 •   Tires: Rotate front to rear
           •   Fuel filter: Drain water (3.0L TDI only)             •  Windshield washer, headlight cleaning
                                                                    system, and wiper blades: Check for damage and
           •  Rear window: Check cleaning nozzle func-
                                                                    function, Check fluid level and add if necessary
           tionality (if applicable)

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp
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                                                                                               Maintenance             31


                Service at 30,000 miles (Included in the Volkswagen Carefree
                Maintenance Program)
                Service at 30,000 miles or one year after last ser-   •   Service interval display: Reset
                vice, whichever occurs first.                         •  Service sticker: Enter the date of the next ser-
                •  Brake pads: Check thickness and brake disc         vice on the service sticker and apply to the
                condition (front and rear)                            driver's side door pillar
                •   Engine: Change oil and replace oil filter         •   Tires: Rotate front to rear
                •  Rear window: Check cleaning nozzle func-           •  Windshield washer, headlight cleaning
                tionality (if applicable)                             system, and wiper blades: Check for damage and
                                                                      function, Check fluid level and add if necessary

                                             Next Service:
                 Date: ........................
                 Miles:...................



                                    whichever occurs first             Today‘s date and Volkswagen Dealer stamp
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          32           Maintenance


           Service at 40,000 miles
           Service at 40,000 miles or one year after last ser-      lights, daytime running lights, curve lighting,
           vice, whichever occurs first.                            and automatic headlights: Check
           •   Battery: Check                                       •   Power steering: Check oil level (if applicable)
           •   Body: Visual inspection for corrosion                •  Rear window: Check cleaning nozzle func-
                                                                    tionality (if applicable)
           •  Brakes: Inspect brake system and shock ab-
           sorber for leaks and damage, check thickness of          •   Ribbed V-belt: Check condition
           brake pads, brake disc condition and check               •   Second battery: Check (if applicable)
           brake fluid level                                        •   Service interval display: Reset
           •   Coolant level and frost protection: Check            •  Service sticker: Enter the date of the next ser-
           •  Convertible roof, CSC roof, and Retractable           vice on the service sticker and apply to the
           hard top: Check for function and damage, clean           driver's side door pillar
           and lubricate seals (if applicable)                      • Spark plugs: Replace (2.5L, 3.2L, 3.6L, and
           •   CV joints: Check for leaks and damage                4.2L only)
           •   Door checks and mounting pins: Lubricate             •  Sunroof and Panoramic sunroof: Check,
           •   Dust and pollen filter: Replace (if applicable)      clean, and lubricate (if applicable)
           •   Engine: Change oil and replace oil filter            •  Test drive: Check braking, kick-down,
                                                                    steering, electrical, heating and ventilation sys-
           •  Engine and engine compartment compo-
                                                                    tems, air conditioning, and handling
           nents: Check (from above) for leaks and damage
           •  Engine and engine compartment compo-
                                                                    •  Tie rod ends: Check for excessive play, check
                                                                    boots
           nents: Check (from below) for leaks and
           damage, check transmission, final drive, and             •  Tires: Check tread depth, condition, wear
           drive shaft boots                                        pattern, and pressure of all tires (including
                                                                    spare)
           • Exhaust system: Check for leaks, damage,
           and secure fittings                                      •   Tires: Rotate front to rear
           •   Fuel filter: Replace (2.0L, and 3.0L TDI only)       •    Transmission: Automatic: Change fluid and
                                                                    filter
           •   Haldex clutch: Change oil (if applicable)
           •   Headlights: Check adjustment
                                                                    •   Transmission: DSG: Change fluid and filter

           •   Interior lighting and glove box lights, ciga-
                                                                    •   Underbody sealant: Inspect for damage
           rette lighter/power outlets, horn, and all               •  Windshield washer, headlight cleaning
           warning lamps: Check                                     system, and wiper blades: Check for damage and
                                                                    function, Check fluid level and add if necessary
           • Lighting: Front and rear lights, luggage com-
           partment lighting, turn signals, hazard warning

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp
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                                                                                               Maintenance             33


                Service at 50,000 miles
                Service at 50,000 miles or one year after last ser-   •   Service interval display: Reset
                vice, whichever occurs first.                         •  Service sticker: Enter the date of the next ser-
                •  Brake pads: Check thickness and brake disc         vice on the service sticker and apply to the
                condition (front and rear)                            driver's side door pillar
                •   Engine: Change oil and replace oil filter         •   Tires: Rotate front to rear
                •  Rear window: Check cleaning nozzle func-           •  Windshield washer, headlight cleaning
                tionality (if applicable)                             system, and wiper blades: Check for damage and
                                                                      function, Check fluid level and add if necessary

                                             Next Service:
                 Date: ........................
                 Miles:...................



                                    whichever occurs first             Today‘s date and Volkswagen Dealer stamp
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          34           Maintenance


           Service at 60,000 miles
           Service at 60,000 miles or one year after last ser-      •   Second battery: Check (if applicable)
           vice, whichever occurs first.                            •   Service interval display: Reset
           •  Air filter element and snow filter: Replace           •  Service sticker: Enter the date of the next ser-
           and clean housing (if applicable)                        vice on the service sticker and apply to the
           •   Battery: Check                                       driver's side door pillar
           •  Brakes: Inspect brake system and shock ab-            • Spark plugs: Replace (2.0L gasoline engine
           sorber for leaks and damage, check thickness of          only)
           brake pads, brake disc condition and check               •  Tires: Check tread depth, condition, wear
           brake fluid level                                        pattern, and pressure of all tires (including
           •   Engine: Change oil and replace oil filter            spare)
           •   Fuel filter: Replace (2.0L TDI only)                 •   Tires: Rotate front to rear
           •   Fuel filter: Drain water (3.0L TDI only)             •  Windshield washer, headlight cleaning
                                                                    system, and wiper blades: Check for damage and
           •  Rear window: Check cleaning nozzle func-
                                                                    function, Check fluid level and add if necessary
           tionality (if applicable)

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp



           Service at 70,000 miles
           Service at 70,000 miles or one year after last ser-      •   Service interval display: Reset
           vice, whichever occurs first.                            •  Service sticker: Enter the date of the next ser-
           •  Brake pads: Check thickness and brake disc            vice on the service sticker and apply to the
           condition (front and rear)                               driver's side door pillar
           •   Engine: Change oil and replace oil filter            •   Tires: Rotate front to rear
           •  Rear window: Check cleaning nozzle func-              •  Windshield washer, headlight cleaning
           tionality (if applicable)                                system, and wiper blades: Check for damage and
                                                                    function, Check fluid level and add if necessary

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp
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                                                                                               Maintenance              35


                Service at 80,000 miles
                Service at 80,000 miles or one year after last ser-   lights, daytime running lights, curve lighting,
                vice, whichever occurs first.                         and automatic headlights: Check
                •   Battery: Check                                    •   Power steering: Check oil level (if applicable)
                •   Body: Visual inspection for corrosion             •  Rear window: Check cleaning nozzle func-
                                                                      tionality (if applicable)
                •  Brakes: Inspect brake system and shock ab-
                sorber for leaks and damage, check thickness of       •   Ribbed V-belt: Check condition
                brake pads, brake disc condition and check            •   Second battery: Check (if applicable)
                brake fluid level                                     •   Service interval display: Reset
                •  Convertible roof, CSC roof, and Retractable        •  Service sticker: Enter the date of the next ser-
                hard top: Check for function and damage, clean        vice on the service sticker and apply to the
                and lubricate seals (if applicable)                   driver's side door pillar
                •   Coolant level and frost protection: Check         •  Spark plugs: Replace (2.5L, 3.2L, 3.6L, and
                •   CV joints: Check for leaks and damage             4.2L only)
                •   Door checks and mounting pins: Lubricate          •  Sunroof and Panoramic sunroof: Check,
                •   Dust and pollen filter: Replace (if applicable)   clean, and lubricate (if applicable)
                •   Engine: Change oil and replace oil filter         •  Test drive: Check braking, kick-down,
                                                                      steering, electrical, heating and ventilation sys-
                •  Engine and engine compartment compo-
                                                                      tems, air conditioning, and handling
                nents: Check (from above) for leaks and damage
                •  Engine and engine compartment compo-
                                                                      •  Tie rod ends: Check for excessive play, check
                                                                      boots
                nents: Check (from below) for leaks and
                damage, check transmission, final drive, and          •  Tires: Check tread depth, condition, wear
                drive shaft boots                                     pattern, and pressure of all tires (including
                                                                      spare)
                • Exhaust system: Check for leaks, damage,
                and secure fittings                                   •   Tires: Rotate front to rear
                •   Fuel filter: Replace (2.0L, and 3.0L TDI only)    •    Transmission: Automatic: Change fluid and
                                                                      filter
                •   Haldex clutch: Change oil (if applicable)
                •   Headlights: Check adjustment
                                                                      •   Transmission: DSG: Change fluid and filter

                •   Interior lighting and glove box lights, ciga-
                                                                      •   Underbody sealant: Inspect for damage
                rette lighter/power outlets, horn, and all            •  Windshield washer, headlight cleaning
                warning lamps: Check                                  system, and wiper blades: Check for damage and
                                                                      function, Check fluid level and add if necessary
                • Lighting: Front and rear lights, luggage com-
                partment lighting, turn signals, hazard warning

                                             Next Service:
                 Date: ........................
                 Miles:...................



                                    whichever occurs first             Today‘s date and Volkswagen Dealer stamp
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          36           Maintenance


           Service at 90,000 miles
           Service at 90,000 miles or one year after last ser-      •   Service interval display: Reset
           vice, whichever occurs first.                            •  Service sticker: Enter the date of the next ser-
           •  Brake pads: Check thickness and brake disc            vice on the service sticker and apply to the
           condition (front and rear)                               driver's side door pillar
           •   Engine: Change oil and replace oil filter            •   Tires: Rotate front to rear
           •  Rear window: Check cleaning nozzle func-              •  Windshield washer, headlight cleaning
           tionality (if applicable)                                system, and wiper blades: Check for damage and
                                                                    function, Check fluid level and add if necessary

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp



           Service at 100,000 miles
           Service at 100,000 miles or one year after last          •   Second battery: Check (if applicable)
           service, whichever occurs first.                         •   Service interval display: Reset
           •   Battery: Check                                       •  Service sticker: Enter the date of the next ser-
           •  Brakes: Inspect brake system and shock ab-            vice on the service sticker and apply to the
           sorber for leaks and damage, check thickness of          driver's side door pillar
           brake pads, brake disc condition and check               •  Tires: Check tread depth, condition, wear
           brake fluid level                                        pattern, and pressure of all tires (including
           •   Engine: Change oil and replace oil filter            spare)
           •   Fuel filter: Replace (2.0L TDI only)                 •   Tires: Rotate front to rear
           •   Fuel filter: Drain water (3.0L TDI only)             •  Windshield washer, headlight cleaning
                                                                    system, and wiper blades: Check for damage and
           •  Rear window: Check cleaning nozzle func-
                                                                    function, Check fluid level and add if necessary
           tionality (if applicable)

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp
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                                                                                             Maintenance             37


                Service at 110,000 miles
                Service at 110,000 miles or one year after last     •  Service sticker: Enter the date of the next ser-
                service, whichever occurs first.                    vice on the service sticker and apply to the
                                                                    driver's side door pillar
                • Brake pads: Check thickness and brake disc
                condition (front and rear)                          •  Timing Belt: Replace (if applicable, except
                                                                    2.0L TDI)
                •   Engine: Change oil and replace oil filter
                •  Rear window: Check cleaning nozzle func-
                                                                    •   Tires: Rotate front to rear
                tionality (if applicable)                           •  Windshield washer, headlight cleaning
                                                                    system, and wiper blades: Check for damage and
                •   Service interval display: Reset
                                                                    function, Check fluid level and add if necessary

                                             Next Service:
                 Date: ........................
                 Miles:...................



                                    whichever occurs first           Today‘s date and Volkswagen Dealer stamp
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          38           Maintenance


           Service at 120,000 miles
           Service at 120,000 miles or one year after last          •   Interior lighting and glove box lights, ciga-
           service, whichever occurs first.                         rette lighter/power outlets, horn, and all
                                                                    warning lamps: Check
           • Air filter element and snow filter: Replace
           and clean housing (if applicable)                        •   Lighting: Front and rear lights, luggage com-
                                                                    partment lighting, turn signals, hazard warning
           •   Battery: Check
                                                                    lights, daytime running lights, curve lighting,
           •   Body: Visual inspection for corrosion                and automatic headlights: Check
           •  Brakes: Inspect brake system and shock ab-            •   Power steering: Check oil level (if applicable)
           sorber for leaks and damage, check thickness of
           brake pads, brake disc condition and check
                                                                    •  Rear window: Check cleaning nozzle func-
                                                                    tionality (if applicable)
           brake fluid level
           • Convertible roof, CSC roof, and Retractable            •   Ribbed V-belt: Check condition
           hard top: Check for function and damage, clean           •   Second battery: Check (if applicable)
           and lubricate seals (if applicable)                      •   Service interval display: Reset
           •   Coolant level and frost protection: Check            •  Service sticker: Enter the date of the next ser-
           •   CV joints: Check for leaks and damage                vice on the service sticker and apply to the
                                                                    driver's side door pillar
           •  Diesel particulate filter: Only after 120,000
           miles, Check ash loading according to manufac-           • Spark plugs: Replace (All engines except
           turer work procedure; Replace if necessary.              TDI)
           NOTE: If DPF replacement is not necessary, per-          •  Sunroof and Panoramic sunroof: Check,
           form check every 20,000 miles thereafter until re-       clean, and lubricate (if applicable)
           placement becomes necessary. Subsequent DPF              •  Test drive: Check braking, kick-down,
           replacement interval is a minimum of 120,000             steering, electrical, heating and ventilation sys-
           miles, thereafter. (2.0L and 3.0L TDI engine             tems, air conditioning, and handling
           only)
                                                                    •  Tie rod ends: Check for excessive play, check
           •   Door checks and mounting pins: Lubricate             boots
           •   Dust and pollen filter: Replace (if applicable)      •   Timing Belt: Replace (2.0L TDI only)
           •   Engine: Change oil and replace oil filter            •  Tires: Check tread depth, condition, wear
           •  Engine and engine compartment compo-                  pattern, and pressure of all tires (including
           nents: Check (from above) for leaks and damage           spare)
           • Engine and engine compartment compo-                   •   Tires: Rotate front to rear
           nents: Check (from below) for leaks and                  •    Transmission: Automatic: Change fluid and
           damage, check transmission, final drive, and             filter
           drive shaft boots
                                                                    •   Transmission: DSG: Change fluid and filter
           •  Exhaust system: Check for leaks, damage,
           and secure fittings                                      •   Underbody sealant: Inspect for damage

           •   Fuel filter: Replace (2.0L, and 3.0L TDI only)       •  Windshield washer, headlight cleaning
                                                                    system, and wiper blades: Check for damage and
           •   Haldex clutch: Change oil (if applicable)            function, Check fluid level and add if necessary
           •   Headlights: Check adjustment

                                        Next Service:
            Date: ........................
            Miles:...................



                               whichever occurs first                Today‘s date and Volkswagen Dealer stamp
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                                                                                                Maintenance                  39



                Additional service
                Time-dependent maintenance items
                Every 1 year:                                          •   Brake fluid: Replace. First fluid replacement
                                                                       included under the Volkswagen Carefree Main-
                Perform visual check of airbag system.
                                                                       tenance Program (CC, Touareg, Eos, Passat,
                Every 2 years:                                         Jetta models, GTI, Golf, Tiguan, Passat CC).
                •   Dust and pollen filter: Replace (if applicable)    Every 4 years regardless of miles driven:
                •  Check latch for convertible roof (if appli-         •  Tire filler bottle in the tire mobility set: Re-
                cable)                                                 place (observe expiration date)
                • Tire filler bottle in the tire mobility set: Check   Every 6 years regardless of miles driven:
                (observe expiration date)
                • Brake fluid: Replace. First fluid replacement        •   Spark plugs: Replace
                included under the Volkswagen Carefree Main-           •  Air filter element and snow filter: Replace
                tenance Program (New Beetle).                          and clean housing
                Every 3 years, then every 2 years regardless of        •  Tire pressure sensors: Replace (if
                miles driven:                                          applicable)
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          40           Maintenance



           Service at 5,000, 10,000, 15,000, 20,000, 25,000,
           30,000, and 35,000 miles for 3.0L TDI engine only
           (Included in the Volkswagen Carefree Maintenance
           Program)
           Service at every 5,000 miles and every 5,000             •  AdBlue® Fluid: Check and add if necessary
           miles thru 35,000 miles.                                 3.0L TDI engine only

                                        Next Service:
            Date: ........................
            Miles:...................



                                                                     Today‘s date and Volkswagen Dealer stamp


                                        Next Service:
            Date: ........................
            Miles:...................



                                                                     Today‘s date and Volkswagen Dealer stamp


                                        Next Service:
            Date: ........................
            Miles:...................



                                                                     Today‘s date and Volkswagen Dealer stamp


                                        Next Service:
            Date: ........................
            Miles:...................



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                                                                                       Maintenance             41



                                             Next Service:
                 Date: ........................
                 Miles:...................



                                                                    Today‘s date and Volkswagen Dealer stamp


                                             Next Service:
                 Date: ........................
                 Miles:...................



                                                                    Today‘s date and Volkswagen Dealer stamp


                                             Next Service:
                 Date: ........................
                 Miles:...................



                                                                    Today‘s date and Volkswagen Dealer stamp
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          42          Maintenance



           Service at 40,000 miles and every 5,000 miles
           after for 3.0L TDI engine only:
           Service at 40,000 miles and every 5,000 miles                 •  AdBlue® Fluid: Check and add if necessary
           after.                                                        3.0L TDI engine only

           AdBlue® check


            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp
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                                                                                                      Maintenance     43


                AdBlue® check


                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp
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          44          Maintenance


           AdBlue® check


            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            An AdBlue® check was performed on: ...........................................




            Mileage: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp
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                                                                                                      Maintenance     45


                AdBlue® check


                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp
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          46           Maintenance



           Brake fluid replacement
           Replacement record
           • The brake fluid must be replaced every                      •   The brake fluid must be replaced every 3
           2 years regardless of mileage driven, and every 2             years regardless of mileage, and every 2 years
           years thereafter regardless of mileage driven.                thereafter regardless of mileage driven. First
           First fluid replacement included under the                    fluid replacement included under the
           Volkswagen Carefree Maintenance Program                       Volkswagen Carefree Maintenance Program
           (New Beetle).                                                 (CC, Touareg, Eos, Passat, Jetta models, GTI,
                                                                         Golf, Tiguan, Passat CC).

           Brake Fluid Replacement Record


            A brake fluid replacement was performed on: ...........................................
            Next Brake Fluid Replacement:


            Date: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            A brake fluid replacement was performed on: ...........................................
            Next Brake Fluid Replacement:


            Date: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp



            A brake fluid replacement was performed on: ...........................................
            Next Brake Fluid Replacement:


            Date: ........................


                                                                                           Today‘s date and
                                                                                       Volkswagen Dealer stamp
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                                                                                                           Maintenance   47


                Brake Fluid Replacement Record


                 A brake fluid replacement was performed on: ...........................................
                 Next Brake Fluid Replacement:


                 Date: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 A brake fluid replacement was performed on: ...........................................
                 Next Brake Fluid Replacement:


                 Date: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp



                 A brake fluid replacement was performed on: ...........................................
                 Next Brake Fluid Replacement:


                 Date: ........................


                                                                                                Today‘s date and
                                                                                            Volkswagen Dealer stamp
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          EXHIBIT B
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            Warranty

            Owner's information
            Dear Owner,                                           In addition to and separate from the above com-
            This booklet contains the limited warranties appli-   prehensive warranty package, Volkswagen of
            cable to your new Volkswagen model. Please read       America, Inc., an operating unit of Volkswagen
            these limited warranties carefully to determine       Group of America, Inc. ("Volkswagen") also offers
            your warranty rights and obligations.                 you complimentary participation in the Volk-
                                                                  swagen Carefree Maintenance Program described
            Your New Vehicle Limited Warranty includes vir-       in this booklet.
            tually bumper to bumper coverage for 3 years or
            36,000 miles, whichever occurs first and Power-       [fyou have a concern or you are not satisfied with
            train Limited Warranty coverage for 5 years or        the service that you receive from your dealer, we
            60,000 miles, whichever occurs first. Your vehicle    suggest that you discuss it with the Service Man-
            has a Limited Warranty Against Corrosion Perfo-       ager at your dealership. Ifit is not resolved through
            ration for a period of 12 years irrespective of       your dealership, you may call or write to the Volk-
            mileage.                                              swagen Customer CARE Center.

            In addition, your vehicle is covered by Emissions     In the event that your authorized Volkswagen
            Limited Warranties mandated by Federal law. If        dealer or Volkswagen Customer CARE Representa-
            you are a resident of the State of California, Con-   tive has been unable to address the concern to
            necticut' Maine, Maryland, New Jersey, New York,      your satisfaction, you may take advantage ofBBB
                                                                  AUTO LINE, a program administered through the
            New Mexico, Oregon, Rhode Island, Vermont,
            Washington and the Commonwealths of Massa-            Council of Better Business Bureaus. The BBB             .~
                                                                                                                          It
            chusetts and Pennsylvania and have purchased a        AUTO LINE program offers both mediation and ar-
            California emissions equipped vehicle, you may        bitration services for the resolution of disputes




                                                                                                                          I
            also have rights under California mandated emis-      arising while a vehicle is under warranty.
            sions warranties. Please consult these warranties     Complete details of Volkswagen's Customer CARE
            whenever a repair to your emission control system     programs begin on ::::> page 17.
            is required to determine whether it is covered by
                                                                  •   Notice of Address Change
            warranty. Your satisfaction in understanding the
            limited warranties that apply to your Volkswagen      •   Notice of Used Car Purchase
            model is important to us. Any questions con-          The "National Traffic & Motor Vehicle Safety Act of
            cerning warranty coverage should be directed to:      1966" requires manufacturers to be in a position to
            Volkswagen Group of America, Inc.                     contact vehicle owners if a correction of a safety-
            Customer CARE                                         related defect or a noncompliance with an appli-
            3499 West Hamlin Road                                 cable Federal motor vehicle safety standard be-
            Rochester Hills, MI48309                              comes necessary. If you change your address or
            Telephone: 1 (800) 822-8987                           buy a used Volkswagen model, complete one of
                                                                  the postcards in the middle of this booklet. You
            Refer to the California Emissions Warranty Sup-       need not use this card if you purchased your Volk-
            plement for additional information on California      swagen through an authorized Volkswagen
            Emissions Warranty coverage.                          dealer. <4




            USA Warranty and Maintenance
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                New Vehicle Limited Warranty

                What is covered

                Warranty period                                            Towing service to the nearest authorized Volk-
                The New Vehicle Limited Warranty period is 3               swagen dealer and! or a jump start are covered for
                years or 36,000 miles, whichever occurs first.             3 years or 36,000 miles, whichever occurs first, IF
                                                                           your vehicle is inoperable AND the failure is war-
               Any implied warranty, including any implied war-            rantable.
               ranry ofmerchantabiliry or warranry of fitness for
               a particular purpose, is limited in duration to the         Refer to the 24-Hour Roadside Assistance Owner's
               period of this written warranty. Some states do             Guide for specific details on the services provided.
               not allow limitations on how long an implied war-           Where to go for warranty service
               ranry lasts, so this limitation may not apply to
               you.                                                        This limited warranty will be honored by any au-
                                                                           thorized Volkswagen dealer in the United States,
                You are required to use the BBB AUTO LINE pro-             including its territories.
                cedure before pursuing any legal remedy under 15
                U.S.C. 23lO(d) with respect to the New Vehicle             If your Volkswagen model is brought to an autho-
                Limited Warranry. You may also be required to use          rized Volkswagen dealer outside the United States,
                the BBB AUTO LINE procedure before pursuing                including its territories, this limited warranty will
                legal remedies under your state lemon law. Please          not apply. Defects in material or workmanship will
                refer to the Consumer Protection Information               be corrected under the terms of the limited war-
                section of this booklet for more information.              ranty for new Volkswagen vehicles in effect in that
                                                                           country (except Canada).
                Coverage
                                                                           Warranry repairs while traveling in Canada
                This limited warranty covers any repair to correct
                a manufacturer's defect in material or workman-            Warranty repairs while traveling in Canada should
                                                                           be performed by an authorized Volkswagen dealer.
                ship except wheel alignment, tire balance, and the
                                                                           If your Volkswagen model is within the United
                repair or replacement of tires.
                                                                           States New Vehicle Limited Warranty, Canadian
                The repair or replacement of wear and tear items,          dealers can submit a claim. Proof of United States
                which are defined as brake pads worn below man-            residence is required. If the Canadian dealer
                ufacturer specifications, brake discs worn below           cannot submit your claim, you may be asked to
                manufacturer specifications, and light bulbs!) re-         pay for the repair. On your return to the United
                placed for wear and tear, are covered up to one            States, please present the invoice to your United
                year or 12,000 miles, whichever occurs first. Wiper        States Volkswagen dealer, who will submit a claim
                blades replaced for wear and tear are covered up to        on your behalf and obtain reimbursement for you.
                6 months or 6,000 miles, whichever occurs first.
                                                                           When the warranty period begins
                Original Equipment Battery
                                                                           The warranry period begins on the date the vehicle
                Original equipment batteries are covered 100%              is delivered to either the original purchaser or the
                parts and labor for 2 years or 24,000 miles, which-        original lessee; or if the vehicle is first placed in
                ever occurs first, for defects in material or work-        service as a "demonstrator" or "company" car, on
                manship.                                                   the date such vehicle is first placed in service.
                Mechanical Adjustments                                     This NewVehicle Limited Warranty is automati-
                Mechanical adjustments not associated with a de-           cally transferred without cost if the ownership of
                fect in material and workmanship, are covered up           the vehicle changes within the Warranry period.
                to one year or 12,000 miles, whichever occurs first
                                                                           Free-oF-charge repair
                (i.e. headlight adjustment).
                                                                           Repairs under this limited warranry are free of
                Towing! Jump start                                         charge. Your authorized Volkswagen dealer will re- ~


                1)   Excludes Halogen and Xenon headlight bulbs, which are covered for 3 years or 36,000 miles, whichever occurs
                     first. Headlight bulbs damaged by outside influence are not covered.


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             pair the defective part or replace it with a new or       sible or unreasonable under the circumstances to
             remanufactured genuine Volkswagen part.                   tow or drive your Volkswagen model to the nearest
                                                                       authorized Volkswagen dealer.
             Emergency repairs
                                                                       A statement of the circumstances that prevented
             If an emergency repair was performed by a non·
                                                                       you from getting to an authorized Volkswagen
             Volkswagen service facility, keep all receipts, repair
                                                                       dealer, together with the paid receipts, repair or-
             orders, and parts removed from your Volkswagen
                                                                       ders, and replaced parts must be submitted to
             model.
                                                                       your authorized Volkswagen dealer in order to be
             You will be reimbursed if the repair work was             considered for reimbursement. -<II
             needed and correctly performed and it was impos-


             What is not covered

             TIres                                                     system), accessories including but not limited to
             Tires are not covered by this limited warranty, but       alarm systems, remote starters, roof racks or com-
             are separately warranted by the tire manufacturer.        munications equipment, defects or failures re-
             To assist you in obtaining related Warranty infor-        suiting from the use of new parts not sold or ap-
             mation, a list of tire manufacturers and addresses        proved by Volkswagen, or used parts, or the re-
             is provided at the end of this booklet. Verify with       sultant damage to associated parts or systems; or
             the tire manufacturer what is covered under their         • non-Genuine Volkswagen parts (referred to as
             warranty.                                                 Aftermarket parts), crash parts repaired due to
                                                                       damage in a collision (referred to as Remanufac-
             Maintenance services 2) and mechanical adjust-            tured collision parts), parts obtained from another
             ments                                                     used vehicle (referred to as Salvage parts), and any
             This limited warranty does not cover the cost of          resultant damage to associated vehicle parts or
             parts and labor involved in any scheduled mainte-         systems caused by the failure of the aforemen-
             nance service2) •                                         tioned parts; or
             This limited warranty does not cover the replace-         • damage or malfunctions which were caused by
             ment of spark plugs, clutch discs, filters, oil, lubri·   the alteration of the vehicle, in particular any
             cants, fluids, or air conditioner refrigerant charge,     major or structural alterations including but not
             unless their replacement is a necessary part of           limited to the conversion of the vehicle to acon-
             warranty service on a covered component.                  vertible or the modification of the roof to accom-
                                                                       modate a glass roof structure or other similar
             Mechanical adjustments not associated with a de-
                                                                       structural alterations; or
             fect in material or workmanship are not covered
             after the first year or 12,000 miles, whichever oc-       • damage or malfunctions caused by using con-
             curs first (i.e. headlight adjustment). This limited      taminated or improper fuel, intentional or unin-
             warranty does not cover wheel alignment or tire           tentional misfueling; or
             balancing.                                                • damage or maIfunctions caused by collision or
                                                                       modifications of the vehicle, including but not
             Damage or malfunctions due to misuse, negli-              limited to the installation of engine management
             gence, alteration, accident or fire                       components not approved by Volkswagen; or
             This limited warranty does not cover:                     • damage or malfunctions resulting from the use
             • damage or malfunctions which are the result of          of the vehicle in competitive events or caused by
             improper repair of the vehicle, installation of any       accident or fire; or
             non Genuine Volkswagen parts that will alter the          • damage or malfunctions resulting from con-
             vehicle performance specifications from those set         tinued operation of the vehicle after a warning
             by the vehicle manufacturer, modifications to the         light, gauge reading or other warnings indicate a
             vehicle (including the engine management                  mechanical or operational problem; or             •


             2)   Some specific maintenance services are covered by the Volkswagen Carefree Malntenance Program. Please
                  consult the Volkswagen Carefree Maintenance Program guidelines in the maintenance section of this booklet.


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                 • damage or malfunctions due to suspension                   If the speedometer unit is replaced, a "Speedom-
                 modifications, including but not limited to the in-          eter Replacement Record" must be filled out by an
                 stallation of aftermarket springs, shock absorbers,          authorized Volkswagen dealer.
                 or lowering kits.
                                                                              Other expenses
                 This limited warranty does not cover vehicles se-
                                                                             This limited warranty does not cover any inci-
                 verely damaged or declared to be a total loss by an
                                                                             dental or consequential damage, including loss of
                 insurer or vehicles substantially re-assembled
                                                                             value of the vehicle, lost profits or earnings, and
                 from or repaired with parts obtained from another
                                                                             out-of-pocket expenses for substitute transporta-
                 used vehicle (referred to as Salvage parts).
                                                                             tion or lodging» .
                 Damage or malfunctions due to lack of mainte-               This limited warranty gives you specific legal
                 nance                                                       rights and you may also have other rights, which
                 This limited warranty does not cover damage or              vary from state to state.
                 malfunctions due to failure to follow recom-
                                                                              Other terms
                 mended maintenance and use requirements as set
                 forth in the Volkswagen Owner's Manual and the              This New Vehicle Limited warranty is issued by
                 Maintenance section of this booklet.                        Volkswagen. This limited warranty does not apply
                                                                             to Volkswagen vehicles or parts and accessories
                 Your dealer will deny warranty coverage unless
                                                                             not imported or distributed by Volkswagen.
                 you present to the dealer proof in the form of Ser-
                 vice or Repair Orders that all scheduled mainte-            This warranty, the limited Warranty Against Cor-
                 nance was performed in a timely manner.                     rosion Perforation, the Powertrain limited War-
                                                                             ranty and the Emissions Warranties are the only
                 Damage caused       by the environment                      express warranties made in connection with the
                 This limited warranty does not cover damage                 sale of this Volkswagen model. Any implied war-
                 caused by airborne industrial pollutants (e.g. acid         ranty, including any warranty of merchantability
                 rain), bird droppings, stones, floodwater, wind-            or warranty of fitness for a particular purpose, is
                 storms, tree sap or other similar occurrences.              limited in duration to the stated period of these
                                                                             written warranties.
                 Glass
                                                                              Some states do not allow limitations on how long
                 This limited warranty does not cover glass
                                                                              an implied warranty lasts, so, the above limitation
                 breakage, unless due to a defect in manufacturer's
                                                                              may not apply to you.
                 material or workmanship.
                                                                             Volkswagen reserves the right to make improve-
                 Odometer tampering                                          ments or change the design of any Volkswagen
                 These limited warranties do not cover repairs on a          model at any time with no obligation to make sim-
                 Volkswagen model on which the odometer has                  ilar changes on vehicles previously sold.
                 been altered or on which the actual mileage
                                                                             Neither Volkswagen nor the manufacturer as-
                 cannot readily be determined.
                                                                             sumes, or authorizes any person to assume, any
                                                                             other obligation or liability on its behalf. <4




           '"
           "!
           i
           ~.'
                 3)   Some states do not allow the exclusion or limitation of incidental or consequential damage, so this limitation
                      or exclusion may not apply to you. This warranty gives you specific legal rights and you may also have other
           :-         rights, which vary from state to state.


                 Warronty
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           Powertrain limited Warranty

           What is covered
           Warranty period                                          [fyour Volkswagen model is brought to an autho-
           The coverage under this warranty lasts for 5 years       rized Volkswagen dealer outside the United States.
           or 60.000 miles whichever occurs first. from the         including its territories. this warranty will not
           date the vehicle was first placed in service.            apply. Defects in material or workmanship will be
                                                                    corrected under the terms of the limited warranty
           This limited warranty does not apply to vehicles         for new Volkswagen vehicles in effect in that
           used for commercial purposes including but not           country (except Canada).
           limited to taxi. courier or delivery service. or lim-
           ousine.                                                  Warranty repairs while traveling in Canada
           If a commercial vehicle is sold to a subsequent re-      Warranty repairs while traveling in Canada should
           tail owner. this warranty still does not apply.          be performed byan authorized Volkswagen dealer.
                                                                    If your Volkswagen model is within the United
           Any implied warranty. including any implied war-         States Powertrain Limited Warranty. Canadian
           rantyofmerchantabilityorwarrantyoffitnessfor             dealers can submit a warranty claim. Proof of
           a particular purpose. is limited in duration to the      United States residence is required. [fthe Cana-
           period of this written warranty. Some states do          dian dealer cannot submit your warranty claim.
           not allow limitations on how long an implied war-        you may be asked to pay for the repair. On your re-
           ranty lasts. so this limitation may not apply to         turn to the United States. please present the in-
           you.                                                     voice to your United States Volkswagen dealer.
           Coverage                                                 who will submit a claim on your behalf and obtain
                                                                    reimbursement for you.
           The Powertrain Limited Warranty covers any re-
           pair to correct a manufacturer's defect in material      When the warranty period begins
           or workmanship for the following Volkswagen              The warranty period begins on the date the vehicle
           parts and components:                                    is delivered to either the original purchaser or the
           Engine: Cylinder block and all internal parts. cyl-      original lessee; or if the vehicle is first placed in
               inder head and all internal parts. valve train.      service as a "demonstrator" or "company" car. on
               spur belt. flywheel. oil pump. water pump.           the date such vehicle is first placed in service.
               manifolds. all related seals and gaskets.
                                                                    The Powertrain Limited Warranty is automatically
           Transmission: Case and all internal parts. torque        transferred without cost if the ownership of the ve-
               converter. all related seals and gaskets.            hicle changes within the Warranty period.
           Drivetrain: Differential and all internal parts. drive
               shafts and constant velocity (ev) joints.            Free-of-charge repair
                                                                    Repairs under this warranty are made free of
           Where to go for warranty service                         charge. Your authorized Volkswagen dealer will re-
           This limited warranty will be honored by any au-         pair the defective part or replace it with a new or
           thorized Volkswagen dealer in the United States.         remanufactured genuine Volkswagen part ...
           including its territories.




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                 What is not covered

                 Maintenance services                                        limited to the installation of engine management
                 This limited warranty does not cover the cost of            components not approved by Volkswagen; or
                 parts and labor involved in any scheduled mainte-           • damage or malfunctions resulting from the use
                 nance service. Scheduled maintenance services               of the vehicle in competitive events or caused by
                 are described in the maintenance section of this            accident or fire; or
                 booklet. Also see the Volkswagen Carefree Mainte-           • damage or malfunctions resulting from con-
                 nance Program outlined in the maintenance sec-              tinued operation of the vehicle after a warning
                 tion ofthis booklet.                                        light, gauge reading or other warnings indicate a
                 This limited warranty does not cover the replace-           mechanical or operational problem; or
                 ment of filters, oil, lubricants or fluids unless their     • damage or malfunctions due to suspension
                 replacement is a necessary part ofwarranty service          modifications, including but not limited to the in-
                 on a covered component.                                     stallation of aftermarket springs, shock absorbers,
                                                                             or lowering kits.
                 Damage or malfunctions due to misuse, negli-
                 gence, alteration, accident or fire                         This warranty does not cover vehicles severely
                                                                             damaged or declared to be a total loss by an insurer
                 This limited warranty does not cover:
                                                                             or vehicles substantially re-assembled from or re-
                 • damage or malfunctions which are the result of            paired with parts obtained from another used ve-
                 improper repair of the vehicle, installation of any         hicle (referred to as Salvage parts).
                 non Genuine Volkswagen parts that will alter the
                 vehicle performance specifications from those set           Wear and tear items
                 by the vehicle manufacturer, modifications to the           This limited warranty does not cover the replace-
                 vehicle (including the engine management                    ment of any powertraln components that wear as
                 system), accessories including but not limited to           a result of normal use or deterioration.
                 alarm systems, remote starters, roof racks or com-
                 munications equipment, defects or failures re-              Damage or malfunctions due to lack of mainte-
                 sulting from the use of new parts not sold or ap-           nance
                 proved by Volkswagen, or used parts, or the re-             This limited warranty does not cover damage or
                 sultant damage to associated parts or systems; or           malfunctions which are due to failure to follow rec-
                 • non-Genuine Volkswagen parts (referred to as              ommended maintenance requirements as set
                 Aftermarket parts)' crash parts repaired due to             forth in the Volkswagen Owner's Manual and the
                 damage in a collision (referred to as Remanufac-            maintenance section of this booklet. Your dealer
                 tured collision parts), parts obtained from another         will deny warranty coverage unless you present to
                 used vehicle (referred to as Salvage parts), and any        the dealer proof in the form of service or repalr or-
                 resultant damage to associated vehicle parts or             ders that all scheduled maintenance was per-
                 systems caused by the failure of the aforemen-              formed in a timely manner.
                 tioned parts; or                                            Damage caused by the environment
                 • damage or malfunctions which were caused by               This limited warranty does not cover damage
                 the alteration of the vehicle, in particular any            caused by airborne industrial pollutants (e.g. acid
                 major or structural alterations including but not           rain), bird droppings. tree sap, stones, flood water,
                 limited to the conversion of the vehicle to a con-          windstorm or other similar occurrences.
                 vertible or the modification of the roofto accom-
                 modate a glass roof structure or other similar              Other e)(penses
                 structural alterations; or                                  This limited warranty does not cover any inci-
                 • damage or malfunctions caused by using con-               dental or consequential damage, including loss of
                 taminated or improper fuel, intentional or unin-            value of the vehicle,lost profits or earnings, or
                 tentional misfueling; or                                    out-of-pocket expenses for substitute transporta-
                                                                             tion or lodgingt) .                               ~
                 • damage or malfunctions caused by collision or
                 modifications of the vehicle, including but not

                 4)   Some states do not allow the exclusion or limitation of incidental or consequential damage, so this limitation
                      or exclusion may not apply to you.


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              The "Other Terms" Presented in The New Vehicle
              Limited Warranty also apply to this warranty. ~




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                Limited Warranty Against Corrosion Perforation

                What is covered

                Warranty period                                         Warranty repairs while traveling in Canada should
                The coverage under this limited warranty lasts for      be performed by an authorized Volkswagen dealer.
                12 years without mileage limitation.                    If your Volkswagen model is within the United
                                                                        States Limited Warranty Against Corrosion Perfo-
                Any implied warranty, including any implied war-        ration. Canadian dealers can submit a warranty
                ranty of merchantability or warranty of fitness for     claim. Proof of United States residence is required.
                a particular purpose, Is limited in duration to the     If the Canadian dealer cannot submit your war-
                period of this written warranty. Some states do         ranty claim. you may be asked to pay for the repair.
                not allow limitations on how long an implied war-       On your return to the United States, please present
                ranty lasts, so this limitation may not apply to        the invoice to your United States Volkswagen
                you.                                                    dealer. who will submit a claim on your behalf and
                Neither Volkswagen nor the manufacturer as-             obtain reimbursement for you.
                sumes, or authorizes any person to assume, any
                                                                        When the warranty period begins
                other obligation or liability on its behalf.
                                                                        The limited warranty period begins on the date the
                Coverage                                                vehicle is delivered to either the original purchaser
                This limited warranty covers any repair or replace-     or the original lessee; or if the vehicle is first placed
                ment of body sheet metal panels that have been          in service as a "demonstrator" or "company" car,
                perforated by rust from the inside out.                 on the date such vehicle is first placed in service.

                Where to go for warranty service                        This Limited Warranty Against Corrosion Perfora-
                                                                        tion is automatically transferred without cost if the
                This limited warranty will be honored by any au-
                                                                        ownership of the vehicle changes within the war-
                thorized Volkswagen dealer in the United States.
                                                                        ranty period.
                including its territories.
                If your Volkswagen model is brought to an autho-        Free-of-charge repair
                rized Volkswagen dealer outside the United States.      Repairs under this limited warranty are made free
                including its territories. this limited warranty will   of charge. An authorized Volkswagen dealer will
                not apply. Defects in material or workmanship will      repair the defective part or replace it with a new or
                be corrected under the terms of the warranty for        remanufactured genuine Volkswagen part.
                new Volkswagen vehicles in effect in that country
                (except Canada).                                        T
                                                                        W
                                                                              Your Volkswagen model is corrosion pro-
                                                                              tected at the factory. You do not need to pur-
                Warranty repairs while traveling in Canada              chase rustproofing when you buy your Volk-
                                                                        swagen model in order to keep this warranty in
                                                                        effect. ...




                Warranty
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             What is not covered

             Surface corrosion without perforation                 It does not cover corrosion perforation resulting
             Repairs are covered under this limited warranty       from the use of any inferior rustproofing agent or
             only if there is a rust-through condition in the      method.
             body sheet metal not caused by outside influ-         Your authorized Volkswagen dealership will do its
             ences.                                                best to match your vehicles original finish, but this
                                                                   limited warranty does not cover the cost of
             Perforation of sheet metal due to accident, lack of
                                                                   painting the entire vehicle solely for paint
             care, or failure to repair or modifications to the
                                                                   matching.
             paint/painted surface
             This limited warranty does not cover corrosion        Environmental damage
             perforation resulting from the failure to promptly    This limited warranty does not cover damage
             repair paint damage, damaged undercoating, or         caused by airborne industrial pollutants (e.g. acid
             surface corrosion.                                    rain), bird droppings, stones, flood water, wind
             It does not cover damage due to failure to wash or
                                                                   storms, tree sap or other similar occurrences.
             otherwise regularly care for the vehicle as de-       Corrosion perforation because of failure to rust-
             scribed in the Volkswagen Owner's Manual.             proof when collision damage is repaired
             This limited warranty does not cover corrosion        Body parts that have been repaired or newly in-
             perforation resulting from unrepaired collision       stalled after a collision must be treated with a rust-
             damage or improper collision repair.                  proofing agent that is compatible with Volk-
                                                                   swagen's own factory corrosion protection. If you
             Special exclusion for any aluminum portions that
                                                                   fail to have your vehicle treated in this way after a
             may be part of your Volkswagen vehicle
                                                                   collision, Volkswagen will not be responsible for
             This limited warranty does not cover corrosion        the repair of any resulting rust-through.
             perforation due to failure to perform body repairs
             in accordance with Volkswagen's specified repair      m The "Other Terms" presented in the New Ve-
             procedures, including use of non-aluminum alloy       L!J hicle Limited Warranty also apply to this
             parts.                                                warranty....




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               Federal Emissions Warranties

               General
               The Emissions Warranties set out on the following          dated emissions warranties ONLY for vehicles
               pages are warranties which the manufacturer is re-         equipped to meet California's Partial Zero Emis-
               quired by law to furnish to you at the time you take       sion Vehicle (PZEV) emission requirements. as
               delivery of your new vehicle. These coverages may          identified on the Vehicle Emission Control Infor-
               also be included in the Volkswagen 3 years / 36.000        mation Label located under the hood. Therefore.
               miles New Vehicle Limited Warranty.                        the owner of a Volkswagen model equipped to
                                                                          meet California's PZEV emissions requirements
               The warranties required by federal laws apply to all
                                                                          and imported and distributed by Volkswagen for
               new Volkswagen vehicles imported and distrib-
                                                                          sale and registration in New York may have war-
               uted by Volkswagen of America. Inc .• an operating
                                                                          ranty rights under both Federal and state man-
               unit of Volkswagen Group of America. Inc. ("Volk-
                                                                          dated emissions warranties.
               swagen") for sale in the United States. including its
               territories. The warranties required by the State of       Please read these warranties carefully. !fyou have
               California law apply to all new Volkswagen vehi-           any questions concerning the applicability of each
               cles imported and distributed by Volkswagen for            warranty to your vehicle or want to know whether
               sale and registration in the State of California.          a particular repalr will be performed free of charge
               Connecticut. Maine. Maryland. New Jersey. New              pursuant to these warranties. please write to or
               Mexico. Oregon. Rhode Island. Vermont. Wash-               telephone:
               ington and the Commonwealths of Massachusetts
                                                                          Volkswagen Group of America, Inc.
               and Pennsylvania. Therefore. the owner of an
                                                                          Customer CARE
               above mentioned vehicle may have warranty
                                                                          3499 West Hamlin Road
               rights under both Federal and State mandated
                                                                          Rochester Hills, MI 48309
               emissions warranties.
                                                                          Tel.: 1 (800) 822-8987 ...                                    ;,~
               The State of New York has adopted emissions war-
               ranty requirements identical to California man-



               Federal Emissions Control System Defect Warranty

               For 2 years or 24,000 miles

               Volkswagen of America. Inc., an operating unit of          has been driven 24,000 miles, whichever occurs
               Volkswagen Group of America. Inc. ("Volk-                  first.
               swagen"), the authorized United States importer
                                                                          A warranted part is any part installed on a motor
               of Volkswagen vehicles, warrants to the original re-
                                                                          vehicle or motor vehicle engine by the vehicle or
               tail purchaser or original lessee and any subse-
                                                                          engine manufacturer. or installed in a warranty re-
               quent purchaser or lessee that every model
                                                                          pair. which affects any regulated emission from a
               year 2011 Volkswagen vehicle imported by Volk-
                                                                          motor vehicle or engine which is subject to EPA
               swagen:
                                                                          emission standards. The follOwing parts or sys-
               • was designed, built and equipped so as to con-           tems listed, if defective, could cause the vehicle to
               form at the time of sale with all applicable regula-       fail to conform with EPA regulations:
               tions of the United States Environmental Protec-
                                                                          • Evaporative Emission Control System: in-
               tionAgency (EPA). and
                                                                          cluding fuel tank, filler cap. filler neck and leak de-
               • is free from defects in material and workman-            tection pump
               ship which causes the vehicle to fail to conform
                                                                          • Exhaust System: including manifolds, turbo-
               with EPA regulations for 2 years after the date of
                                                                          chargers, catalytic converters, down pipes and
               first use or delivery of the vehicle to the original re-
                                                                          particulate filter                                        ~
               tail purchaser or original lessee or until the vehicle


               Federal Emissions Warranties
                                                                                                                  10   I11
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              • EGR System: including valves, pipes and               • Emission-related hoses, gaskets, clamps and
              coolers                                                 other accessories used with the above compo-
              • Fuel Injection System: including control mod-         nents
              ules, sensors, switches, valves and fuel lines          The obligation of Volkswagen under this warranty
              • Intake System: including camshaft adjuster            is limited, however, to the follOwing: If within this
              units, sensors, manifold, pipes and control valves      period a defect in material or workmanship causes
              •   Ignition System: including coils and sensors        the vehicle to fail to conform with EPA regulations
                                                                      and the vehicle is brought to the workshop of any
              • OBD System: including Malfunction Indicator           authorized Volkswagen dealer in the United
              Lamp (MIL) and Data Link Connector                      States, including its territories the dealer will make
              • PCV System: including control valves and pipes        repairs as may be required by these regulations
              • Secondary Air Injection System: including air         free of charge. ~
              pump and control valves


              For 8 years or 80,000 miles
              If the vehicle has been in use for more than 24         •   Catalytic Converter and Particulate Filter
              months or 24,000 miles, but less than 8 years or        • Engine Electronic Control Module
              80,000 miles, whichever occurs first, your Volk-
                                                                      • On Board Diagnostic Device (OBD) ~
              swagen dealer will repair or replace free-of-charge
              the following major emission control components
              only:



              Federal Emissions Performance Warranty

              For 2 years or 24,000 miles and 8 years or 80,000 miles
              Volkswagen of America, Inc., an operating unit of       • if the vehicle has been in use for more than 24
              Volkswagen Group of America, Inc. ("Volk-               months or 24,000 miles, but less than 8 years or
              swagen "), warrants to the original retail purchaser    80,000 miles. whichever occurs first, the vehicle
              or original lessee of a model year 2011 Volkswagen      fails an Inspection and Maintenance test or in-
              vehicle and any subsequent purchaser or lessee of       spection resulting from a malfunction of a cata-
              the vehicle that if the following conditions are met,   lytic converter, particulate mter, engine electronic
              any authorized Volkswagen dealer in the United          control module or on-board diagnostic device
              States, including its territories, will remedy any      (OBD),and
              nonconformity, as determined below, free of             • the failure of the Inspection and Maintenance
              charge, under the following conditions:                 test of inspection requires the vehicle owner to
              • the vehicle fails to conform at any time during       bear any penalty or other sanction, including the
              24 months or 24,000 miles, whichever occurs first,      denial of the right to use the vehicle under local,
              to applicable emission inspection standards as de-      state or federal law, and
              termined by an EPA Approved State Inspection            • the vehicle has been maintained and operated
              and Maintenance test or inspection, or                  in accordance with Volkswagen's instructions for
                                                                      proper maintenance and use. ~




              USA Warranty and Maintenance
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                   Performance Warranty claim approval

                   You may raise a claim under this warranty imme-          use, Volkswagen may require you to furnish proof
                   diately after your vehicle has failed an Inspection      of compliance only with those maintenance in-
                   and Maintenance test or inspection if, as a result of    structions which Volkswagen has reason to believe
                   that failure, you are required by law to repair the      were not performed and which could be the cause
                   vehicle to avoid imposition of a penalty or cancel-      of the Inspection and Maintenance test or inspec-
                   lation of your right to use the vehicle. You need not    tion failure.
                   actually suffer the loss or lose the right to use your
                                                                            Volkswagen may deny an emission performance
                   vehicle or pay for the repair before presenting your
                                                                            warranty claim on the basis that a replacement
                   claim.                                                   part not certified by the EPA was used in the main-
                   Claims may be presented only by bringing your ve-        tenance or repair of the vehicle ifVo!kswagen can
                   hicle to any authorized Volkswagen dealer in the         prove that the non -certified part is either defective
                   United States, including its territories. The dealer     in materials or workmanship, or not equivalent
                   will honor or deny your claim within a reasonable        from an emission standpoint to the Original part,
                   time, not to exceed thirty (30) days, from the time      and you are not able to offer information that the
                   at which your vehicle is presented for repair or         part is either not defective or equivalent to the
                   within any time period specified by local, state or      original part with respect to its emission perfor-
                   Federal law, whichever is shorter, except when a         mance.
                   delay is caused by events not attributable to Volk-
                                                                            Volkswagen will not deny a claim relating to
                   swagen or the dealer. If the dealer denies your
                   claim, you will be notified in writing of the reasons    • warranty work or pre-delivery service per-
                   for rejecting the claim. If you do not receive notice    formed by an authorized Volkswagen dealer, or
                   of denial of your claim within the above time pe-        • work performed in an emergency to rectify an
                   riod, Volkswagen is required by law to honor the         unsafe condition attributable to Volkswagen, pro-
                   claim.                                                   Vided you have taken steps in a timely manner to         J
                                                                            put the vehicle back into a conforming condition,
                                                                                                                                     I,
                   Under certain circumstances, your claim may be
                   denied because you have failed to comply with in-        or
                   structions for scheduled maintenance contained           • the use of an uncertified part or to noncompli-
                   in your Volkswagen Maintenance booklet. In de-           ance with the instructions for proper maintenance
                   termining whether you have complied with the in-         and use, which is not related to the Inspection and
                   structions for scheduled maintenance and proper          Maintenance test or inspection failure ~




                   Federal Emissions Warranties                                                                     12       13

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               Additional Information About Your Federal Emissions Warranties
               Warranty period                                             EPA certified replacement parts
               The warranty period begins on the date the vehicle          Maintenance, repair, or replacement of emission
               is delivered to the original retail purchaser or orig-      control devices and systems may be performed by
               inallessee, and any subsequent purchaser or                 any automotive service and repair establishment
               lessee or, if the vehicle is first placed in service as a   or qualified individual using Environmental Pro-
               demonstrator or company demonstrator or com-                teet ion Agency ("EPA") certified replacement
               pany car prior to delivery, on the date it is first         parts.
               placed in service.
                                                                           Maintenance and repairs performed by indepen-
               Proper maintenance and use                                  dent service shops
               Instructions for proper maintenance are con-                Without invalidating these warranties, you may
               tained in the maintenance section of this booklet.          choose to have maintenance, repair or replace-
               TIme and mileage intervals, at which maintenance            ment of emission control components performed
               is to be performed, may vary from model to model.           by any automotive service establishment or indi-
               Volkswagen recommends you keep a record of                  vidual qualified to perform such services. How-
               scheduled maintenance by having your mainte-                ever, the cost of such services is not covered by
               nance booklet validated at the approximate time             these warranties except in emergencies. If the in-
               or mileage intervals by the authorized Volkswagen           dependent service establishment finds a warrant-
               dealer or other service facility that performed the         able defect, you may deliver the vehicle to an au-
               maintenance. If you perform the maintenance                 thorized Volkswagen dealer and have the defect
               yourself, keep all documentation as proof you               corrected free of charge. Volkswagen will not be li-
               have performed the maintenance at the approxi-              able for any expenses, which you have incurred at
               mate time or mileage intervals recommended,                 the independent service establishment, except for
               that you have used proper parts, and that you were          emergency Tepairs. See "Emergency Repairs" for
               able to perform the maintenance properly.                   further details.

               Failure to maintain your vehicle according to the           Parts nat scheduled for inspection or replace-
               instructions for proper maintenance may cause               ments
               the vehicle to exceed applicable emissions stan-            Any part, which is not scheduled for inspection or
               dards and could result in denial of warranty cov-           replacement at maintenance intervals specified in
               erage. However, Volkswagen will not deny a war-             the maintenance section of this booklet, is covered
               ranty claim solely on the basis of your failure to          by this warranty for the fujI warranty period.
               maintain the vehicle according to the instructions
               or failure to keep a record of maintenance.                 Scheduled part inspection or replacement
               Instructions for proper use of the vehicle are con-         A part scheduled only for inspection in accordance
               tained in your Volkswagen Owner's Manual.                   with VOlkswagen's instructions or required sched-
                                                                           uled maintenance is covered for the duration of
               Use of Genuine Volkswagen Parts                             these warranties.
               Volkswagen recommends that Genuine Volk-                    A part installed in accordance with Volkswagen's
               swagen parts be used as replacement parts for the           instructions or required scheduled maintenance is
               maintenance, repair or replacement of emission              warranted until the next scheduled replacement
               control systems. Use of replacement parts which             interval or for the duration of these warranties.
               are not equivalent to Genuine Volkswagen parts in
               emission performance and durability may impair              Damage to non-warranty parts
               the effectiveness of emission control systems. Al-          If failure of a warranted part causes damage to a
               though use of parts other than Genuine Volk-                part not covered by warranty, the non-warranted
               swagen parts does not invalidate these warranties,          part will also be replaced free of charge.
               Volkswagen assumes no liability under these war-
               ranties for failure of such parts and damage to             Warranty repairs while traveling in Canada
               other parts caused by such failure.                         Warranty repairs while traveling in Canada should
                                                                           be performed by an authorized Volkswagen dealer.
                                                                           IfyourVolIcswagen model is within the United      ~




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                States Federal Emissions Warranties. Canadian           meeting the specifications setforth in the Owner's
                dealers can submit a claim. Proof of United States      Manual. and abuse. neglect or improper mainte-
                residence is required. Ifthe Canadian dealer            nance of the vehicle. Diagnosis and repair of such
                cannot submit your claim. you may be asked to           damage are at the expense of the owner.
                pay for the repair. On your return to the United
                States, please present the invoice to your United       Implied warranties
                States Volkswagen dealer, who will submit a claim       Any implied warranty, including any warranty of
                on your behalf and obtain reimbursement for you.        merchantability or warranty of fitness for a par-
                                                                        ticular purpose, is limited in duration to the
                Emergency repairs                                       stated period of these written warranties.
                Emergency repairs performed by a non-Volk-
                swagen service facility will be reimbursed if the re-   Incidental and consequential damages
                pair work was needed and correctly performed.           These warranties do not cover any incidental or
                and it was impossible or unreasonable under the         consequential damages, including loss of resale
                circumstances to tow or drive your Volkswagen           value, lost profits or earnings, and out-of-pocket
                model to the nearest authorized Volkswagen              expenses for substitute transportation or lodging.
                dealer. The maximum reimbursement allowable is          Some states do not allow the exclusion or limita-
                an amount equal to the cost if your authorized          tion of incidental or consequential damages. so
                Volkswagen dealer had completed the repair(s).          this limitation or exclusion may not apply to you.
                Reimbursement will be considered when you
                submit the following items to your authorized           m     In the event you have not received the ser-
                Volkswagen dealer:                                      L1.J  vices promised in these warranties, please
                                                                        follow the procedures described in this booklet
                • A statement explaining the circumstances that
                prevented you from getting to an authorized Volk-       under the title "Customer CARE".
                swagen dealer,                                          • You may obtain further information regarding
                                                                        the Emissions Performance Warranty or report vi-
                •   Repair order(s) and
                                                                        olation of the terms of the Emissions Defect or Per-
                •   Partes) removed from your Volkswagen model          formance Warranty by contacting: US Environ-
                Damage caused by tampering, use of improper             mental Protection Agency, Compliance and Inno-
                fuel, abuse, neglect and improper maintenance           vation Strategy Division, Attention: Emissions
                                                                        Warranty Claims, 2000 Traverwood Rd., Ann Arbor,
                These warranties do not cover any damage to the         MI48105 ....
                vehicle caused by tampering with emission con-
                troIs. use of fuel containing lead. or fuel not




                Federal Emissions Warranties                                                                  14       15

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               Kansas Safety Belt Limited Warranty

               Information about Kansas Safety Belt Limited Warranty
               Applicable only to vehicles sold or registered in      If damage or failure was due to misuse, alteration,
               the State of Kansas                                    accident, or collision; or
               For vehicles sold or registered in the State of        Due to color fading, spotting, or other cosmetic
               Kansas, safety belts and related safety belt compo-    problems when the safety belt is otherwise func-
               nents are warranted against defects in workman-        tioning properly.
               ship and materials for a period of ten (lO) years,     Due to color fading, spotting, or other cosmetic
               from the vehicle's original in-service date, regard-   problems when the safety belt is otherwise func-
               less of mileage.                                       tioning properly...
               This limited warranty does not cover the replace-
               ment of safety belts and safety belt components:




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                Customer Care

                Volkswagen dealer assistance
                If you have questions about your vehicle or the        It is their business to be concerned about your sat-
                service you have received, we suggest that you first   isfaction and goodwill. Because they are closest to
                discuss them with the service personnel at your        the situation, they are in the best position to
                authorized Volkswagen dealer. You may want to          quickly resolve any concerns you may have ....
                speak to the Service Manager or directly to the
                owner of the dealership.



                Volkswagen corporate assistance
                If your concerns are not resolved to your satisfac-    When you call or write, please provide the fol-
                tion by the dealer, please contact Volkswagen by       lOwing information:
                calling our toll-free number:
                                                                       • Your name, address and telephone number
                Tel.: 1 (800) 822-8987                                 • Vehicle Identification Number (VIN)
                If you prefer to write, please use the following ad-   • Vehicle mileage
                dress:                                                 • Dealer name
                Volkswagen Group of America, Inc.                      • Nature of concern or problem
                Customer CARE                                          • Copies of repair orders or pertinent docu-
                3499 West Hamlin Road                                  ments (if you are writing to us)
                Rochester Hills, MI48309
                                                                       A Volkswagen Customer CARE Representative, in
                You can also contact us using our Internet address:    conjunction with your authorized Volkswagen
                www.vw.com.                                            dealer, will work with you to carefully review all
                                                                       facts relating to your request. ...
                Simply click on "Contact Us".




                Customer Care                                                                                 16       17

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              Repairs not covered             by warranty
              In some circumstances, Volkswagen of America,         check with your dealer to determine whether your
              Inc., an operating unit of Volkswagen Group of        vehicle is eligible for any repair free of charge.
              America, Inc. ("Volkswagen") may offer financial
                                                                    In other instances, Volkswagen may offer assis-
              assistance toward repairs or expenses not covered
                                                                    tance with a repair beyond warranty on a case-by-
              by Volkswagen's New Vehicle Limited Warranties.
                                                                    case basis, If you believe that your vehicle needs a
              In certain instances, Volkswagen may pay for such     repair not covered by warranty which Volkswagen
              repairs in accordance with the terms of service ac-   should pay for in part or in whole, please discuss
              tion campaigns it will conduct from time to time.     the request with your dealer. Uyou are not satisfied
              In the event of a service action, Volkswagen will     with your dealer's decision, please contact Volk-
              notify you by mail and request that you bring your    swagen Customer CARE by telephone or in
              vehicle to your nearest authorized Volkswagen         writing, Your request shOUld provide the Vehicle
              dealer for repair free of charge.                     Identification Number, the mileage, maintenance
              If you have not recently changed your address and     history and an explanation of why you believe that
              Volkswagen has your current address on file, you      the repair should be performed free of charge.
              will receive notification automatically. If you are   Your request should be accompanied by all avail-
              concerned that you may not have received notice       able maintenance and repair records which you
              concerning a particular service action, please        have retained. A Customer CARE Representative
                                                                    will review your request and advise you of our
                                                                    decision. ~




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                   Consumer Protection Information

                   BBB AUTO LINE Dispute Resolution

                   Informal dispute mechanism

                   If your authorized Volkswagen dealer or Volk-          between the parties in an effort to bring your claim
                   swagen Customer CARE Representative has been           to a mutually acceptable resolution. If you do not
                   unable to satisfactorily address your concern,         agree with the mediated solution, you may request
                   Volkswagen offers additional assistance through        an arbitration hearing.
                   BBB AUTO LINE, a dispute resolution program ad-
                                                                          Arbitration is a process by which an impartial
                   ministered by the Council of Better Business Bu-
                                                                          person makes a decision on your claim. The arbi-
                   reaus.                                                 trators are not connected with the automobile in-
                   The BBB AUTO LINE program is free of charge to         dustry and serve on a voluntary basis. You may at-
                   you but there are some vehicle age and mileage         tend the hearing in person, be represented by an
                   limitations, so please call BBB AUTO LINE for          attorney, bring witnesses, and give supporting evi-
                   more details:                                          dence. Instead of appearing in person, you may re-
                                                                          quest a written or even a telephone arbitration
                   Tel.: 1 (800) 955-5100
                                                                          hearing. The BBB shall make every effort to obtain
                   If you call BBB AUTO LINE, please be prepared to       a final resolution of your claim within 5 business
                   provide the following information:                     days of the hearing (that is, within 40 days ofwhen
                   • Your name and address                                your claim was filed), unless state or Federal law
                                                                          provides otherwise. You then have the opportunity
                   • The Vehicle Identification Number (VlN)              to accept or reject the decision.
                   • The make, model, and model year of your ve-
                                                                          • If you accept the decision, the manufacturer
                   hicle
                                                                          will be bound by the decision and will be required
                   • The delivery date and current mileage of your        to fulfill its obligation within the timeframe speci-
                   vehicle                                                fied by the arbitrator.
                   • A description of the concern with your vehicle       • If you reject the decision, you are free to pursue
                   The BBB AUTO LINE program consists of two              other legal remedies available under state or fed-
                   parts: mediation and arbitration. Mediation            erallaw, and the manufacturer will not be required
                   means that BBB staff will facilitate negotiations      to comply with any part of the decision. ~

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       l:          State-Specific Warranty Enforcement Laws
       t
       I           Local laws


       I~          Each state has enacted warranty enforcement laws
                   (commonly referred to as "lemon laws") that
                   permit owners to obtain a replacement vehicle or
                                                                          swagen explaining the nonconformity that the
                                                                          owner has experienced with the vehicle, and to
                                                                          allow Volkswagen the opportunity to make any
                   a refund of the purchase price under certain cir-
       I           cumstances. Although the provisions of these laws
                                                                          needed repairs before the owner pursues other
                                                                          remedies provided by that state's law (in all other


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                   vary from state to state, their intent is to provide
                   owners with certain rights if they experience sig-
                   nificant service-related difficulties with their new
                   vehicle.
                                                                          states where not specifically required by state law,
                                                                          Volkswagen requests that the owner provide the
                                                                          written notification). The owner should send
                                                                          written notification to:
             "
             '~"   IMPORTANT NOTICE: To the extent allowed by
                   each state's law, Volkswagen requires that the
                                                                          Volkswagen Group of America, Inc.
             M                                                            Customer CARE
             ~     owner first send written notification to Volk-         3499 West Hamlin Road


                   Consumer Protection Information                                                               18       19

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               Rochester Hills, MI 48309                              more information about the BBB AUTO LINE dis-
                                                                      pute resolution program.
               IMPORTANT NOTICE: Depending on the state's
               law, the owner may also be required to submit          Because each state has enacted specific provisions
               their complaint to BBB AUTO LINE before seeking        as part of its lemon law, owners are advised to re-
               other remedies. Please refer to the BBBAUTO LINE       search and follow the laws in their state ....
               Dispute Resolution section ofthis booklet for



                NOTICE TO CALIFORNIA PURCHASERS
               Volkswagen participates in BBB AUTO LINE, a me-        You are required to use BBB AUTO LINE before as-
               diation/ arbitration program administered by the       serting in court any rights or remedies conferred
               Council of Better Business Bureaus (4200 Wilson        by California Civil Code Section 1793.22. You are
               Boulevard, Suite 800, Arlington, Virginia 22203).      not required to use BBB AUTO LINE before pur-
               BBB AUTO LINE and Volkswagen have been certi-          suing rights and remedies under any other state or
               fied by the Arbitration Certification Program of the   Federal law.
               California Department of Consumer Affairs.
                                                                      California Civil Code Section 1793.2(d) requires
               If you have a problem arising under any Volk-          that, if Volkswagen or its representative is unable
               swagen written warranty, we request that you           to repair a new motor vehicle to conform to the ve-
               bring it Volkswagen's attention. Ifwe are unable to    hicle's applicable express warranty after a reason-
               resolve it, you may file a claim with BBB AUTO         able number of attempts, Volkswagen may be re-
               LINE. Claims must be filed with BBB AUTO LINE          quired to replace or repurchase the vehicle. Cali-
               within six (6) months after the expiration of the      fornia Civil Code Section 1793.22(b) creates a pre-
               warranty.                                              sumption that Volkswagen has had a reasonable
               To fIle a claim with BBB AUTO LINE, call:              number of attempts to conform the vehicle to its
                                                                      applicable express warranties if, within 18 months
               Tel.: 1 (800) 955-5100.                                from delivery to the buyer or 18,000 miles on the
               There is no charge for the call.                       vehicle's odometer, whichever occurs first, one or
                                                                      more of the following occurs:
               In order to file a claim with BBB AUTO LINE, you
               ,,,,ill have to provide your name and address, the     • The same nonconformity (a failure to conform
               brand name and Vehicle Identification Number           to the written warranty that substantially impairs
               (VIN) of your vehicle, and a statement of the na-      the use, value, or safety of the vehicle) results in a
               ture of your problem or complaint. You will also be    condition that is likely to cause death or serious
               asked to provide: the approximate date of your ac-     bodily injury if the vehicle is driven AND the non-
               quisition of the vehicle, the vehicle's current        conformity has been subject to repair two or more
               mileage, the approximate date and mileage at the       times by Volkswagen or its agents AND the buyer
               time any problem(s) were first brought to the at-      or lessee has directly notified Volkswagen of the
               tention of Volkswagen or one of our dealers, and a     need for the repair of the nonconformity; OR
               statement of the relief you are seeking.               • The same nonconformity has been subject to
                                                                      repair 4 or more times by Volkswagen or its agents
               BBB AUTO LINE staff may try to help resolve your
                                                                      AND the buyer has notified Volkswagen of the
               dispute through mediation. If mediation is not
                                                                      need for the repair of the nonconformity; OR
               successful, or if you do not wish to participate in
               mediation, claims within the program's jurisdic-       • The vehicle is out of service by reason of the re-
               tion may be presented to an arbitrator at an in-       pair of non-conformities by Volkswagen or its
               formal hearing. The arbitrator's decision should       agents for a cumulative total of more than 30 cal-
               ordinarily be issued within 40 days from the time      endar days after delivery of the vehicle to the
               your complaint is fIled; there may be a delay of 7     buyer.
               days if you did not first contact Volkswagen about     NOTICE TO VOLKSWAGEN AS REQUIRED ABOVE
               your problem, or a delay of up to 30 days if the ar-   SHALL BE SENT TO THE FOLLOWING ADDRESS:
               bitrator requests an inspection/report by an im-
               partial technical expert or further investigation      Volkswagen Group of America, Inc.
               and report by BBB AUTO LINE.                           Customer CARE
                                                                      3499 West Hamlin Road


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                    Rochester Hills, MI 48309                              You may reject the decision issued bya BBB AUTO
                                                                           LINE arbitrator. If you reject the decision, you will
                    The following remedies may be sought in BBB
                                                                           be free to pursue further legal action. The arbi-
                    AUTO LINE: repairs, reimbursement for money
                                                                           trator's decision and any findings will be admis-
                    paid to repair a vehicle or other expenses incurred
                    as a result of a vehicle nonconformity, repurchase     sible in a court action.
                    or replacement of your vehicle, and compensation       !fyou accept the arbitrator's decision, Volkswagen
                    for damages and remedies available under Volk-         will be bound by the decision, and will comply
                    swagen's written warranty or applicable law.           with the decision within a reasonable time not to
                                                                           exceed 30 days after we receive notice of your ac-
                    The following remedies may not be sought in BBB
                    AUTO LINE: punitive or multiple damages, at-           ceptance ofthe decision.
                    torney fees, or consequential damages other than       Please call BBB AUTO LINE for futther details
                    as provided in California Civil Code Section 1794(a)   about the program. ~
                    and (b).




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                    Consumer Protection Information
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                Tire Manufacturers

                List of tire manufacturers for new Volkswagen vehicles
                The Magnuson-Moss Warranty Federal Trade               Continental General
                Commission Improvement Act of 1975 and regula-         1800 Continental Blvd.
                tions issued pursuant to the act require that a tire   Charlotte. NC 28273
                warranty pamphlet be placed in evety new vehicle       Tel.: 1 (800) 847-3349
                prior to sale.
                                                                       Michelin Tire Corp.
                To assist you in obtaining the related warranty in-    P.O. Box 19001
                formation. the following list of tire manufacturers    Greenville. SC 29602-9001
                and addresses is being provided.                       Tel.: 1 (800) 847-3435

                Tire Manufacturers                                     Pirelli Tires North America
                                                                       300 George Street. 5th Floor
                Dunlop TIre Corp.
                                                                       New Haven. CT 06511
                1144 East Market Street
                                                                       Tel.: 1 (800) 747-3554
                Akron. OH 44316
                Tel.: 1 (800) 548-4714                                 Uniroyal Goodrich Tire Co.
                                                                       P.O. Box 19001
                Bridgestone/Firestone Inc.
                                                                       Greenville. SC 29602-9001
                1 Bridgestone Park
                                                                       TeL: 1 (800) 521-9796
                Nashville. TN 37214
                Tel.: 1 (800) 356-4644                                 Hankook Tires Corporate Headquarters
                                                                       1450 Valley Road
                Goodyear rITe & Rubber Co.
                                                                       Wayne. 07470
                1144 East Market Street
                                                                       Tel.: 1 (877) 740-7000'"
                Akron. OH 44316
                Tel.: 1 (800) 321-2136




                Tire Manufacturers
                                                                                                        221 23
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                Maintenance

                Warranty voucher

                Present this voucher to an authorized dealer if
                warranty service is required.



                      The warranty period begins on the date the vehicle is
                      delivered to either the original purchaser of the orig-
                      inallessee; or if the vehicle is first placed in service as a
                      "demonstrator" or "company" car, on the date such
                      vehicle is first placed in service.



                                                                                          Stamp of authorized Volkswagen
                      Month               Day                  Year                                   Dealer
                         (to be fIlled in by authorized Volkswagen Dealer)




                I.




                 2.


                 3.


                 4.




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                            I          I           I
                              Vehicle Identification Label
                                                               I           I          I         !

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       x
                 1.           Vehicle Identification No. / Engine Code
                 2.           Type / Engine / Transmission



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                 3.
                 4.
                              Transmission Code / Paint No. / Interior / Engine / Engine Code
                              Optional Equipment



           .~




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               Odometer replacement and other dealer stamps



                                                             Air Conditioner
                                                      Warranty Registration Certificate
                                                        (except factory installation)

                                                      Attach here (for dealer use only)




                                               Federal Law requires that a label be aJfIXed
                                         to the left door frame when the replacement odometer
                                               does not indicate the actual vehicle mileage
                                                        after repair or replacement.

                                Genuine Volkswagen replacement odometers are supplied with a label




                  Odometer Replacement



                  Month         Day            Year
                  (to be filled in by authorized Volk-
                  swagen Dealer)




                                                                      Stamp of authorized Volkswagen Dealer
                                 At mileage


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      I

               Maintenance
                                                                                                          24   I   25
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               Service information
               Dealer service                                          Your technician will not check the above men-
               There are approximately 600 authorized Volk-            tioned items in each case during regular service
               swagen dealers in the United States. They have          and maintenance visits.
               Volkswagen trained technicians, proper workshop         Emission control maintenance
               equipment and parts to give you expert service.
                                                                           A clean environment is of concern to all of us.
               Volkswagen dealers are committed to qUality ser-            Volkswagen has built into your vehicle an effi-
               vice.                                                       cient emission control system, using genuine
               • Your authorized Volkswagen dealer offers                  Volkswagen parts, in conformance with the
               many services for your convenience, such as ex-             Federal Clean Air Act in the United States. To
               tended service hours, early bird service, body re-          help keep our air clean, you can do your part
               pairs, to name just a few. Ask about them.                  by having your vehicle's maintenance services
                                                                           and all repairs performed in a timely manner.
               • Arrange your service with your dealer when it is
               convenient for you.                                     2   Maintenance, repair or replacement of emis-
                                                                           sion control components may be performed
               • Ask your Service consultant about the service             by any qualified automotive service and re-
               you need and discuss the cost involved.
                                                                           pair establishment or individual without af-
               • Leave word where you can be reached during                fecting the Emission Control System War-
               the day and when you would like to pick your car            ranty, provided that such repairs are per-
               up.                                                         formed to manufacturer's specifications, and
               • Keep all receipts of maintenance and repairs              that replacement parts are at least equivalent
               performed. Your service record is important when            to genuine Volkswagen parts in emission per-
               making use of your warranty.                                formance and durability. Warranty repairs
               • Maintenance services performed by your au-                and replacements, however, must be per-
               thorized dealer at the intervals specified, will also       formed by an authorized Volkswagen dealer.
               be documented in this booklet.                          3   If other than genuine Volkswagen replace-
                                                                           ment parts are used, the owner should make
               • Automobile technology changes continuously.
                                                                           sure that such parts are warranted by their
               Your authorized Volkswagen dealer always has the
                                                                           manufacturer and that they are at least equiv-
               most current Service and Maintenance informa-
                                                                           alent to genuine Volkswagen replacement
               tion for your Volkswagen model. It is possible that
                                                                           parts in emission performance and durability.
               this information may differ from the check points
               listed in this booklet. Your Volkswagen Service         Why maintenance?
               consultant can answer any questions you may
                                                                       With proper maintenance and care, your Volk-
               have.
                                                                       swagen model will continue to provide you with a
               Do-it-yourself service                                  dependable and safe driving experience. This
                                                                       booklet contains Volkswagen's prescribed service
               Your Owner's Manual contains many helpful hints
                                                                       intervals as well as other important information
               on what you can service yourself.
                                                                       you need to know to care for your Volkswagen
               • You can check tires for wear or damage and            model properly. Adherence to the prescribed
               correct tire pressure, including the spare.             maintenance services and intervals is necessary
               • You can check the windshield washer con-              to protect your investment and help ensure op-
               tainer.                                                 timum performance. Failure to follow recom-
                                                                       mended maintenance services and intervals may
               • You can check your car's interior and exterior
               lighting system for correct functioning.                result in a denial of your warranty coverage.
                                                                       Please see the warranty section of this booklet for
               • You can check the engine oil level with every         further details.
               fuel filling.
                                                                       Your vehicle is designed to keep maintenance re-
               • You can perform these simple checks once a
                                                                       quirements to a minimum.
               week. They save time, trouble and expense later.
                                                                       Today's vehicles are precision engineered ma-
                                                                       chines. They are designed with people's safety in
                                                                       mind, and are equipped with emission control sys- •


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                                                                           r-----------------------------------------------------------------------------------.
 The "National Traffic & Motor
 Vehicle Safety Act of 1966" requires
                                                                                                                                                                       NO POSTAGE
 manufacturers to be in a position to                                                                                                                                  NECESSARY
 contact vehicle owners if a correction                                                                                                                                 IF MAILED
 of a safety-related defect or an                                                                                                                                         IN THE
 noncompliance with an applicable                                                                                                                                     UNITED STATES
 Federal motor vehicle safety standard
 becomes necessary.


 Please complete one of the attached
 postcards if you change your address
 or purchase a used Volkswagen.                                                     BUSINESS REPLY MAIL
                                                                                  FIRST-CLASS MAIL PERMIT NO. 107                  PONTIACMI
 You need not use this card if you
 purchased your car through an                                                    POSTAGE WILL BE PAID BY ADDRESSEE
 authorized Volkswagen dealer.
Quote       the  complete     Vehicle
Identification Number (VIN) of your
Volkswagen. Do not use an abbreviated                                            ATTN PRODUCT COMPLIANCE
number.                                                                          VOLKSWAGEN OF AMERICA INC
Locations of the Vehicle Identification                                          PO BOX 217022
Number (VIN) are illustrated and                                                 AUBURN HILLS MI 48321-9802
explained in the Owner's Manual.
Additional cards can be obtained from                                  X   I


any authorized Volkswagen dealer.                                          I
                                                                                                      1.11.11 •• 111.11 ••• 1111 •• 111.11.1 •• 1.11"'1.111 •• 11.1
               _ _ _ _ r __ "   • _ _.~"_~,_,.,.....,....,,...,......._,
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           NOTICE OF ADDRESS CHANGE/USED CAR PURCHASE


          I I I I I I I I I I I I I I                   I I
          Complete Vehicle Identification Number


                            I I            I I           I II                              IU
          Last Name                                           First Name                  Initial


             I .1            II                                               II 1 I I I I
          Numoer                  Street                                       Apt. No.

             11I111111111111111                                            IILU
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    Gl                                                                     Zip Code
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    C                        Please PRINT and give complete information
    (J)




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                                          r-----------------------------------------------------------------------------------.
The "National Traffic & Motor
Vehicle Safety Act of 1966" requires
                                                                                                                         NO POSTAGE
manufacturers to be in a position to
                                                                                                                         NECESSARY
contact vehicle owners if a correction                                                                                    IF MAILED
of a safety-related defect or an                                                                                            IN THE
noncompliance with an applicable                                                                                        UNITED STATES
Federal motor vehicle safety standard
becomes necessary.


Please complete one of the attached
postcards if you change your address
or purchase a used Volkswagen.                     BUSINESS REPLY MAIL
                                                 FIRST-CLASS MAIL PERMIT NO. 107            PONTIAC MI
You need not use this card if you
purchased your car through an                    POSTAGE WILL BE PAID BY ADDRESSEE
authorized Volkswagen dealer.
Quote       the  complete     Vehicle
Identification Number (VIN) of your
Volkswagen. Do not use an abbreviated           ATTN PRODUCT COMPLIANCE
number.                                         VOLKSWAGEN OF AMERICA INC
Locations of the Vehicle Identification         PO BOX 217022
Number (VIN) are illustrated and
explained in the Owner's Manual.
                                                AUBURN HILLS MI 48321-9802
Additional cards can be obtained from     X
                                          1


any authorized Volkswagen dealer.         1
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           NOTICE OF ADDRESS CHANGE/USED CAR PURCHASE


          I I
          Complete Vehicle Identification Number


          ~~~~~~~~~~II                                                                    IU
          Last Name                                         First Name                   Initial


             I I             II I I                                          IL--lL-.....L-.J~
          Numoer              Street                                          Apt. No.

                   II                              II                        ILU
          City                                                                 State
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    n
    I
                                                           I I I I I I -I I I
    G)                                                                    Zip Code
    ~
    c                        Please PRINT and give complete information
    '"
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              terns to help keep our air clean. However, a certain   The service intervals schedule is based on vehicles
              amount of regular maintenance is still necessary       operating under normal conditions. In the case of
              to help assure optimum performance and reli-           severe conditions, such as extremely low tempera-
              ability. A well-maintained vehicle conserves fuel,     tures and! or excessive dust, it is necessary for
              protects against unwanted emissions, and may           some services to be performed between the sched-
              prevent a major repair expense at a later date.        uled intervals. This applies particularly to engine
                                                                     oil changes and the cleaning or replacing of the air
              Follow the service intervals schedule and itemized
                                                                     cleaner filter element.
              list of services for each, and make fluid level and
              tire pressure checks between the scheduled inter-      Authorized Volkswagen dealers are ready to serve
              vals as recommended in your vehicle Owner's            you and are committed to quality service_ ~
              Manual.




              Maintenance
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             Volkswagen Carefree Maintenance Program

              Volkswagen Carefree Maintenance Program Coverage Period

             All Volkswagen scheduled Maintenances de-                 for 3 years or 36,000 miles, whichever occurs
             scribed in this booklet are covered with no charge        first. <II


              Additional Services

             The maintenance intervals in this booklet are             Additional services not specified in this booklet, or
             based on normal operating conditions. Under se-           services suggested by the dealer or performed at
             vere operating conditions, it may become neces-           the customer's request, are not covered under the
             sary to perform additional or more frequent main-         Volkswagen Carefree Maintenance Program. ~
             tenance operations.


              Where to go for the Volkswagen Carefree Maintenance Program Service

             Volkswagen Carefree Maintenance Program Ser-              nadian dealers can submit a claim. Proof of United
             vice can be honored by any authorized Volk-               States residence is required. If the Canadian dealer
             swagen dealer in the United States, including its         cannot submit your claim, you may be asked to
             territories.                                              pay for the repair. On your return to the United
                                                                       States, please present the invoice to your United
             The Volkswagen Carefree Maintenance Program
                                                                       States Volkswagen dealer, who will submit a claim
             Service, while traveling in Canada, should be per-
                                                                       on your behalf and obtain reimbursement for
             formed by an authorized Volkswagen dealer. If
                                                                       you.~
             your Volkswagen modelis within the United States
             Volkswagen Carefree Maintenance Program, Ca-


              Missed Maintenance Service

              Volkswagen recommends that the customer have             • Additional services not specified in the Mainte-
              Maintenance Services performed at the scheduled          nance Schedule, suggested by the dealer or per-
              time or mileage.                                         formed at the customer's request, are not covered
                                                                       under the Volkswagen Carefree Maintenance Pro-
              However, if a Maintenance Service is missed, it
              need not be "picked up" later. Rather, Volkswagen        gram.
              dealers should perform the most appropriate ser-         • Volkswagen will not reimburse owners for
              vice upon considering the vehicle's age and              Maintenance Services performed at independent
              mileage driven. Reimbursement for the missed             facilities. ~
              service will not be provided.


              When the Scheduled Maintenance Period Begins

              The scheduled maintenance period begins on the           placed in service. The Volkswagen Carefree Main-
              date the vehicle is delivered to either the original     tenance Program is automatically transferred
              purchaser or the original lessee: or if the vehicle is   without cost if the ownership of the vehicle
              first placed in service as a "demonstrator" or           changes within the coverage period. ~
              "company" car, on the date such vehicle is first




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              Service schedule

              Delivery inspection

              • Your authorized Volkswagen dealer will fill out       this information may differ from the check points
              the necessary information and stamp this booklet        listed in this booklet. Your Volkswagen Service
              to confirm that the necessary services have been        consultant can answer any questions you may
              performed.                                              have.
              • Automobile technology changes continuously.           • If you are not sure when to bring your car in for
              Your authorized Volkswagen dealer always has the        service, ask your authorized Volkswagen Service
              most current Service and Maintenance informa-           consultant.
              tion for your Volkswagen model. It is possible that

               Delivery Inspection
              Before your vehicle is delivered to you, it is inspected according to factory guidelines.
              The Delivery Inspection was performed on:
                                            Next Service:
               Date: ........................
               Miles: ...................


                                                                                       Today's date
                                   (whichever occurs first)                    and Volkswagen Dealer stamp


              Points to Review

              Points to review during every service.                  • Headlights, daytime running lights, curve
                                                                      lighting, and automatic headlights: Check adjust-
              • Battery: Check (and second battery if appli-
              cable)                                                  ment

              •   Coolant level and frost protection: Check           • Lighting: Front and rear lights, luggage com-
                                                                      partment lighting, tum signals, and hazard
              • Engine and engine compartment components:             warning lights: Check
              Check (from above) for leaks and damage
                                                                      • Visual inspection of windshield. Note damage
              • Engine and engine compartment components:             if necessary. <4
              Check (from below) for leaks and damage, check
              transmission, final drive, and drive shaft boots




              Maintenance
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               Service at 10,000 miles (Included in the Volkswagen Carefree Maintenance
               Program)

               Service at 10,000 miles or one year from vehicle             •   Service interval display: Reset
               in-service date, whichever occurs first.                     • Service sticker: Enter the date of the next ser-
               • Brake pads: Check thickness and brake disc                 vice on the service sticker and apply to the driver's
               condition (front and rear)                                   side door pillar
               •      Engine: Change oil and replace oil filter             • Tires: Rotate front to rear
               • Rear window: Check cleaning nozzle function-               • Windshield washer, headlight cleaning system,
               ality (if applicable)                                        and wiper blades: Check for damage and function,
                                                                            Check fluid level and add if necessary

                                                 Next Service:
                   Date: ....................... .
                   Miles: .................. .                          I


                                         whichever occurs first                 Today's date and Volkswagen Dealer stamp


               Service at 20,000 miles (Included in the Volkswagen Carefree Maintenance
               Program)
               Service at 20,000 miles or one year after last ser-          • Rear window: Check cleaning nozzle function-
               vice, whichever occurs first-                                ality (if applicable)
               • Battery: Check (and second battery if appli-               • Service interval display: Reset
               cable)                                                       • Service sticker: Enter the date of the next ser-
               • Brakes: Inspect brake system and shock ab-                 vice on the service sticker and apply to the driver's
               sorber for leaks and damage, check thickness of              side door pillar
               brake pads, brake disc condition and check brake             • Tires: Check tread depth, condition, wear pat-
               fluid level                                                  tern and pressure of all tires (including spare)
               •      Dust and pollen fIlter: Replace (if applicable)       • Tires: Rotate front to rear
               •      Engine: Change oil and replace oil filter             • Windshield washer, headlight cleaning system,
               •      Fuel filter: Replace (2.0L TDI only)                  and wiper blades: Check for damage and function,
                                                                            Check fluid level and add if necessary
               •      Fuel filter: Drain water (3.0L TDI only)

                                                 Next Service:
                   Date: ........................
                   Miles: ...................


                                        whichever occurs first                  Today's date and Volkswagen Dealer stamp




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               Service at 30,000 miles (Included in the Volkswagen Carefree Maintenance
               Program)

               Service at 30,000 miles or one year after last ser-       •   Service interval display: Reset
               vice, whichever occurs first.                             • Service sticker: Enter the date of the next ser-
               • Brake pads: Check thickness and brake disc              vice on the service sticker and apply to the driver's
               condition (front and rear)                                side door pillar
               • Engine: Change oil and replace oil filter               • Tires: Rotate front to rear
               • Rear window: Check cleaning nozzle function-            • Windshield washer. headlight cleaning system,
               ality (if applicable)                                     and wiper blades: Check for damage and function,
                                                                         Check fluid level and add if necessary

                                             Next Service:           I

                Date: ....................... .
                Miles: .....


                                      whichever occurs first         I       Today's date and Volkswagen Dealer stamp




               Maintenance                                                                                      30   I 31
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                Service at 40,000 miles
                Service at 40.000 miles or one year after last ser-        • Lighting: Front and rear lights, luggage com-
                vice. whichever occurs first.                              partment lighting. tum signals. and hazard
                                                                           waminglights: Check
                • Battery: Check (and second battery if appli-
                cable)                                                     •   Power steering: Check oil level (if applicable)
                •      Body: Visual inspection for corrosion               • Rearwindow: Check cleaning nozzle function-
                                                                           ality (if applicable)
                • Brakes: Inspect brake system and shock ab-
                sorber for leaks and damage. check thickness of            •   Ribbed V-belt: Check condition
                brake pads. brake disc condition and check brake           •   Service interval display: Reset
                fluid level                                                • Service sticker: Enter the date of the next ser-
                •      Coolant level and frost protection: Check           vice on the service sticker and apply to the driver's
                • Convertible roof. CSC roof. and Retractable              side door pillar
                hard top: Check for function and damage. clean             •   Spark plugs: Replace (2.5L and 2.0L MP! only)
                and lubricate seals (if applicable)
                                                                           • Sunroof and Panoramic sunroof: Check, clean,
                •      CV joints: Check for leaks and damage               and lubricate (if applicable)
                •      Door checks and mounting pins: Lubricate            • Sunroof: Open sunroof and check front water
                •      Dust and pollen filter: Replace (if applicable)     drains and clean if necessary (if applicable)
                •      Engine: Change oil and replace oil filter           • Test drive: Check braking. kick-down. steering,
                                                                           electrical, heating and ventilation systems, air
                • Engine and engine compartment components:
                Check (from above) for leaks and damage                    conditioning. and handling
                                                                           • Tie rod ends: Check for excessive play. check
                • Engine and engine compartment components:
                Check (from below) for leaks and damage. check             boots
                transmission. final drive. and drive shaft boots           • Tires: Check tread depth, condition. wear pat-
                                                                           tern, and pressure of all tires (including spare)
                • Exhaust system: Check for leaks. damage. and
                secure fittings                                            •   Tires: Rotate front to rear
                •      Fuel filter: Replace (2.0L TDI and 3.0L TDI only)   • Transmission: Automatic (non DSG): Change
                                                                           fluid (All2.5L, A112.0L MPI, 3.6L Touareg and 3.0L
                • Headlights, daytime running lights, curve
                                                                           TDI Touareg only)
                lighting. and automatic headlights: Check adjust-
                ment                                                       • Transmission: DSG (nonAutomatic): Change
                                                                           fluid and filter (if applicable)
                • Interior lighting and glove box lights. cigarette
                lighter/power outlets. hom. and all warning                •   Underbody sealant: Inspect for damage
                lamps: Check                                               • Windshield washer, headlight cleaning system,
                                                                           and wiper blades: Check for damage and function.
                                                                           Check fluid level and add if necessary

                                                 Next Service:
                    Date: ........................
                    Miles: ...................


                                         whichever occurs first                Today's date and Volkswagen Dealer stamp




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               Service at 50,000 miles

               Service at 50,000 miles or one year after last ser-             •   Service interval display: Reset
               vice, whichever occurs first.                                  • Service sticker: Enter the date of the next ser-
               • Brake pads: Check thickness and brake disc                   vice on the service sticker and apply to the driver's
               condition (front and rear)                                     side door pillar
               •      Engine: Change oil and replace oil filter                •   Tires: Rotate front to rear
               • Rear window: Check cleaning nozzle function-                  • Windshield washer, headlight cleaning system,
               ality (if applicable)                                           and wiper blades: Check for damage and function,
                                                                               Check fluid level and add if necessary

                                             Next Service:
                   Date: ,.""""" ... ".,, .. ,,
                   Miles:" .. "" .. "."""



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               L-__________                                                                                  __a~ge~n~D~e~al~e~r~s~tam==p~~~




               Maintenance                                                                                                32   I33
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                Service at 60,000 miles

               Service at 60,000 miles or one year after last ser-       • Rear window: Check cleaning nozzle function-
               vice, whichever occurs first-                             ality (if applicable)
               • Air filter element and snow filter: Replace and         • Service interval display: Reset
               clean housing (ifapplicable)                              • Service sticker: Enter the date ofthe next ser-
               • Battery: Check (and second battery if appli-            vice on the service sticker and apply to the driver's
               cable)                                                    side door pillar
               • Brakes: Inspect brake system and shock ab-              •   Spark plugs: Replace (2.0T and 3.6L only)
               sorber for leaks and damage, check thickness of           • Timing Belt: Check (2.0L MPI only)
               brake pads, brake disc condition and check brake          • Tires: Check tread depth, condition, wear pat-
               fluid level                                               tern, and pressure of all tires (including spare)
                • Dust and pollen filter: Replace (if applicable)        • Tires: Rotate front to rear
                •      Engine: Change oil and replace oil filter         • Windshield washer, headlight cleaning system,
                •      Fuel filter: Replace (2.0L TDI only)              and wiper blades: Check for damage and function,
                •      Fuel filter: Drain water (3.0L TDI only)          Check fluid level and add if necessary

                                                  Next Service:
                    Date: ....................... .
                    Miles: .................. .


                        whichever occurs first
               L-____________________________     Today's
                                               L-__       date and Volkswagen
                                                       __________             Dealer stamp
                                                                           ________
                                                                              ~                     ~                 ~~
                                                                                                                                 ...


                Service at 70,000 miles
               Service at 70,000 miles or one year after last ser-       • Service interval display: Reset
               vice, whichever occurs first.                             • Service sticker: Enter the date ofthe next ser-
                • Brake pads: Check thickness and brake disc             vice on the service sticker and apply to the driver's
                condition (front and rear)                               side door pillar
                •      Engine: Change oil and replace oil filter         • Tires: Rotate front to rear
                • Rear window: Check cleaning nozzle function-           • Windshield washer, headlight cleaning system,
                ality (if applicable)                                    and wiper blades: Check for damage and function,
                                                                         Check fluid level and add if necessary

                                                  Next Service:      I
                    Date: ....................... .
                    Miles: .................. .


                                          whichever occurs first             Today's date and Volkswagen Dealer stamp




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             Service at 80,000 miles
             Service at 80,000 miles or one year after last ser-      •   Power steering: Check oil level (if applicable)
             vice, whichever occurs first.                            • Rear window: Check cleaning nozzle function-
             • Battery: Check (and second battery if appli-           ality (if applicable)
             cable)                                                   •   Ribbed V-belt: Check condition
             • Body: Visual inspection for corrosion                  • Service interval display: Reset
             • Brakes: Inspect brake system and shock ab-             • Service sticker: Enter the date of the next ser-
             sorber for leaks and damage, check thickness of          vice on the service sticker and apply to the driver's
             brake pads, brake disc condition and check brake         side door pillar
             fluid level                                              •   Spark plugs: Replace (2.5L and 2.0L MPI only)
             • Convertible roof, CSC roof, and Retractable            • Sunroof and Panoramic sunroof: Check, clean,
             hard top: Check for function and damage, clean           and lubricate (if applicable)
             and lubricate seals (if applicable)
                                                                      • Sunroof: Open sunroof and check front water
             •      Coolant level and frost protection: Check         drains and clean if necessary (if applicable)
             •      CV joints: Check for leaks and damage             • Test drive: Check braking, kick-down, steering,
             •      Door checks and mounting pins: Lubricate          electrical, heating and ventilation systems, air
             •      Dust and pollen filter: Replace (if applicable)   conditioning, and handling
             • Engine: Change oil and replace oil filter              • Tie rod ends: Check for excessive play, check
                                                                      boots
             • Engine and engine compartment components:
             Check (from above) for leaks and damage                  • Timing Belt: Check (2.0L MPI only)
             • Engine and engine compartment components:              • Tires: Check tread depth, condition, wear pat-
             Check (from below) for leaks and damage, check           tern, and pressure of all tires (including spare)
             transmission, final drive, and drive shaft boots         •   Tires: Rotate front to rear
             • Exhaust system: Check for leaks, damage, and           • Transmission: Automatic (non DSG): Change
             secure fittings                                          fluid (All 2.5L, A112.0L MPI, 3.6L Touareg and 3.0L
             • Fuel filter: Replace (2.0L TDI and 3.0L TDI only)      TDI Touareg only)
             • Headlights, daytime running lights, curve              • Transmission: DSG (nonAutomatic): Change
             lighting, and automatic headlights: Check adjust-        fluid and filter (if applicable)
             ment                                                     •   Underbody sealant: Inspect for damage
             • Interior lighting and glove box lights, cigarette      • Windshield washer, headlight cleaning system,
             lighter/power outlets, horn, and all warning             and wiper blades: Check for damage and function,
             lamps: Check                                             Check fluid level and add if necessary
             • Lighting: Front and rear lights, luggage com-
             partment lighting, turn signals, and hazard
             warning lights: Check

                                               Next Service:
                 Date: ....................... .
                 Miles: .................. .


                                       whichever occurs first             Today's date and Volkswagen Dealer stamp




             Maintenance
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                Service at 90,000 miles
                Service at 90,000 miles or one year after last ser-          •   Service interval display: Reset
                vice, whichever occurs first.                                • Service sticker: Enter the date of the next ser-
                • Brake pads: Check thickness and brake disc                 vice on the service sticker and apply to the driver's
                condition (front and rear)                                   side door pillar
                •       Engine: Change oil and replace oil filter            • Tires: Rotate front to rear
                • Rear window: Check cleaning nozzle function-               • Windshield washer, headlight cleaning system,
                ality (if applicable)                                        and wiper blades: Check for damage and function,
                                                                             Check fluid level and add if necessary

                                                  Next Service:
                    Date: ....................... .
                    Miles: .................. .


                                          whichever occurs first         [       Today's date and Volkswagen Dealer stamp


                Service at 100,000 miles
                Service at 100,000 miles or one year after last ser-         • Rear window: Check cleaning nozzle function-
                vice, whichever occurs first.                                ality (if applicable)
                • Battery: Check (and second battery if appli-               • Service interval display: Reset
                cable)                                                       • Service sticker: Enter the date of the next ser-
                • Brakes: Inspect brake system and shock ab-                 vice on the service sticker and apply to the driver's
                sorber for leaks and damage, check thickness of              side door pillar
                brake pads, brake disc condition and check brake             •   Timing Belt: Check (2.0L MPI only)
                fluid level
                                                                             • Tires: Check tread depth, condition, wear pat-
                •      Dust and pollen filter: Replace (if applicable)       tern, and pressure of all tires (including spare)
                •      Engine: Change oil and replace oil filter             •   Tires: Rotate front to rear
                •      Fuel filter: Replace (2.0L TDI only)                  • Wmdshield washer, headlight cleaning system,
                •      Fuel filter: Drain water (3.0L TDI only)              and wiper blades: Check for damage and function,
                                                                             Check fluid level and add if necessary

                                                  Next Service:
                 Date: ....................... .
                    Miles: .................. .


                                          whichever occurs first                 Today's date and Volkswagen Dealer stamp




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                 Service at 110,000 miles

                 Service at 110,000 miles or one year after last ser-                        •   Service interval display: Reset
                 vice, whichever occurs first.                                              • Service sticker: Enter the date of the next ser-
                 • Brake pads: Check thickness and brake disc                               vice on the service sticker and apply to the driver's
                 condition (front and rear)                                                 side door pillar
                 •      Engine: Change oil and replace oil filter                            •   Tires: Rotate front to rear
                 • Rear window: Check cleaning nozzle function-                             • Windshield washer, headlight cleaning system,
                 ality (if applicable)                                                      and wiper blades: Check for damage and function,
                                                                                            Check fluid level and add if necessary

                                                   Next Service:
                     Date: ....................... .
                                                                                        l
                     Miles: ................. ..



                 L -__________             __h_ic_h_e_v_e_r_o_c_cu_r_s_fi_lr_s_t__________-L___~_o_d_a~y_'s__
                                           w                                                                             V_o_~_s_w_a~g~e_n_D_e_lli
                                                                                                            d_at_e_a_n_d__                               __p~~~
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                  Service at 120,000 miles

                  Service at 120,000 miles or one year after last ser-       • Interior lighting and glove box lights, cigarette
                  vice, whichever occurs first.                              lighter/power outlets. horn. and all warning
                                                                             lamps: Check
                  • Air filter element and snow filter: Replace and
                  clean housing (if applicable)                              • Lighting: Front and rear lights. luggage com·
                                                                             partment lighting. turn signals, and hazard
                  • Battery: Check (and second battery if appli-
                                                                             warning lights: Check
                  cable)
                                                                             •   Power steering: Check oil level (if applicable)
                  •      Body: Visual inspection for corrosion
                                                                             • Rear window: Check cleaning nozzle function-
                  • Brakes: Inspect brake system and shock ab-
                                                                             ality (if applicable)
                  sorber for leaks and damage, check thickness of
                  brake pads, brake disc condition and check brake           •   Ribbed V-belt: Check condition
                  fluid level                                                •   Service interval display: Reset
                  • Convertible roof, CSC roof, and Retractable              • Service sticker: Enter the date of the next ser-
                  hard top: Check for function and damage, clean             vice on the service sticker and apply to the driver's
                  and lubricate seals (if applicable)                        side door pillar
                  •      Coolant level and frost protection: Check           •   Spark plugs: Replace (All engines except TDI)
                  •      CV joints: Check for leaks and damage               • Sunroof and Panoramic sunroof: Check, clean,
                  • Diesel particulate filter: Only after 120,000            and lubricate (if applicable)
                  miles, Check ash loading according to manufac-             • Sunroof: Open sunroof and check front water
                  turer work procedure; Replace if necessary. NOTE:          drains and clean if necessary (if applicable)
                  If DPF replacement is not necessary, perform               • Test drive: Check braking, kick -down, steering,
                  check every 20,000 miles thereafter until replace-         electrical, heating and ventilation systems, air
                  ment becomes necessary. Subsequent DPF re-                 conditioning, and handling
                  placement interval is a minimum of 120.000 miles,
                  thereafter. (2.0L TDI and 3.0L TDI engine only)            • Tie rod ends: Check for excessive play, check
                                                                             boots
                  •      Door checks and mounting pins: Lubricate
                                                                             • Timing Belt: Check (2.0L MPI only)
                  •      Dust and pollen filter: Replace (if applicable)
                                                                             • Tires: Check tread depth, condition, wear pat-
                  •      Engine: Change oil and replace oil filter           tern, and pressure of all tires (including spare)
                  • Engine and engine compartment components:                • Tires: Rotate front to rear
                  Check (from above) for leaks and damage
                                                                             • Transmission: Automatic: Change fluid (All
                  • Engine and engine compartment components:                2.SL, All2.0L MPI, 3.6L Touareg and 3.0L TDI
                  Check (from below) for leaks and damage, check             Touareg only)
                  transmission, final drive, and drive shaft boots
                                                                             • Transmission: DSG: Change fluid and filter (if
                  • Exhaust system: Check for leaks, damage, and             applicable)
                  secure fittings
                                                                             • Underbody sealant: Inspect for damage
                  •      Fuel filter: Replace (2.0L TDI and 3.0L TDI only)
                                                                             • Windshield washer, headlight cleaning system,
                  • Headlights, daytime running lights, curve                and v.iper blades: Check for damage and function,
                  lighting, and automatic headlights: Check adjust-          Check fluid level and add if necessary
                  ment

                                                    Next Service:
                      Date: ...................... ..
                      Miles: .................. .


                                            whichever occurs first               Today's date and Volkswagen Dealer stamp




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                 Service at 130,000 miles

                 Service at 110,000 miles or one year after last ser-          • Service sticker: Enter the date of the next ser-
                 vice, whichever occurs first.                                 vice on the service sticker and apply to the driver's
                                                                               side door pillar
                 • Brake pads: Check thickness and brake disc
                 condition (front and rear)                                    •   Timing Belt: Replace (Z.OL TDI only)
                 •      Engine: Change oil and replace oil filter              •   Tires: Rotate front to rear
                 • Rear window: Check cleaning nozzle function-                • Windshield washer, headlight cleaning system,
                 ality (if applicable)                                         and wiper blades: Check for damage and function,
                                                                               Check fluid level and add if necessary
                 •      Service interval display: Reset

                                                   Next Service:           I
                     Date: ....................... .
                                                                           I
                     Miles: .................. .                           i
                                                                           i
                                           whichever occurs first          j       Taday's date and Volkswagen Dealer stamp



                 Additional service

                 Time-dependent maintenance items
                 Every 1 year:                                                 • Haldex clutch: Change oil First fluid replace-
                                                                               ment included under the Volkswagen Carefree
                 Perform visual check of airbag system.
                                                                               Maintenance Program if mileage is less than or
                 Every 2 years:                                                equal to 36,000 miles. (Tiguan 2.0T and CC 3.6L 4-
                 •      Dust and pollen filter: Replace (if applicable)        motion only).
                 •      Check latch for convertible roof (if applicable)       Every 4 years regardless of miles driven:
                 • Tire filler bottle in the tire mobility set: Check          • Tire filler bottle in the tire mobility set: Replace
                 (observe expiration date)                                     (observe expiration date)
                 Every 3 years, then every Z years regardless of               •   AdBlue®: Change fluid (3.0L TDI only)
                 miles driven:                                                 •   Spark plugs: Replace (Z.OL MPI only)
                 • Brake fluid: Replace. First fluid replacement               Every 6 years regardless of miles driven:
                 included under the Volkswagen Carefree Mainte-
                 nance Program if mileage is less than or equal to             • Spark plugs: Replace (All engines except Z.OL
                                                                               MPI and TDI.)
                 36,000 miles. (CC, Eos, Golf, GTI, Jetta models,
                 Tiguan, and Touareg).
                 Every 3 years:
                                                                               • Air filter element and snow filter: Replace and
                                                                               clean housing
                                                                               •   Tire pressure sensors: Replace (if applicable) <III
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                 Maintenance
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                Service at 5,000, 10,000, 15,000, 20,000, 25,000, 30,000, and
                35,000 miles for 3.0L TOI engine only (Included in the Volkswagen
                Carefree Maintenance Program if within 3 years of original in-
                service date)
                Service at every 5,000 miles and every 5,000 miles       • AdBlue® Fluid: Check and add if necessary
                thm 35,000 miles.                                        3.0L TDI engine only

                                              Next Service:          I
                Date: ....................... .
                Miles: .................. .


                                                                           roday's date and Volkswagen Dealer stamp


                                              Next Service:
                Date: ....................... .
                Miles: .................. .


                                                                     I     roday's date and Volkswagen Dealer stamp


                                              Next Service:
                Date: ....................... .
                Miles: .................. .


                                                                           roday's date and Volkswagen Dealer stamp


                                              Next Service:
                Date: ....................... .
                Miles: .................. .


                                                                           roday's date and Volkswagen Dealer stamp


                                              Next Service:
                Date: ....................... .
                Miles: .................. .


                                                                           roday's date and Volkswagen Dealer stamp    ~




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                                                 Next Service:
                   Date: ....................... .
                   Miles: .................. .


                                                                 Today's date and Volkswagen Dealer stamp


                                                 Next Service:
                   Date: ....................... .
                   Miles: .................. .


                                                                 Today's date and Volkswagen Dealer stamp   ..




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               Service at 40,000 miles and every 5,000 miles after for 3.0L TOI
               engine only:
               Service at 40,000 miles and every 5,000 miles                    •    AdBlue® Fluid: Check and add if necessary
               after.                                                           3.0L TDI engine only

               AdBlue® check


                An AdBlue® check was perfonned on: .......................................... .




                Mileage: ....................... .
                                                                                 I
                                                                                                      Today's date and
                                                                                                  Volkswagen Dealer stamp



                An AdBlue® check was perfonned on: .......................................... .




                Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                  Volkswagen Dealer stamp



                An AdBlue® check was perfonned on: ...........................................




                Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                  Volkswagen Dealer stamp



                An AdBlue® check was perfonned on: ......................................... ..




                Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                  Volkswagen Dealer stamp




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                 AdBlue® check


                 An AdBlue® check was perfonned on: .......................................... .




                 Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                   Volkswagen Dealer stamp



                 An AdBlue® check was perfonned on: .......................................... .




                 Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                   Volkswagen Dealer stamp



                 An AdBlue® check was perfonned on: ...........................................




                 Mileage: ....................... .
                                                                                  I
                                                                                                       Today's date and
                                                                                  I                Volkswagen Dealer stamp



                 An AdBlue® check was performed on: .......................................... .




                 Mileage: ....................... .

                                                                                                      Today's date and
                                                                                                   Volkswagen Dealer stamp




                 Maintenance
                                                                                                                         42   I
                                                                                                                              43
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               AdBlue® check


               An AdBlue® check was performed on: .......................................... .




               Mileage: ....................... .

                                                                                                     Today's date and
                                                                               I                 Volkswagen Dealer stamp



               An AdBlue® check was performed on: .......................................... .




               Mileage: ...................... ..

                                                                                                     Today's date and
                                                                                                 Volkswagen Dealer stamp



               An AdBlue® check was performed on: .......................................... .




               Mileage: ...................... ..

                                                                                                    Today's date and
                                                                                                 Volkswagen Dealer stamp



               An AdBlue® check was performed on: ...........................................




               Mileage: ...................... ..

                                                                                                    Today's date and
                                                                                                 Volkswagen Dealer stamp




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                AdBlue® check


                 An AdBlue® check was performed on: ......................................... ..




                 Mileage: ....................... .

                                                                                                      Today's date and
                                                                                  1
                                                                                                   Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ......................................... ..




                 Mileage: ...................... ..

                                                                                                      Today's date and
                                                                                                   Volkswagen Dealer stamp



                 An AdBlue® check was performed on: ...........................................




                 Mileage: ...................... ..

                                                                                                      Today's date and
                                                                                                   Volkswagen Dealer stamp



                 An AdBlue® check was performed on: .......................................... .




                 Mileage: ...................... ..                               I
                                                                                                       Today's date and
                                                                                                   Volkswagen Dealer stamp




                Maintenance
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                 AdBlue® check


                  An AdBlue® check was perfonned on: .......................................... .



                  Mileage: ....................... .

                                                                                                        Today's date and
                                                                                                    Volkswagen Dealer stamp



                  An AdBlue® check was performed on: .......................................... .




                  Mileage: ...................... ..

                                                                                                        Today's date and
                                                                                                    Volkswagen Dealer stamp



                  An AdBlue® check was perfonned on: .......................................... .




                  Mileage: ...................... ..

                                                                                   I                    Today's date and
                                                                                   I


                  An AdBlue® check was perfonned on: ...........................................
                                                                                                    Volkswagen Dealer stamp

                                                                                                                              !
                                                                                   I
                  Mileage: ....................... .

                                                                                                        Today's date and
                                                                                                    Volkswagen Dealer stamp




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                Brake fluid replacement

               Replacement record

               • The brake fluid must be replaced every 3 years                 Maintenance Program if mileage is less than or
               regardless of mileage, and every 2 years thereafter              equal to 36,000 miles. (CC, Eos, Golf, GTI, Jetta
               regardless of mileage driven. First fluid replace-               models, I1guan, and Touareg).
               ment included under the Volkswagen Carefree
                Brake Fluid Replacement Record


                A brake fluid replacement was performed on: ......................................... ..
                Next Brake Fluid Replacement:
                                                                                 I
                Date: ....................... .

                                                                                                   Today's date and
                                                                                                Volkswagen Dealer stamp



                A brake fluid replacement was performed on: .......................................... .
                Next Brake Fluid Replacement;


                Date: ....................... .

                                                                                                    Today's date and
                                                                                                Volkswagen Dealer stamp



                A brake fluid replacement was performed on: ...........................................
                Next Brake Fluid Replacement:


                Date: ........................
                                                                                                                                    I'
                                                                                                    Today's date and
                                                                                                Volkswagen Dealer stamp




                Maintenance                                                                                           46   I47
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               Brake Fluid Replacement Record


               A brake fluid replacement was performed on: .......................................... .
               Next Brake Fluid Replacement:


               Date: ....................... .

                                                                                                  Today's date and
                                                                                I              Volkswagen Dealer stamp



               A brake fluid replacement was performed on: ...........................................
               Next Brake Fluid Replacement:


               Date: ........................

                                                                                                  Today's date and
                                                                                               Volkswagen Dealer stamp



               A brake fluid replacement was performed on: ...........................................
               Next Brake Fluid Replacement:


               Date: ........................

                                                                                                  Today's date and
                                                                                               Volkswagen Dealer stamp




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                  Brake Fluid Replacement Record


                   A brake fluid replacement was performed on: .......................................... .
                   Next Brake Fluid Replacement:


                   Date: ....................... .

                                                                                                      Today's date and
                                                                                    I              Volkswagen Dealer stamp



                   A brake fluid replacement was performed on: ...........................................
                   Next Brake Fluid Replacement:


                   Date: ........................

                                                                                                       Today's date and
                                                                                                   Volkswagen Dealer stamp



                   A brake fluid replacement was performed on: .......................................... .
                   Next Brake Fluid Replacement:


                   Date: ....................... .

                                                                                    I
                                                                                    I                   Today's date and
                  L -_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _    ~  1 _ _ _ _ _ _ _Volkswagen
                                                                                                  ___     _ _Dealer
                                                                                                          ~  _ _ _ _stamp
                                                                                                                    __    ____
                                                                                                                           ~         ~   ~




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               Brake Fluid Replacement Record


                    A brake fluid replacement was performed on: .......................................... .
                    Next Brake Fluid Replacement:


                    Date: ....................... .

                                                                                                        Today's date and
                                                                                                    Volkswagen Dealer stamp



                    A brake fluid replacement was performed on: ......................................... ..
               I    Next Brake Fluid Replacement:
               II
                    Date: ....................... .

                                                                                                        Today's date and
                                                                                                    Volkswagen Dealer stamp



                    A brake fluid replacement was performed on: ...........................................
                    Next Brake Fluid Replacement:


                    Date: ....................... .
                                                                                     I
                                                                                     i
                                                                                     I                  Today's date and
               L -_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _         ~
                                                                                     j.  __________ Volkswagen
                                                                                                           ~_ _Dealer
                                                                                                                _ _ _ _stamp
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                 Airbag Replacement

                 The airbag system can be deployed only once.                              into the record by your authorized Volkswagen
                                                                                           Dealer.
                 After an airbag has inflated it must be replaced.
                 The proper replacement of airbags will be entered

                     Front Airbag                                                0        left                   0       right

                     Side Airbag                                                 left                            right

                                                                                 0        front                  0       front

                                                                                 0        rear                   0       rear

                     SIDEGUARD                                                   0        left                   0       right

                     Knee Airbag (where applicable)                               0       left                   0       right




                        Authorized Volkswagen Dealer Stamp


                     Module replaced:                                             Date:


                     Next Replacement:                                            Date:
                 L -_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _   ~   ~




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                 Maintenance                                                                                                                 50   151
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                   Front Airbag                            0       left    0       right

                   Side Airbag                             left            right

                                                           0       front   0       front

                                                           0       rear    0       rear

                   SIDEGUARD                               0       left    0       right

                   Knee Airbag (where applicable)          0       left    0       right




                      Authorized Volkswagen Dealer Stamp


                   Module replaced:                        Date:


                   Next Replacement:                       Date:




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                 Afterword
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                  ee, Eos, GTI, Golf, Tiguan, Touoreg
                  Print status: 30.03.2010
                  Ausgabe: englisch USA: 05.2010
                  I Art.-N •• : 111.5U3.WAR.23
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          EXHIBIT C
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                                                   USA Warranty and Maintenance
                                                  All models except Touareg
                                                  Model year 2012




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                                            Afterword
                                            Volkswagen AG WOftta ~atandy to ~ove al of           No reprint, reproduction, or translation ofthil   Ma~
                                            its product.. Due to ongoing vehide development,     u.a ill permitted, even in excerpts, >Mthout the ex-
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                                            weight., fuel consumption, standard&, and Po-
                                            tions of the vehldes is the information that was     Produced r. Germany,
                                            avalable •• of the ecfitori.. dudline. Some of the   ® 2011--AO
                                            equipment may not be avabble untilleter or may
                                            be r~ailable only in certain markets. Contact your   ,.:£'b Thil paper 'Na& made from chlorin.....ee,
                                            authorized Volkswagen dealer or authorized Volks-    5      bleached pulp.
                                            wagen Serviee Fadity for more infurm~~tion . Note-
                                            gal oblgations or commitments may be derived
                                            from the intorm~~tlon, llustrationa, and dK~tions
                                            in thla Manual.
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              Warranty

              Owner's information
              Dear Owner,                                              Group of America, Inc. ("Volkswagen") also offers
                                                                       you complimentary participation in the Volkswagen
              This booklet contains the limited warranties appli-
                                                                       Carefree Maintenance Program described in this
              cable to your new Volkswagen model. Please read
                                                                       booklet.
              these limited warranties carefully to determine your
              warranty rights and obligations.                         If you have a concern or you are not satisfied with
                                                                       the service that you receive from your dealer, we
              Your New Vehicle Limited Warranty Includes
                                                                       suggest that you discuss it with the Service Man-
              virtually bumper to bumper coverage for 3
                                                                       ager at your dealership. If it is not resolved through
              years or 36,000 miles, whichever occurs first
                                                                       your dealership, you may call or write to the Volks-
              and Powertrain Limited Warranty coverage for
                                                                       wagen Customer CARE Center.
              5 years or 60,000 miles, whichever occurs first
              Your vehicle has a Limited Warranty Against              In the event that your authorized Volkswagen deal-
              Corrosion Perforation for a period of 12 years           er or Volkswagen Customer CARE Representative
              without mileage limitation.                              has been unable to address the concern to your
                                                                       satisfaction, you may take advantage of BBB AU-
              In addition, your vehicle is covered by emissions
                                                                       TO LINE, a program administered through the
              control system limited warranties. If you are a resi-
                                                                       Council of Better Business Bureaus. The BBB AU-
              dent of the State of California, Connecticut, Maine,
                                                                       TO LINE program offers both mediation and arbi-
              Maryland, New Jersey, New York, Oregon, Rhode
                                                                       tration services for the resolution of disputes aris-
              Island, Vermont, Washington and the Common-
                                                                       ing while a vehicle is under warranty.
              wealths of Massachusetts and Pennsylvania and
              have purchased a California emissions equipped           Complete details of Volkswagen's Customer CARE
              vehicle, you may also have rights under California       programs begin on .
              mandated emissions warranties. Please consult
                                                                       •   Notice of Address Change
              these warranties whenever a repair to your emis-
              sion control system is required to determine wheth-      •   Notice of Used Car Purchase
              er it is covered by warranty. Your satisfaction in un-
                                                                       The "National Traffic & Motor Vehicle Safety Act of
              derstanding the limited warranties that apply to
                                                                       1966" requires manufacturers to be in a position to
              your Volkswagen model is important to us. Any
                                                                       contact vehicle owners if a correction of a safety-
              questions concerning warranty coverage should be
                                                                       related defect or a noncompliance with an applica-
              directed to:
                                                                       ble Federal motor vehicle safety standard be-
              Volkswagen Group of America, Inc.                        comes necessary. If you change your address or
              Customer CARE                                            buy a used Volkswagen model, complete one of
              3800 Hamlin Road                                         the postcards in the middle of this booklet. You
              Auburn Hills, Ml 48326                                   need not use this card if you purchased your
              Telephone: 1 (800) 822-8987                              Volkswagen through an authorized Volkswagen
                                                                       dealer.                                             <l
              Refer to the California Emissions Warranty
              Supplement for additional information on Cali-
              fornia Emissions Warranty coverage.
              In addition to and separate from the above com-
              prehensive warranty package, Volkswagen of
              America, Inc., an operating unit of Volkswagen




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                        New Vehicle Limited Warranty

                        What is covered
                        Warranty period                                                     24-Hour Roadside Assistance Services indude the
                        The New Vehide Limited Warranty period is 3                         following:
                        years or 36,000 miles, whichever occurs first.                      Towing for a mechanical breakdown or colli-
                        Any Implied warranty, Including any Implied                         sion
                        warranty of merchantability or warranty of fit-                     Battery jump start
                        ness for a particular purpose, is limited In dura-
                        tion to the period of this written warranty. Some                   Flat tire service
                        states do not allow limitations on how long an                      Lock-out service
                        Implied warranty lasts, so this limitation may
                                                                                            Fuel delivery service
                        not apply to you.
                                                                                            Trip Interruption benefits
                        You are required to use the BBB AUTO LINE
                        procedure before pursuing any legal remedy                          Refer to the 24-Hour Roadside Assistance Owner's
                        under 15 U.S.C. 2310(d) with respect to the New                     Guide for specific details on the services provided.
                        Vehicle Limited Warranty. You may also be re-
                        quired to use the BBB AUTO LINE procedure                           Where to go for warranty service
                        before pursuing legal remedies under your                           This limited warranty will be honored by any au-
                        state lemon law. Please refer to the Consumer                       thorized Volkswagen dealer in the United States,
                        Protection Information section of this booklet                      induding its territories.
                        for more Information.                                               If your Volkswagen model is brought to an author-
                        Coverage                                                            ized Volkswagen dealer outside the United States,
                                                                                            induding its territories, this limited warranty will not
                        This limited warranty covers any repair to correct a                apply. Defects in material or workmanship will be
                        manufacturer's defect in material or workmanship                    corrected under the terms of the limited warranty
                        except wheel alignment, tire balance, and there-                    for new Volkswagen vehides in effect in that coun-
                        pair or replacement of tires.                                       try (except Canada).
                        The repair or replacement of wear and tear items,                   Warranty repairs while traveling in Canada
                        which are defined as brake pads worn below man-
                        ufacturer specifications, brake discs wom below                     Warranty repairs while traveling in Canada should
                        manufacturer specifications, and light bulbs1l re-                  be performed by an authorized Volkswagen dealer.
                        placed for wear and tear. are covered up to one                     If your Volkswagen model is within the United
                        year or 12,000 miles, whichever occurs first. 'Mper                 States New Vehide Limited Warranty, Canadian
                        blades replaced for wear and tear are covered up                    dealers can submit a daim. Proof of United States
                        to 6 months or 6,000 miles, whichever occurs first.                 residence is required. If the Canadian dealer can-
                                                                                            not submit your daim, you may be asked to pay for
                        Original Equipment Battery                                          the repair. On your return to the United States,
                        Original equipment batteries are covered 100%                       please present the invoice to your United States
                        parts and labor for 2 years or 24,000 miles, which-                 Volkswagen dealer, who will submit a daim on
                        ever occurs first, for defects in material or work-                 your behalf and obtain reimbursement for you.
                        manship.
                                                                                            When the warranty period begins
                        Mechanical Adjustments
                                                                                            The warranty period begins on the date the vehide
                        Mechanical adjustments not associated with a de-                    is delivered to either the original purchaser or the
                        fect in material and workmanship, are covered up                    original lessee; or if the vehide is first placed in
                        to one year or 12,000 miles, whichever occurs first                 service as a "demonstrator" or "company• car, on
                        (i.e. headlight adjustment).                                        the date such vehide is first placed in service.     11>
                        24-Hour Roadside Assistance Services
             "'
             N
             a!
             ~
             "':::>"!   1)   Exdudes Halogen and Xenon headlight bulbs, which are covered for 3 years or 36,000 miles, whichever occurs first Headlight
             ~               bulbs damaged by outside influence are not covered.



                                                                                                                               Warranty          3
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         This New Vehicle Limited Warranty is automatically                You will be reimbursed if the repair wol1t was need-
         transferred without cost if the ownership of the ve-              ed and correctly performed and it was impossible
         hicle changes within the Warranty period.                         or unreasonable under the circumstances to tow or
                                                                           drive your Volkswagen model to the nearest au-
         Free-of-charge repair                                             thorized Volkswagen dealer.
         Repairs under this limited warranty are free of
                                                                           A statement of the circumstances that prevented
         charge. Your authorized Volkswagen dealer will re-
                                                                           you from getting to an authorized Volkswagen
         pair the defective part or replace it with a new or
                                                                           dealer, together with the paid receipts, repair or-
         remanufactured genuine Volkswagen part.
                                                                           ders, and replaced parts must be submitted to your
         Emergency repairs                                                 authorized Volkswagen dealer in order to be con-
                                                                           sidered for reimbursement.                          <l
         If an emergency repair was performed by a non-
         Volkswagen service facility, keep all receipts, repair
         orders, and parts removed from your Volkswagen
         model.



         What is not covered
         Tires                                                             • damage or malfunctions which are the result of
         Tires are not covered by this limited warranty, but               improper repair of the vehicle, installation of any
         are separately warranted by the tire manufacturer.                non Genuine Volkswagen parts that will alter the
         To assist you in obtaining related Warranty infor-                vehicle performance specifications from those set
         mation, a list of tire manufacturers and addresses                by the vehicle manufacturer, modifications to the
         is provided at the end of this booklet. Verify with               vehicle (including the engine management sys-
         the tire manufacturer what is covered under their                 tem), accessories including but not limited to alarm
         warranty.                                                         systems, remote starters, roof racks or communi-
                                                                           cations equipment, defects or failures resulting
         Maintenance services 1l and mechanical                            from the use of new parts not sold or approved by
         adjustments                                                       Volkswagen, or used parts, or the resultant dam-
                                                                           age to associated parts or systems; or
         This limited warranty does not cover the cost of
         parts and labor involved in any scheduled mainte-                 • non-Genuine Volkswagen parts (referred to as
         nance service.                                                    Aftermal1tet parts), crash parts repaired due to
                                                                           damage in a collision (referred to as Remanufac-
         This limited warranty does not cover the replace-                 tured collision parts), parts obtained from another
         ment of spal1t plugs, clutch discs, filters, oil, lubri-          used vehicle (referred to as Salvage parts), and
         cants, fluids, or air conditioner refrigerant charge,             any resultant damage to associated vehicle parts
         unless their replacement is a necessary part of                   or systems caused by the failure of the aforemen-
         warranty service on a covered component.                          tioned parts; or
         Mechanical adjustments not associated with a de-                  • damage or malfunctions which were caused by
         fect in material or wo11tmanship are not covered af-              the alteration of the vehicle, in particular any major
         ter the first year or 12,000 miles, whichever occurs              or structural alterations including but not limited to
         first (i.e. headlight adjustment). This limited war-              the conversion of the vehicle to a convertible or the
         ranty does not cover wheel alignment or tire bal-                 modification of the roof to accommodate a glass
         ancing.                                                           roof structure or other similar structural alterations;
                                                                           or
         Damage or malfunctions due to misuse,
         negligence, alteration, accident or fire                          • damage or malfunctions caused by using con-
                                                                           taminated or improper fuel, intentional or uninten-
         This limited warranty does not cover:                             tional misfueling; or
                                                                           • damage or malfunctions caused by collision or
                                                                           modifications of the vehicle, including but not limit-
                                                                           ed to the installation of engine management com-
                                                                           ponents not approved by Volkswagen; or                 11>


         1)   Some specific maintenance services are covered by the Volkswagen Carefree Maintenance Program. Please consutt the
              Volkswagen Carefree Maintenance Program guidelines in the maintenance section of this booklet



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              • damage or malfunctions resulting from the use                       If the speedometer unit is replaced , a "Speedome-
              of the vehicle in competitive events or caused by                     ter Replacement Record" must be filled out by an
              accident or fire; or                                                  authorized Volkswagen dealer.
              • damage or malfunctions resulting from contin-
                                                                                    Other expenses
              ued operation of the vehicle after a warning light,
              gauge reading or other warnings indicate a me-                        This limited warranty does not cover any inci-
              chanical or operational problem; or                                   dental or consequential damage, including loss
                                                                                    of value of the vehicle, lost profits or earnings,
              • damage or malfunctions due to suspension
                                                                                    and out-of-pocket expenses for substitute
              modifications, including but not limited to the instal-
                                                                                    transportation or lodging 1 l.
              lation of aftermarket springs, shock absorbers, or
              lowering kits.                                                        This limited warranty gives you specific legal rights
                                                                                    and you may also have other rights , which vary
              This limited warranty does not cover vehicles se-                     from state to state.
              verely damaged or declared to be a total loss by
              an insurer or vehides substantially re-assembled                      Other terms
              from or repaired with parts obtained from another                     This New Vehicle Limited warranty is issued by
              used vehicle (referred to as Salvage parts).                          Volkswagen. This limited warranty does not apply
                                                                                    to Volkswagen vehicles or parts and accessories
              Damage or malfunctions due to lack of
                                                                                    not imported or distributed by Volkswagen.
              maintenance
              This limited warranty does not cover damage or                        This warranty, the Limited Warranty Against
              malfunctions due to failure to follow recommended                     Corrosion Perforation, the Powertrain Limited
              maintenance and use requirements as set forth in                      Warranty and the Emissions Warranties are the
              the Volkswagen Owner's Manual and the Mainte-                         only express warranties made in connection
              nance section of this booklet.                                        with the sale of this Volkswagen model. Any
                                                                                    implied warranty, including any warranty of
              Your dealer will deny warranty coverage unless                        merchantability or warranty of fitness for a par-
              you present to the dealer proof in the form of Serv-                  ticular purpose, is limited in duration to the
              ice or Repair Orders that all scheduled mainte-                       stated period of these written warranties.
              nance was performed in a timely manner.
                                                                                    Some states do not allow limitations on how long
              Damage caused by the environment                                      an implied warranty lasts, so, the above limitation
              This limited warranty does not cover damage                           may not apply to you.
              caused by airborne industrial pollutants (e.g. acid                   Volkswagen reserves the right to make improve-
              rain), bird droppings, stones, floodwater, wind-                      ments or change the design of any Volkswagen
              storms, tree sap or other similar occurrences.                        model at any time with no obligation to make simi-
                                                                                    lar changes on vehicles previously sold.
              Glass
              This limited warranty does not cover glass break-                     Neither Volkswagen nor the manufacturer as-
              age, unless due to a defect in manufacturer's ma-                     sumes, or authorizes any person to assume,
              terial or workmanship.                                                any other obligation or liability on its behalf.                   <
              Odometer tampering
              These limited warranties do not cover repairs on a
              Volkswagen model on which the odometer has
              been altered or on which the actual mileage cannot
              readily be determined.




              1l Some states do not allow the exclusion or limitation of incidental or consequential damage, so this limitation or exclusion may not
                 apply to you. This warranty gives you specific legal rights and you m ay also have other rights, which vary from state to state.



                                                                                                                         Warranty           5
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          Powertrain Limited Warranty

         What is covered
         Warranty period                                          If your Volkswagen model is brought to an author-
         The coverage under this warranty lasts for 5 years       ized Volkswagen dealer outside the United States,
         or 60,000 miles whichever occurs first, from the         including its territories, this warranty will not apply.
         date the vehicle was first placed in service.            Defects in material or workmanship will be correct-
                                                                  ed under the terms of the limited warranty for new
         This limited warranty does not apply to vehi-            Volkswagen vehicles in effect in that country (ex-
         cles used for commercial purposes including              cept Canada).
         but not limited to taxi, courier or delivery serv-
         ice, or limousine.                                       Warranty repairs while traveling in Canada

         If a commercial vehicle is sold to a subsequent          Warranty repairs while traveling in Canada should
         retail owner, this warranty still does not apply.        be performed by an authorized Volkswagen dealer.
                                                                  If your Volkswagen model is within the United
         Any implied warranty, including any implied              States Powertrain Limited Warranty, Canadian
         warranty of merchantability or warranty of fit-          dealers can submit a warranty claim. Proof of Unit-
         ness for a particular purpose, is limited in dura-       ed States residence is required . If the Canadian
         tion to the period of this written warranty. Some        dealer cannot submit your warranty claim, you may
         states do not allow limitations on how long an           be asked to pay for the repair. On your return to
         implied warranty lasts, so this limitation may           the United States, please present the invoice to
         not apply to you.                                        your United States Volkswagen dealer, who will
                                                                  submit a claim on your behalf and obtain reim-
         Coverage
                                                                  bursement for you.
         The Powertrain Limited Warranty covers any repair
         to correct a manufacturer's defect in material or        When the warranty period begins
         workmanship for the following Volkswagen parts           The warranty period begins on the date the vehicle
         and components:                                          is delivered to either the original purchaser or the
         Engine: Cylinder block and all internal parts, cyl-      original lessee; or if the vehicle is first placed in
               inder head and all internal parts, valve train,    service as a "demonstrator'' or "company" car, on
               spur belt, flywheel, oil pump, water pump,         the date such vehicle is first placed in service.
               manifolds, all related seals and gaskets.          The Powertrain Limited Warranty is automatically
         Transmission: Case and all internal parts, torque        transferred without cost if the ownership of the ve-
               converter, all related seals and gaskets.          hicle changes within the Warranty period.
         Drivetrain: Differential and all internal parts, drive
                                                                  Free-of-charge repair
               shafts and constant velocity (CV) joints.
                                                                  Repairs under this warranty are made free of
         Where to go for warranty service                         charge. Your authorized Volkswagen dealer will re-
         This limited warranty will be honored by any au-         pair the defective part or replace it with a new or
         thorized Volkswagen dealer in the United States,         remanufactured genuine Volkswagen part.             <l
         including its territories.




               6      USA Warranty    ,,n<l Maintenance
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             What is not covered
             Maintenance services                                                 • damage or malfunctions resulting from the use
             This limited warranty does not cover the cost of                     of the vehicle in competitive events or caused by
             parts and labor involved in any scheduled mainte-                    accident or fire; or
             nance service. Scheduled maintenance services                        • damage or malfunctions resulting from contin-
             are described in the maintenance section of this                     ued operation of the vehicle after a waming light,
             booklet. Also see the Volkswagen Carefree Main-                      gauge reading or other wamings indicate a me-
             tenance Program outlined in the maintenance sec-                     chanical or operational problem; or
             tion of this booklet.                                                • damage or malfunctions due to suspension
             This limited warranty does not cover the replace-                    modifications, including but not limited to the instal-
             ment of filters, oil, lubricants or fluids unless their              lation of aftermarket springs, shock absorbers, or
             replacement is a necessary part of warranty serv-                    lowering kits.
             ice on a covered component.                                          This warranty does not cover vehicles severely
             Damage or malfunctions due to misuse,                                damaged or declared to be a total loss by an insur-
             negligence, alteration, accident or fire                             er or vehicles substantially re-assembled from or
                                                                                  repaired with parts obtained from another used ve-
             This limited warranty does not cover:                                hicle (referred to as Salvage parts).
             • damage or malfunctions which are the result of
                                                                                  Wear and tear items
             improper repair of the vehicle, installation of any
             non Genuine Volkswagen parts that will alter the                     This limited warranty does not cover the replace-
             vehicle performance specifications from those set                    ment of any powertrain components that wear as a
             by the vehicle manufacturer, modifications to the                    result of normal use or deterioration.
             vehicle (including the engine management sys-
                                                                                  Damage or malfunctions due to lack of
             tem), accessories including but not limited to alarm
                                                                                  maintenance
             systems, remote starters, roof racks or communi-
             cations equipment, defects or failures resulting                     This limited warranty does not cover damage or
             from the use of new parts not sold or approved by                    malfunctions which are due to failure to follow rec-
             Volkswagen, or used parts, or the resultant dam-                     ommended maintenance requirements as set forth
             age to associated parts or systems; or                               in the Volkswagen Owner's Manual and the main-
                                                                                  tenance section of this booklet. Your dealer will de-
             • non-Genuine Volkswagen parts (referred to as
                                                                                  ny warranty coverage unless you present to the
             Aftermarket parts), crash parts repaired due to
                                                                                  dealer proof in the form of service or repair orders
             damage in a collision (referred to as Remanufac-
                                                                                  that all scheduled maintenance was performed in a
             tured collision parts), parts obtained from another
                                                                                  timely manner.
             used vehicle (referred to as Salvage parts), and
             any resultant damage to associated vehicle parts                     Damage caused by the environment
             or systems caused by the failure of the aforemen-
                                                                                  This limited warranty does not cover damage
             tioned parts; or
                                                                                  caused by airborne industrial pollutants (e.g. acid
             • damage or malfunctions which were caused by                        rain), bird droppings, tree sap, stones, flood water,
             the alteration of the vehicle, in particular any major               windstorm or other similar occurrences.
             or structural alterations including but not limited to
             the conversion of the vehicle to a convertible or the                Other expenses
             modification of the roof to accommodate a glass                      This limited warranty does not cover any Inci-
             roof structure or other similar structural alterations;              dental or consequential damage, Including loss
             or                                                                   of value of the vehicle, lost profits or earnings,
             • damage or malfunctions caused by using con-                        or out-of-pocket expenses for substitute trans-
             taminated or improper fuel, intentional or uninten-                  portation or lodging1l.
             tional misfueling; or                                                The "Other Terms" presented In the New Vehicle
             • damage or malfunctions caused by collision or                      Limited Warranty also apply to this warranty.                      ~
             modifications of the vehicle, including but not limit-
             ed to the installation of engine management com-
             ponents not approved by Volkswagen; or


             1> Some states do not allow the exclusion or lim~ation of incidental or consequential damage, so this limitation or exclusion may not
                apply to you.



                                                                                                                       Warranty           7
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         Limited Warranty Against Corrosion Perforation

         What is covered
         Warranty period                                            States Limited Warranty Against Corrosion Perfo-
         The coverage under this limited warranty lasts for         ration, Canadian dealers can submit a warranty
         12 years without mileage limitation.                       daim. Proof of United States residence is required.
                                                                    If the Canadian dealer cannot submit your warran-
         Any implied warranty, including any implied                ty daim, you may be asked to pay for the repair.
         warranty of merchantability or warranty of fit·            On your return to the United States, please present
         ness for a particular purpose, is limited In dura-         the invoice to your United States Volkswagen deal-
         tion to the period of this written warranty. Some          er, who will submit a daim on your behalf and ob-
         states do not allow limitations on how long an             tain reimbursement for you.
         Implied warranty lasts, so this limitation may
         not apply to you.                                          When the warranty period begins
         Neither Volkswagen nor the manufacturer as-                The limited warranty period begins on the date the
         sumes, or authorizes any person to assume,                 vehide is delivered to either the original purchaser
         any other obligation or liability on its behalf.           or the original lessee; or if the vehide is first placed
                                                                    in service as a "demonstrator" or "company" car,
         Coverage                                                   on the date such vehide is first placed in service.
         This limited warranty covers any repair or replace-        This Limited Warranty Against Corrosion Perfora-
         ment of body sheet metal panels that have been             tion is automatically transferred without cost if the
         perforated by rust from the inside out.                    ownership of the vehide changes within the war-
         Where to go for warranty service                           ranty period.
         This limited warranty will be honored by any au-           Free-of-charge repair
         thorized Volkswagen dealer in the United States,           Repairs under this limited warranty are made free
         induding its territories.                                  of charge. An authorized Volkswagen dealer will
         If your Volkswagen model is brought to an author-          repair the defective part or replace it with a new or
         ized Volkswagen dealer outside the United States,          remanufactured genuine Volkswagen part.
         induding its territories, this limited warranty will not
         apply. Defects in material or workmanship will be
                                                                    m    Your Volkswagen model is corrosion protect-
         corrected under the terms of the warranty for new
                                                                    l!.J ed at the factory. You do not need to pur-
                                                                    chase rustproofing when you buy your Volkswagen
         Volkswagen vehides in effect in that country (ex-
                                                                    model in order to keep this warranty in effect.  <l
         cept Canada).
         Warranty repairs while traveling in Canada
         Warranty repairs while traveling in Canada should
         be performed by an authorized Volkswagen dealer.
         If your Volkswagen model is within the United




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              What is not covered
              Surface corrosion without perforation                    It does not cover corrosion perforation resulting
              Repairs are covered under this limited warranty          from the use of any inferior rustproofing agent or
              only if there is a rust-through condition in the body    method.
              sheet metal not caused by outside influences.            Your authorized Volkswagen dealership will do its
                                                                       best to match your vehicles original finish, but this
              Perforation of sheet metal due to accident,
                                                                       limited warranty does not cover the cost of painting
              lack of care, or failure to repair or                    the entire vehicle solely for paint matching.
              modifications to the paint/painted surface
              This limited warranty does not cover corrosion per-      Environmental damage
              foration resulting from the failure to promptly repair   This limited warranty does not cover damage
              paint damage, damaged undercoating, or surface           caused by airborne industrial pollutants (e.g. acid
              corrosion.                                               rain), bird droppings, stones, flood water, wind
              It does not cover damage due to failure to wash or       storms, tree sap or other similar occurrences.
              otherwise regularly care for the vehicle as descri-      Corrosion perforation because of failure to
              bed in the Volkswagen Owner's Manual.                    rustproof when collision damage is repaired
              This limited warranty does not cover corrosion per-      Body parts that have been repaired or newly instal-
              foration resulting from unrepaired collision damage      led after a collision must be treated with a rust-
              or improper collision repair.                            proofing agent that is compatible with Volkswa-
                                                                       gen's own factory corrosion protection. If you fail to
              Special exclusion for any aluminum
                                                                       have your vehicle treated in this way after a colli-
              portions that may be part of your                        sion, Volkswagen will not be responsible for the re-
              Volkswagen vehicle                                       pair of any resulting rust-through.
              This limited warranty does not cover corrosion per-
              foration due to failure to perform body repairs in       r.:l   The "Other Terms" presented in the New Ve-
              accordance with Volkswagen's specified repair pro-       l!.J   hide Limited Warranty also apply to this war-
              cedures, including use of non-aluminum alloy             m~~                                                      ~
              parts.




                                                                                                      Warranty        9
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         Federal Emissions Warranties

         General
         The Emissions Warranties set out on the following         sion Vehide (PZEV) emission requirements, as
         pages are warranties which the manufacturer is re-        identified on the Vehide Emission Control Informa-
         quired by law to furnish to you at the time you take      tion Label located under the hood. Therefore, the
         delivery of your new vehide. These coverages              owner of a Volkswagen model equipped to meet
         may also be induded in the Volkswagen 3 years I           California's PZEV emissions requirements and im-
         36,000 miles New Vehide Limited Warranty.                 ported and distributed by Volkswagen for sale and
                                                                   registration in New Yof'1( may have warranty rights
         The warranties required by federal laws apply to all
                                                                   under both Federal and state mandated emissions
         new Volkswagen vehides imported and distributed
                                                                   warranties.
         by Volkswagen of America, Inc., an operating unit
         of Volkswagen Group of America, Inc. ("Volkswa-           Please read these warranties carefully. If you have
         gen") for sale in the United States, induding its ter-    any questions concerning the applicability of each
         ritories. The warranties required by the State of         warranty to your vehide or want to know whether a
         California law apply to all new Volkswagen vehi-          particular repair will be performed free of charge
         des imported and distributed by Volkswagen for            pursuant to these warranties, please write to or tel-
         sale and registration in the State of California,         ephone:
         Connecticut, Maine, Maryland, New Jersey, Ore-
                                                                   Volkswagen Group of America, Inc.
         gon, Rhode Island, Vermont, Washington and the
                                                                   Customer CARE
         Commonwealths of Massachusetts and Pennsyl-
                                                                   3800 Hamlin Road
         vania. Therefore, the owner of an above men-
                                                                   Auburn Hills, Ml 48326
         tioned vehide may have warranty rights under both
                                                                   Tel.: 1 (800) 822-8987
         Federal and State mandated emissions warranties.
         The State of New Yof'1( has adopted emissions             Refer to the California Emissions Warranty
         warranty requirements identical to California man-        Supplement for additional Information on Cali-
         dated emissions warranties ONLY for vehides               fornia Emissions Warranty coverage.            <l
         equipped to meet California's Partial Zero Emis-



          Federal Emissions Control System Defect Warranty

         For 2 years or 24,000 miles
         Volkswagen of America, Inc., an operating unit of         A warranted part is any part installed on a motor
         Volkswagen Group of America, Inc. ("Volkswa-              vehide or motor vehide engine by the vehide or
         gen"), the authorized United States importer of           engine manufacturer, or installed in a warranty re-
         Volkswagen vehides, warrants to the original retail       pair, which affects any regulated emission from a
         purchaser or original lessee and any subsequent           motor vehide or engine which is subject to EPA
         purchaser or lessee that every model year 2012            emission standards. The following parts or sys-
         Volkswagen vehide imported by Volkswagen:                 tems listed, if defective, could cause the vehide to
                                                                   fail to conform with EPA regulations:
         • was designed, built and equipped so as to con-
         form at the time of sale with all applicable regula-      • Evaporative Emission Control System: indud-
         tions of the United States Environmental Protection       ing fuel tank, filler cap, filler neck and leak detec-
         Agency (EPA), and                                         tion pump
         • is free from defects in material and wof'1(man-         • Exhaust System: induding manifolds, turbo-
         ship which causes the vehide to fail to conform           chargers, catalytic converters, down pipes and par-
         with EPA regulations for 2 years after the date of        ticulate filter
         first use or delivery of the vehide to the original re-   •   EGR System: induding valves, pipes and cool-
         tail purchaser or original lessee or until the vehide     ~                                                        ~
         has been driven 24,000 miles, whichever occurs
         first.



              10       USA Warranty and Maintenance
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              • Fuel Injection System: including control mod-         The obligation of Volkswagen under this warranty
              ules, sensors, switches, valves and fuel lines          is limited, however, to the following: If within this
              • Intake System: including camshaft adjuster            period a defect in material or wor1<manship causes
              units, sensors, manifold, pipes and control valves      the vehicle to fail to conform with EPA regulations
                                                                      and the vehicle is brought to the wor1<shop of any
              •   Ignition System: including coils and sensors
                                                                      authorized Volkswagen dealer in the United States,
              • OBD System: including Malfunction Indicator           including its territories the dealer will make repairs
              Lamp (MIL) and Data Link Connector                      as may be required by these regulations free of
              • PCV System: including control valves and              ~a~e.                                                    <
              pipes
              • Secondary Air Injection System: including air
              pump and control valves
              • Emission-related hoses, gaskets, clamps and
              other accessories used with the above compo-
              nents



              For 8 years or 80,000 miles
              If the vehicle has been in use for more than 24         •   Catalytic Converter and Particulate Filter
              months or 24,000 miles, but less than 8 years or        •   Engine Electronic Control Module
              80,000 miles, whichever occurs first, your Volkswa-
              gen dealer will repair or replace free-of-charge the    •   On Board Diagnostic Device (OBD)
              following major emission control components only:



              Federal Emissions Performance Warranty

              For 2 years or 24,000 miles and 8 years or 80,000 miles
              Volkswagen of America, Inc., an operating unit of       fails an Inspection and Maintenance test or inspec-
              Volkswagen Group of America, Inc. ("Volkswa-            tion resulting from a malfunction of a catalytic con-
              gen"), warrants to the original retail purchaser or     verter, particulate filter, engine electronic control
              original lessee of a model year 2012 Volkswagen         module or on-board diagnostic device (OBD), and
              vehicle and any subsequent purchaser or lessee of       • the failure of the Inspection and Maintenance
              the vehicle that if the following conditions are met,   test of inspection requires the vehicle owner to
              any authorized Volkswagen dealer in the United          bear any penalty or other sanction, including the
              States, including its territories, will remedy any      denial of the right to use the vehicle under local,
              nonconformity, as determined below, free of             state or federal law, and
              charge, under the following conditions:
                                                                      • the vehicle has been maintained and operated
              • the vehicle fails to conform at any time during       in accordance with Volkswagen's instructions for
              24 months or 24,000 miles, whichever occurs first,      proper maintenance and use.                              <
              to applicable emission inspection standards as de-
              termined by an EPA Approved State Inspection
              and Maintenance test or inspection, or
              • if the vehicle has been in use for more than 24
              months or 24,000 miles, but less than 8 years or
              80,000 miles, whichever occurs first, the vehicle




                                                                               Federal Emissions Warranties            11
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          Performance Warranty claim approval
         You may raise a claim under this warranty immedi-        structions for scheduled maintenance and proper
         ately after your vehicle has failed an Inspection        use, Volkswagen may require you to furnish proof
         and Maintenance test or inspection if, as a result of    of compliance only with those maintenance instruc-
         that failure, you are required by law to repair the      tions which Volkswagen has reason to believe
         vehicle to avoid imposition of a penalty or cancella-    were not performed and which could be the cause
         tion of your right to use the vehicle. You need not      of the Inspection and Maintenance test or inspec-
         actually suffer the loss or lose the right to use your   tion failure .
         vehicle or pay for the repair before presenting your
                                                                  Volkswagen may deny an emission performance
         claim.
                                                                  warranty claim on the basis that a replacement
         Claims may be presented only by bringing your ve-        part not certified by the EPA was used in the main-
         hicle to any authorized Volkswagen dealer in the         tenance or repair of the vehicle if Volkswagen can
         United States, including its territories. The dealer     prove that the non-certified part is either defective
         will honor or deny your claim within a reasonable        in materials or workmanship, or not equivalent
         time, not to exceed thirty (30) days, from the time      from an emission standpoint to the original part,
         at which your vehicle is presented for repair or         and you are not able to offer information that the
         within any time period specified by local, state or      part is either not defective or equivalent to the orig-
         Federal law, whichever is shorter, except when a         inal part with respect to its emission performance.
         delay is caused by events not attributable to Volks-
                                                                  Volkswagen will not deny a claim relating to
         wagen or the dealer. If the dealer denies your
         claim, you will be notified in writing of the reasons    • warranty work or pre-delivery service per-
         for rejecting the claim. If you do not receive notice    formed by an authorized Volkswagen dealer, or
         of denial of your claim within the above time peri-      • work performed in an emergency to rectify an
         od, Volkswagen is required by law to honor the           unsafe condition attributable to Volkswagen , pro-
         claim.                                                   vided you have taken steps in a timely manner to
         Under certain circumstances, your claim may be           put the vehicle back into a conforming condition, or
         denied because you have failed to comply with in-        • the use of an uncertified part or to noncompli-
         structions for scheduled maintenance contained in        ance with the instructions for proper maintenance
         your Volkswagen Maintenance booklet. In deter-           and use, which is not related to the Inspection and
         mining whether you have complied with the in-            Maintenance test or inspection failure              <l




              12      USA Warranty and M<1intenance
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             Additional Information About Your Federal Emissions
             Warranties
             Warranty period                                            EPA certified replacement parts
             The warranty period begins on the date the vehicle         Maintenance, repair, or replacement of emission
             is delivered to the original retail purchaser or origi-    control devices and systems may be performed by
             nal lessee, and any subsequent purchaser or les-           any automotive service and repair establishment or
             see or, if the vehicle is first placed in service as a     qualified individual using Environmental Protection
             demonstrator or company demonstrator or compa-             Agency ("EPA") certified replacement parts.
             ny car prior to delivery, on the date it is first placed
             in service.                                                Maintenance and repairs performed by
                                                                        independent service shops
             Proper maintenance and use                                 Without invalidating these warranties, you may
             Instructions for proper maintenance are contained          choose to have maintenance, repair or replace-
             in the maintenance section of this booklet. Time           ment of emission control components performed
             and mileage intervals, at which maintenance is to          by any automotive service establishment or individ-
             be performed, may vary from model to model.                ual qualified to perform such services. However,
             Volkswagen recommends you keep a record of                 the cost of such services is not covered by these
             scheduled maintenance by having your mainte-               warranties except in emergencies. If the independ-
             nance booklet validated at the approximate time or         ent service establishment finds a warrantable de-
             mileage intervals by the authorized Volkswagen             fect, you may deliver the vehicle to an authorized
             dealer or other service facility that performed the        Volkswagen dealer and have the defect corrected
             maintenance. If you perform the maintenance                free of charge. Volkswagen will not be liable for
             yourself, keep all documentation as proof you have         any expenses, which you have incurred at the
             performed the maintenance at the approximate               independent service establishment, except for
             time or mileage intervals recommended, that you            emergency repairs. See "Emergency Repairs" for
             have used proper parts, and that you were able to          further details.
             perform the maintenance properly.                          Parts not scheduled for inspection or
             Failure to maintain your vehicle according to the in-      replacements
             structions for proper maintenance may cause the            Any part, which is not scheduled for inspection or
             vehicle to exceed applicable emissions standards           replacement at maintenance intervals specified in
             and could result in denial of warranty coverage.           the maintenance section of this booklet, is covered
             However, Volkswagen will not deny a warranty               by this warranty for the full warranty period.
             claim solely on the basis of your failure to maintain
             the vehicle according to the instructions or failure       Scheduled part inspection or replacement
             to keep a record of maintenance.                           A part scheduled only for inspection in accordance
             Instructions for proper use of the vehicle are con-        with Volkswagen's instructions or required sched-
             tained in your Volkswagen Owner's Manual.                  uled maintenance is covered for the duration of
                                                                        these warranties.
             Use of Genuine Volkswagen Parts
                                                                        A part installed in accordance with Volkswagen's
             Volkswagen recommends that Genuine Volkswa-                instructions or required scheduled maintenance is
             gen parts be used as replacement parts for the             warranted until the next scheduled replacement in-
             maintenance, repair or replacement of emission             terval or for the duration of these warranties.
             control systems. Use of replacement parts which
             are not equivalent to Genuine Volkswagen parts in          Damage to non-warranty parts
             emission performance and durability may impair             If failure of a warranted part causes damage to a
             the effectiveness of emission control systems. Al-         part not covered by warranty, the non-warranted
             though use of parts other than Genuine Volkswa-            part will also be replaced free of charge.
             gen parts does not invalidate these warranties,
             Volkswagen assumes no liability under these war-           Warranty repairs while traveling in Canada
             ranties for failure of such parts and damage to oth-       Warranty repairs while traveling in Canada should
             er parts caused by such failure.                           be performed by an authorized Volkswagen dealer.
                                                                        If your Volkswagen model is within the United
                                                                        States Federal Emissions Warranties, Canadian     ~




                                                                                Federal Emissions Warranties        13
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         dealers can submit a claim. Proof of United States      ing the specifications set forth in the Owner's Man-
         residence is required . If the Canadian dealer can-     ual, and abuse, neglect or improper maintenance
         not submit your claim, you may be asked to pay for      of the vehicle. Diagnosis and repair of such dam-
         the repair. On your return to the United States,        age are at the expense of the owner.
         please present the invoice to your United States
         Volkswagen dealer, who will submit a claim on           Implied warranties
         your behalf and obtain reimbursement for you.           Any implied warranty, including any warranty
                                                                 of merchantability or warranty of fitness for a
         Emergency repairs                                       particular purpose, is limited in duration to the
         Emergency repairs performed by a non-Volkswa-           stated period of these written warranties.
         gen service facility will be reimbursed if the repair
         work was needed and correctly performed, and it         Incidental and consequential damages
         was impossible or unreasonable under the circum-        These warranties do not cover any incidental
         stances to tow or drive your Volkswagen model to        or consequential damages, including loss of
         the nearest authorized Volkswagen dealer. The           resale value, lost profits or earnings, and out-
         maximum reimbursement allowable is an amount            of-pocket expenses for substitute transporta-
         equal to the cost if your authorized Volkswagen         tion or lodging.
         dealer had completed the repair(s). Reimburse-          Some states do not allow the exclusion or limita-
         ment will be considered when you submit the fol-
                                                                 tion of incidental or consequential damages, so
         lowing items to your authorized Volkswagen deal-        this limitation or exclusion may not apply to you.
         er:
         • A statement explaining the circumstances that
                                                                 1.:1 In the event you have not received the
         prevented you from getting to an authorized Volks-
                                                                 L!J  services promised in these warranties,
                                                                 please follow the procedures described in this
         wagen dealer,
                                                                 booklet under the title "Customer CARE".
         •   Repair order(s) and
                                                                 • You may obtain further information regarding
         •   Part(s) removed from your Volkswagen model          the Emissions Performance Warranty or report vio-
                                                                 lation of the terms of the Emissions Defect or Per-
         Damage caused by tampering, use of
                                                                 formance Warranty by contacting: US Environmen-
         improper fuel, abuse, neglect and improper
                                                                 tal Protection Agency, Compliance and Innovation
         maintenance                                             Strategy Division, Attention: Emissions Warranty
         These warranties do not cover any damage to the         Claims, 2000 Traverwood Rd., Ann Arbor, Ml
         vehicle caused by tampering with emission con-          48105.                                                 ~
         trols, use of fuel containing lead, or fuel not meet-




               14     USA Warranty «nd Maintenance
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              Kansas Safety Belt Limited Warranty

              Information about Kansas Safety Belt Limited Warranty
              Applicable only to vehicles sold or registered         This limited warranty does not cover the replace-
              in the State of Kansas                                 ment of safety belts and safety belt components:
              For vehicles sold or registered in the State of Kan-   • If damage or failure was due to misuse, altera-
              sas, safety belts and related safety belt compo-       tion, accident, or collision; or
              nents are warranted against defects in workman-
                                                                     • Due to color fading, spotting, or other cosmetic
              ship and materials for a period of ten (1 0) years,
                                                                     problems when the safety belt is otherwise func-
              from the vehicle's original in-service date, regard-
                                                                     tioning property                                     <
              less of mileage.




                                                                      Kansas Safety Belt Limited Warranty        15
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         Customer Care

         Volkswagen dealer assistance
         If you have questions about your vehicle or the        It is their business to be concerned about your sat-
         service you have received , we suggest that you        isfaction and goodwill. Because they are closest to
         first discuss them with the service personnel at       the situation , they are in the best position to quickly
         your authorized Volkswagen dealer. You may want        resolve any concerns you may have.                       <l
         to speak to the Service Manager or directly to the
         owner of the dealership.




         Volkswagen corporate assistance
         If your concerns are not resolved to your satisfac-    \Nhen you call or write, please provide the follow-
         tion by the dealer, please contact Volkswagen by       ing information:
         calling our toll-free number:
                                                                •   Your name, address and telephone number
         Tel. : 1 (800) 822-8987                                •   Vehicle Identification Number (VIN)
         If you prefer to write, please use the following ad-   •   Vehicle mileage
         dress:                                                 •   Dealer name
         Volkswagen Group of America, Inc.                      •   Nature of concern or problem
         Customer CARE                                          • Copies of repair orders or pertinent docu-
         3800 Hamlin Road                                       ments (if you are writing to us)
         Auburn Hills, Ml 48326
                                                                A Volkswagen Customer CARE Representative, in
         You can also contact us using our Internet ad-         conjunction with your authorized Volkswagen deal-
         dress:                                                 er, will work with you to carefully review all facts re-
         www.vw.com.                                            lating to your request.                                  <l

         Simply click on "Contact Us".




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              Repairs not covered by warranty
              In some circumstances, Volkswagen of America,          In other instances, Volkswagen may offer assis-
              Inc., an operating unit of Volkswagen Group of         tance with a repair beyond warranty on a case-by-
              America, Inc. ("Volkswagen") may offer financial       case basis. If you believe that your vehicle needs a
              assistance toward repairs or expenses not covered      repair not covered by warranty which Volkswagen
              by Volkswagen's New Vehicle Limited Warranties.        should pay for in part or in whole, please discuss
              In certain instances, Volkswagen may pay for such      the request with your dealer. If you are not satisfied
              repairs in accordance with the terms of service ac-    with your dealer's decision, please contact Volks-
                                                                     wagen Customer CARE by telephone or in writing.
              tion campaigns it will conduct from time to time. In
                                                                     Your request should provide the Vehicle Identifica-
              the event of a service action, Volkswagen will noti-
                                                                     tion Number, the mileage. maintenance history and
              fy you by mail and request that you bring your ve-
              hicle to your nearest authorized Volkswagen dealer     an explanation of why you believe that the repair
                                                                     should be performed free of charge. Your request
              for repair free of charge.
                                                                     should be accompanied by all available mainte-
              If you have not recently changed your address and      nance and repair records which you have retained.
              Volkswagen has your current address on file, you       A Customer CARE Representative will review your
              will receive notification automatically. If you are    request and advise you of our decision.                <J
              concerned that you may not have received notice
              concerning a particular service action, please
              check with your dealer to determine whether your
              vehicle is eligible for any repair free of charge.




                                                                                              Customer Care         17
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          Consumer Protection Information
          BBB AUTO LINE Dispute Resolution

          Informal dispute mechanism
         If your authorized Volkswagen dealer or Volkswa-          tually acceptable resolution. If you do not agree
         gen Customer CARE Representative has been un-             with the mediated solution, you may request an ar-
         able to satisfactorily address your concern, Volks-       bitration hearing.
         wagen offers additional assistance through BBB
                                                                   Arbitration is a process by which an impartial per-
         AUTO LINE, a dispute resolution program adminis-
                                                                   son makes a decision on your claim. The arbitra-
         tered by the Council of Better Business Bureaus.
                                                                   tors are not connected with the automobile industry
         The BBB AUTO LINE program is free of charge to            and serve on a voluntary basis. You may attend
         you but there are some vehide age and mileage             the hearing in person, bring witnesses, and give
         limitations, so please call BBB AUTO LINE for             supporting evidence. Instead of appearing in per-
         more details:                                             son, you may request a written or even a tele-
                                                                   phone arbitration hearing. The BBB shall make ev-
          Tel.: 1 (800) 955-5100
                                                                   ery effort to obtain a final resolution of your daim
          If you call BBB AUTO LINE, please be prepared to         within 5 business days of the hearing (that is, with-
          provide the following information:                       in 40 days of when your daim was filed), unless
                                                                   state or Federal law provides otherwise. You then
          •   Your name and address                                have the opportunity to accept or reject the deci-
          •   The Vehicle Identification Number (VIN)              sion.
          • The make, model, and model year of your vehi-          • If you accept the decision, the manufacturer will
          cle                                                      be bound by the decision and will be required to
          • The delivery date and current mileage of your          fulfill its obligation within the time frame specified
          vehicle                                                  by the arbitrator.
          •   A description of the concern with your vehide        • If you reject the decision, you are free to pursue
                                                                   other legal remedies available under state or feder-
         The BBB AUTO LINE program consists of two
                                                                   al law, and the manufacturer will not be required to
         parts: mediation and arbitration. Mediation means
         that BBB staff will facilitate negotiations between
                                                                   comply with any part of the decision.                    <
         the parties in an effort to bring your claim to a mu-



          State-Specific Warranty Enforcement Laws

          Local laws
          Each state has enacted warranty enforcement              wagen the opportunity to make any needed repairs
          laws (commonly referred to as "lemon laws") that         before the owner pursues other remedies provided
          permit owners to obtain a replacement vehide or a        by that state's law (in all other states where not
          refund of the purchase price under certain circum-       specifically required by state law, Volkswagen re-
          stances. Although the provisions of these laws           quests that the owner provide the written notifica-
          vary from state to state, their intent is to provide     tion) . The owner should send written notification to:
          owners with certain rights if they experience signifi-
                                                                   Volkswagen Group of America, Inc.
          cant service-related difficulties with their new vehi-
                                                                   Customer CARE
          de.
                                                                   3800 Hamlin Road
          IMPORTANT NOTICE: To the extent allowed by               Auburn Hills, Ml 48326
          each state's law, Volkswagen requires that the
          owner first send written notification to Volkswagen      IMPORTANT NOTICE: Depending on the state's
          explaining the nonconformity that the owner has          law, the owner may also be required to submit their
          experienced with the vehide, and to allow Volks-         complaint to BBB AUTO LINE before seeking other
                                                                   remedies. Please refer to the BBB AUTO LINE         .,.



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              Dispute Resolution section of this booklet for more      Because each state has enacted specific provi-
              information about the BBB AUTO LINE dispute              sions as part of its lemon law, owners are advised
              resolution program.                                      to research and follow the laws in their state.          <J




              NOTICE TO CALIFORNIA PURCHASERS
              Volkswagen participates in BBB AUTO LINE, a              California Civil Code Section 1793.2(d) requires
              mediation/arbitration program administered by the        that, if Volkswagen or its representative is unable
              Council of Better Business Bureaus (4200 Wilson          to repair a new motor vehicle to conform to the ve-
              Boulevard, Suite 800, Arlington, Virginia 22203).        hicle's applicable express warranty after a reason-
              BBB AUTO LINE and Volkswagen have been certi-            able number of attempts, Volkswagen may be re-
              fied by the Arbitration Certification Program of the     quired to replace or repurchase the vehicle. Cali-
              California Department of Consumer Affairs.               fornia Civil Code Section 1793.22(b) creates a pre-
                                                                       sumption that Volkswagen has had a reasonable
              If you have a problem arising under any Volkswa-
                                                                       number of attempts to conform the vehicle to its
              gen written warranty, we request that you bring it
              Volkswagen's attention. If we are unable to resolve      applicable express warranties if, within 18 months
                                                                       from delivery to the buyer or 18,000 miles on the
              it, you may file a claim with BBB AUTO LINE.
                                                                       vehicle's odometer, whichever occurs first, one or
              Claims must be filed with BBB AUTO LINE within
                                                                       more of the following occurs:
              six (6) months after the expiration of the warranty.
              To file a claim with BBB AUTO LINE, call:                • The same nonconformity (a failure to conform
                                                                       to the written warranty that substantially impairs
              Tel.: 1 (800) 955-5100.                                  the use, value, or safety of the vehicle) results in a
                                                                       condition that is likely to cause death or serious
              There is no charge for the call.
                                                                       bodily injury if the vehicle is driven AND the non-
              In order to file a claim with BBB AUTO LINE, you         conformity has been subject to repair two or more
              will have to provide your name and address, the          times by Volkswagen or its agents AND the buyer
              brand name and Vehicle Identification Number             or lessee has directly notified Volkswagen of the
              (VIN) of your vehicle, and a statement of the na-        need for the repair of the nonconformity; OR
              ture of your problem or complaint. You will also be      • The same nonconformity has been subject to
              asked to provide: the approximate date of your ac-       repair 4 or more times by Volkswagen or its agents
              quisition of the vehicle, the vehicle's current mile-    AND the buyer has notified Volkswagen of the
              age, the approximate date and mileage at the time        need for the repair of the nonconformity; OR
              any problem(s) were first brought to the attention
              of Volkswagen or one of our dealers, and a state-        • The vehicle is out of service by reason of the
              ment of the relief you are seeking.                      repair of non-conformities by Volkswagen or its
                                                                       agents for a cumulative total of more than 30 cal-
              BBB AUTO LINE staff may try to help resolve your         endar days after delivery of the vehicle to the buy-
              dispute through mediation. If mediation is not suc-      er.
              cessful, or if you do not wish to participate in medi-
              ation, claims within the program's jurisdiction may      NOTICE TO VOLKSWAGEN AS REQUIRED
              be presented to an arbitrator at an informal hear-       ABOVE SHALL BE SENT TO THE FOLLOIMNG
              ing. The arbitrator's decision should ordinarily be      ADDRESS:
              issued within 40 days from the time your complaint       Volkswagen Group of America, Inc.
              is filed; there may be a delay of 7 days if you did      Customer CARE
              not first contact Volkswagen about your problem,         3800 Hamlin Road
              or a delay of up to 30 days if the arbitrator requests   Auburn Hills, Ml 48326
              an inspection/report by an impartial technical ex-
              pert or further investigation and report by BBB AU-      The following remedies may be sought in BBB AU-
              TO LINE.                                                 TO LINE: repairs, reimbursement for money paid
                                                                       to repair a vehicle or other expenses incurred as a
              You are required to use BBB AUTO LINE before
                                                                       result of a vehicle nonconformity, repurchase or re-
              asserting in court any rights or remedies conferred
                                                                       placement of your vehicle, and compensation for
              by California Civil Code Section 1793.22. You are
                                                                       damages and remedies available under Volkswa-
              not required to use BBB AUTO LINE before pursu-
                                                                       gen's written warranty or applicable law.            11>
              ing rights and remedies under any other state or
              Federal law.




                                                                            Consumer Protection Information           19
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         The following remedies may not be sought in BBB          If you accept the arbitrator's decision, Volkswagen
         AUTO LINE: punitive or multiple damages, attor-          will be bound by the decision, and will comply with
         ney fees, or consequential damages other than as         the decision within a reasonable time not to ex-
         provided in California Civil Code Section 1794(a)        ceed 30 days after we receive notice of your ac-
         and (b).                                                 ceptance of the decision.
         You may reject the decision issued by a BBB AU-          Please call BBB AUTO LINE for further details
         TO LINE arbitrator. If you reject the decision, you      about the program.                                    <l
         will be free to pursue further legal action. The arbi-
         trator's decision and any findings will be admissible
         in a court action.




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              Service Publications
              Volkswagen Technical Literature Ordering Center

              Updated service information you can obtain
              Volkswagen monitors product performance in the          Most bulletins apply to conditions affecting a small
              field and regularly sends dealers the latest service    number of vehides. Your dealer or a qualified tech-
              information about Volkswagen vehides.                   nician may have to determine if a specific bulletin
                                                                      applies to your vehicle. You can order Volkswagen
              Bulletins cover a wide variety of subjects: the prop-
                                                                      bulletins, Volkswagen repair information and Volks-
              er use and care of your car, costly repairs, inex-
                                                                      wagen Owner's Literature 24 Hours I 7 days a
              pensive repairs or adjustments, which, if done ear-
                                                                      week on the Internet from the Volkswagen Techni-
              ly, may avoid costly future repairs. Some bulletins
                                                                      cal Literature Ordering Center link at:
              describe repairs about new or unexpected condi-
              tions. Others describe improved repair procedures       www.vw.techliterature.com
              or parts improvements. All of this information can
              also help a qualified technician better service your
              vehide.



              What you will also find on the website
              •   Owner's Manuals
              •   Owner's Manuals Inserts and Supplements
                                                                       These bulletins are intended for qualified
              •   Maintenance Booklets                                 technicians. They are not meant for the CAS-
              •   Warranty Manuals                                     UAL do-it-yourselfer. Qualified technicians
              •   Warranty and Maintenance Manuals                     have the equipment, tools, safety Instruc-
                                                                       tions, and know-how to do a job properly and
              •   Sound System and Navigation Manuals
                                                                       safely. Improperly performed repairs or main-
                                                                       tenance can adversely affect the safety of
                                                                       your vehicle, possibly leading to accident or
                                                                       injury. They may also impair the economy,
                                                                       durability or reliability of your vehicle and
                                                                       may void the warranty of your car. If you are
                                                                       not sure that you can perform a job properly
                                                                       and safely, you should not risk trying to do
                                                                      ~s_o_·----------------------------------~ ~




                                                                                        Service Publications       21
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         Tire Manufacturers

         List of tire manufacturers for new Volkswagen vehicles
         The Magnuson-Moss Warranty Federal Trade               Continental General
         Commission Improvement Act of 1975 and regula-         1800 Continental Blvd.
         tions issued pursuant to the act require that a tire   Charlotte, NC 28273
         warranty pamphlet be placed in every new vehicle       Tel.: 1 (800) 847-3349
         prior to sale.
                                                                Michelin Tire Corp.
         To assist you in obtaining the related warranty in-    P.O. Box 19001
         formation , the following list of tire manufacturers   Greenville, SC 29602-9001
         and addresses is being provided.                       Tel.: 1 (800) 847-3435
         Tire Manufacturers                                     Pirelli Tires North America
         Dunlop Tire Corp.                                      300 George Street. 5th Floor
         1144 East Market Street                                New Haven, CT 06511
         Akron, OH 44316                                        Tel.: 1 (800) 747-3554
         Tel.: 1 (800) 548-4714                                 Uniroyal Goodrich Tire Co.
         Bridgestone/Firestone Inc.                             P.O. Box 19001
         1 Bridgestone Park                                     Greenville, SC 29602-9001
         Nashville, TN 37214                                    Tel.: 1 (800) 521-9796
         Tel.: 1 (800) 356-4644                                 Hankook Tires Corporate Headquarters
         Goodyear Tire & Rubber Co.                             1450 Valley Road
         1144 East Market Street                                Wayne, NJ 07470
         Akron, OH 44316                                        Tel.: 1 (877) 740-7000                 <l
         Tel.: 1 (800) 321-2136




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              Maintenance

              Warranty voucher
              Present this voucher to an authorized dealer if war-
              ranty service is required.



                   The warranty period begins on the date the vehicle is
                   delivered to either the original purchaser or the original
                   lessee; or if the vehicle is first placed in service as a
                   "demonstrator" or "company" car, on the date such vehi-
                   cle is first placed in service.



                   Month              Day                 Year




                                                                                Stamp of authorized Volkswagen Deal-
                                                                                                  er
                       (to be filled in by authorized Volkswagen Dealer)




              1.



              2.


              3.


              4.



                         I          I          I
                           Vehicle Identification Label
                                                          I           I         I        I         I         I
               1.          Vehicle Identification No. / Engine Code
               2.       Type I Engine I Transmission
               3.       Transmission Code I Paint No. /Interior I Engine I Engine Code
              L4_.______0~p_tio_n_a_I_E~q~u~ip_m_e_n_t____________________________________________________~ <




                                                                                               Maintenance       23
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          Odometer replacement and other dealer stamps


                                                        Air Conditioner
                                                Warranty Registration Certificate
                                                  (except factory installation)

                                                Attach here (for dealer use only)




                                          Federal Law requires that a label be affixed
                                    to the left door frame when the replacement odometer
                                          does not indicate the actual vehide mileage
                                                   after repair or replacement.

                             Genuine Volkswagen replacement odometers are supplied with a label




            Odometer Replacement

            Month           Day          Year
             (to be filled in by authorized Volkswagen
             Dealer)




                                                                Stamp of authorized Volkswagen Dealer
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              Service information
              Dealer service                                         Emission control maintenance
             There are approximately 600 authorized Volkswa-         1     A dean environment is of concern to all of
             gen dealers in the United States. They have Volks-            us. Volkswagen has built into your vehide
             wagen trained technicians, proper workshop equip-             an efficient emission control system, using
             ment and parts to give you expert service.                    genuine Volkswagen parts, in conformance
                                                                           with the Federal Clean Air Ad in the United
              Volkswagen dealers are committed to quality serv-
                                                                           States. To help keep our air dean. you can
              ice.
                                                                           do your part by having your vehide's mainte-
             • Your authorized Volkswagen dealer offers many               nance services and all repairs performed in
             services for your convenience, such as extended               a timely manner.
             service hours, earty bird service, body repairs, to     2     Maintenance, repair or replacement of
             name just a few. Ask about them.                              emission control components may be
              • Arrange your service with your dealer when it is           perfonmed by any qualified automotive
              convenient for you.                                          service and repair establishment or indi-
             • Ask your Service consultant about the service               vidual without affecting the Emission
             you need and discuss the cost involved.                       Control System Warranty, provided that
                                                                           such repairs are perfonmed to manufac-
             • Leave wonl where you can be reached during                  turer's specifications, and that replace-
             the day and when you would like to pick your car              ment parts are at least equivalent to gen-
             up.                                                           uine Volkswagen parts in emission per-
              • Keep all receipts of maintenance and repairs               fonmance and durability. Warranty repairs
              performed. Your service record is important when             and replacements, however, must be per-
              making use of your warranty.                                 formed by an authorized Volkswagen
             • Maintenance services performed by your au-                  dealer.
             thorized dealer at the intervals specified, will also   3     If other than genuine Volkswagen replace-
             be documented in this booklet.                                ment parts are used, the owner should make
             • Automobile technology changes continuously.                 sure that such parts are warranted by their
             Your authorized Volkswagen dealer always has the              manufacturer and that they are at least
             most current Service and Maintenance information              equivalent to genuine Volkswagen replace-
             for your Volkswagen model. II is possible that this           ment parts in emission performance and du-
             information may differ from the check points listed           rability.
             in this booklet. Your Volkswagen Service consul-        Why maintenance?
             tant can answer any questions you may have.
                                                                     With proper maintenance and care, your Volkswa-
              Do-lt-yourself service                                 gen model will continue to provide you with a de-
              Your Owner's Manual contains many helpful hints        pendable and safe driving experience. This booklet
              on what you can service yourself.                      contains Volkswagen's prescribed service intervals
                                                                     as well as other important information you need to
              • You can check tires for wear or damage and           know to care for your Volkswagen model property.
              correct tire pressure, induding the spare.             Adherence to the prescribed maintenance serv-
              • You can check the windshield washer contain-         Ices and Intervals Is necessary to protect your
              er.                                                    Investment and help ensure optimum perfonm-
                                                                     ance. Failure to follow recommended mainte-
              • You can check your car's interior and exterior
                                                                     nance services and Intervals may result In a
              lighting system for correct functioning.
                                                                     denial of your warranty coverage. Please see
              • You can check the engine oil level with every        the warranty section of this booklet for further de-
              fuel filling.                                          tails.
              • You can perform these simple checks once a
                                                                     Your vehide is designed to keep maintenance re-
              week. They save time, trouble and expense later.
                                                                     quirements to a minimum.
             Your technician will not check the above men-           Today's vehides are precision engineered ma-
             tioned Items In each case during regular serv-          chines. They are designed with people's safety in
             Ice and maintenance visits.                             mind, and are equipped with emission control sys-
                                                                     tems to help keep our air dean. However, a certain
                                                                     amount of regular maintenance is still necessary to    ~




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         help assure optimum performance and reliability. A    peratures and/or excessive dust, it is necessary for
         well-maintained vehide conserves fuel, protects       some services to be performed between the
         against unwanted emissions, and may prevent a         scheduled intervals. This applies particularly to en-
         major repair expense at a later date.                 gine oil changes and the deaning or replacing of
                                                               the air deaner filter element.
         Follow the service intervals schedule and itemized
         list of services for each, and make fluid level and   Authorized Volkswagen dealers are ready to
         tire pressure checks between the scheduled inter-     serve you and are committed to quality service. <l
         vals as recommended in your vehide Owner's
         Manual.
         The service intervals schedule is based on vehi-
         cles operating under normal conditions. In the case
         of severe conditions, such as extremely low tem-




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             Volkswagen Carefree Maintenance Program

             Volkswagen Carefree Maintenance Program Coverage Period
             All Volkswagen scheduled Maintenances descri-
             bed in this booklet are covered with no charge for
             3 years or 36,000 miles, whichever occurs first.          <l



             Additional Services
             The maintenance intervals in this booklet are                  Additional services not specified in this booklet, or
             based on normal operating conditions. Under se-                services suggested by the dealer or performed at
             vere operating conditions, it may become necessa-              the customer's request, are not covered under the
             ry to perform additional or more frequent mainte-              Volkswagen Carefree Maintenance Program.                <)
             nance operations.



             Where to go for the Volkswagen Carefree Maintenance Program Service
             Volkswagen Carefree Maintenance Program Serv-                  Canadian dealers can submit a claim. Proof of
             ice can be honored by any authorized Volkswagen                United States residence is required. If the Canadi-
             dealer in the United States, including its territories.        an dealer cannot submit your claim, you may be
             The Volkswagen Carefree Maintenance Program                    asked to pay for the repair. On your return to the
                                                                            United States, please present the invoice to your
             Service, while traveling in Canada, should be per-
             formed by an authorized Volkswagen dealer. If                  United States Volkswagen dealer, who will submit
             your Volkswagen model is within the United States              a claim on your behalf and obtain reimbursement
             Volkswagen Carefree Maintenance Program,                       for you.                                            <l




             Missed Maintenance Service
             Volkswagen recommends that the customer have                   • Additional services not specified in the Mainte-
             Maintenance Services performed at the scheduled                nance Schedule, suggested by the dealer or per-
             time or mileage.                                               formed at the customer's request, are not covered
                                                                            under the Volkswagen Carefree Maintenance Pro-
             However, if a Maintenance Service is missed, it
             need not be "picked up" later. Rather, Volkswagen              gram.
             dealers should perform the most appropriate serv-              • Volkswagen will not reimburse owners for
             ice upon considering the vehicle's age and mileage             Maintenance Services performed at independent
             driven. Reimbursement for the missed service will              facilities.                                             <1
             not be provided.



             When the Scheduled Maintenance Period Begins
             The scheduled maintenance period begins on the                 service. The Volkswagen Carefree Maintenance
             date the vehicle is delivered to either the original           Program is automatically transferred without cost if
             purchaser or the original lessee, or if the vehicle is         the ownership of the vehicle changes within the
             first placed in service as a "demonstrator" or "com-           coverage period .                                       <
             pany" car, on the date such vehicle is first placed in




                                                                                                       Maintenance         27
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         Service schedule

         Delivery inspection
         • Your authorized Volkswagen dealer will fill out         for your Volkswagen model. It is possible that this
         the necessary information and stamp this booklet          information may differ from the check points listed
         to confirm that the necessary services have been          in this booklet. Your Volkswagen Service consul-
         performed.                                                tant can answer any questions you may have.
         • Automobile technology changes continuously.             • If you are not sure when to bring your car in for
         Your authorized Volkswagen dealer always has the          service, ask your authorized Volkswagen Service
         most current Service and Maintenance information          consultant.

          Delivery Inspection
          Before your vehicle is delivered to you, it is inspected according to factory guidelines.
          The Delivery Inspection was performed on:
                                       Next Service:
          Date: ........................
          Miles: ...................




                               (whichever occurs first)               Today's date and Volkswagen Dealer stamp           <J



         Points to Review
         Points to review during every service.                    • Headlights, daytime running lights, curve light-
                                                                   ing, and automatic headlights: Check adjustment
         • Battery: Check (and second battery If appli-
         cable)                                                    • Lighting: Front and rear lights, luggage com-
                                                                   partment lighting, tum signals, and hazard warning
         •    Coolant level and frost protection: Check            lights: Check
         • Engine and engine compartment components:               • Visual inspection of windshield. Note damage if
         Check (from above) for leaks and damage
                                                                   necessary.                                        <J
         • Engine and engine compartment components:
         Check (from below) for leaks and damage, check
         transmission, final drive, and drive shaft boots




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             Service at 10,000 miles (Included in the Volkswagen Carefree Maintenance
             Program)
             Service at 10,000 miles or one year from vehi-               •   Service interval display: Reset
             cle in-service date, whichever occurs first.                 • Service sticker: Enter the date of the next serv-
             • Ad Blue® Fluid : Check and add if necessary                ice on the service sticker and apply to the driver's
             (Pass at 2.0L TDI engine only)                               side door pillar
             • Brake pads: Check thickness and brake disc                 •   Tires: Rotate front to rear
             condition (front and rear)                                   • Windshield washer, headlight cleaning system,
              •   Engine: Change oil and replace oil filter               and wiper blades: Check for damage and function,
                                                                          Check fluid level and add if necessary
             • Rear window : Check cleaning nozzle function-
             ality (if applicable)

                                             Next Service:
              Date: ....... .. .............. .
              Miles:.... ........... ... .




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                                                                                                      Maintenance          29
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         Service at 20,000 miles (Included in the Volkswagen Carefree Maintenance
         Program)
         Service at 20,000 miles or one year after last                 • Rear window: Check cleaning nozzle function-
         service, whichever occurs first.                               ality (if applicable)
         • Ad Blue® Fluid: Check and add if necessary                   •   Service interval display: Reset
         (Passat 2.0L TDI engine only)                                  • Service sticker: Enter the date of the next serv-
         • Battery: Check (and second battery if appli-                 ice on the service sticker and apply to the driver's
         cable)                                                         side door pillar
         • Brakes: Inspect brake system and shock ab-                   • Tires: Check tread depth, condition, tire age,
         sorber for leaks and damage, check thickness of                wear pattern and pressure of all tires (including
         brake pads, brake disc condition front and rear and            spare)
         check brake fluid level subject to abrasion                    •   Tires: Rotate front to rear
         •    Dust and pollen filter: Replace (if applicable)           • Windshield washer, headlight cleaning system,
         •    Engine: Change oil and replace oil filter                 and wiper blades: Check for damage and function ,
                                                                        Check fluid level and add if necessary
         •    Fuel filter: Replace (2.0L TDI engine only)

                                          Next Service:
          Date:    ························
          Miles: .. ...... ........ ...




                                  whichever occurs first                    Today's date and Volkswagen Dealer stamp           <l




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              Service at 30,000 miles (Included in the Volkswagen Carefree Maintenance
              Program)
              Service at 30,000 miles or one year after last   •   Service interval display: Reset
              service, whichever occurs first                  • Service sticker: Enter the date of the next serv-
              • Ad Blue® Fluid: Check and add if necessary     ice on the service sticker and apply to the driver's
              (Passat 2.0L TDI engine only)                    side door pillar
              • Brake pads: Check thickness and brake disc     •   Tires: Rotate front to rear
              condition (front and rear)                       • Windshield washer, headlight cleaning system,
              •   Engine: Change oil and replace oil filter    and wiper blades: Check for damage and function,
                                                               Check fluid level and add if necessary
              • Rear window: Check cleaning nozzle function-
              ality (if applicable)

                                           Next Service:
              Date: .. ..... ................ .
              Miles:............. ......




                                     whichever occurs first        Today's date and Volkswagen Dealer stamp           <




                                                                                           Maintenance       31
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         Service at 40,000 miles
         Service at 40,000 miles or one year after last        •   Power steering: Check oil level
         service, whichever occurs first.                      • Rear window: Check cleaning nozzle function-
         • Ad Blue® Fluid: Check and add if necessary          ality (if applicable)
         (Passat 2.0L TDI engine only)                         •   Ribbed V-belt: Check condition
         • Battery: Check (and second battery if appli-        •   Service interval display: Reset
         cable)                                                • Service sticker: Enter the date of the next serv-
         •   Body: Visual inspection for corrosion             ice on the service sticker and apply to the driver's
         • Brakes: Inspect brake system and shock ab-          side door pillar
         sorber for leaks and damage, check thickness of       • Spark plugs: Replace ( 2.0L MPI and 2.5L on-
         brake pads, brake disc condition front and rear and   ly)
         check brake fluid level subject to abrasion           • Sunroof and Panoramic sunroof: Check, clean,
         • Convertible roof, CSC roof, and Retractable         and lubricate (if applicable)
         hard top: Check for function and damage, dean         • Sunroof: Open sunroof and check front and
         and lubricate seals (if applicable)                   rear water drains and dean if necessary (if appli-
         •   Coolant level and frost protection: Check         cable)
         •   CV joints: Check for leaks and damage             • Test drive: Check braking, kick-down, steering,
         •   Door checks and mounting pins: Lubricate          electrical, heating and ventilation systems, air con-
                                                               ditioning, handling, and parking brake
         •   Dust and pollen filter: Replace (if applicable)
                                                               • Tie rod ends: Check for excessive play and
         •   Engine: Change oil and replace oil fitter
                                                               looseness, check boots
         • Engine and engine compartment components:
                                                               • Tires: Check tread depth, condition, tire age,
         Check (from above) for leaks and damage
                                                               wear pattern and pressure of all tires (including
         • Engine and engine compartment components:           spare)
         Check (from below) for leaks and damage, check
                                                               •   Tires: Rotate front to rear
         transmission, final drive, and drive shaft boots
                                                               • Transmission: DSG (non Automatic): Change
         • Exhaust system: Check for leaks, damage, and
                                                               fluid and filter
         secure fittings
                                                               • Underbody: Inspect under seal, underbody
         •   Fuel filter: Replace (2.0L TDI engine only)
                                                               trims, pipe placing, and plug for damage
         • Headlights, daytime running lights, curve light-
                                                               • Windshield washer, headlight cleaning system,
         ing, and automatic headlights: Check adjustment
                                                               and wiper blades: Check for damage and function,
         • Interior lighting and glove box lights, cigarette   Check fluid level and add if necessary
         lighter/power outlets, hom, and all warning lamps:
         Check
         • Lighting: Front and rear lights, luggage com-
         partment lighting, tum signals, and hazard warning
         lights: Check

                                      Next Service:
          Date: ........................
          Miles:...................




                               whichever occurs first              Today's date and Volkswagen Dealer stamp            <l




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             Service at 50,000 miles
             Service at 50,000 miles or one year after last   • Service sticker: Enter the date of the next serv-
             service, whichever occurs first.                 ice on the service sticker and apply to the driver's
                                                              side door pillar
             • Ad Blue® Fluid: Check and add if necessary
             (Passat 2.0L TDI engine only)                    •   Tires: Rotate front to rear
             • Brake pads: Check thickness and brake disc     • Transmission: Automatic (non DSG): Change
             condition (front and rear)                       fluid (2.0L MPI and 2.5L only)
             •    Engine: Change oil and replace oil filter   • Windshield washer, headlight deaning system,
                                                              and wiper blades: Check for damage and function,
             • Rear window: Check cleaning nozzle function-
                                                              Check fluid level and add if necessary
             ality (if applicable)
             •    Service interval display: Reset

                                             Next Service:
              Date: ........................
              Miles: ......... .... ......




                                     whichever occurs first       Today's date and Volkswagen Dealer stamp           <




                                                                                          Maintenance       33
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         Service at 60,000 miles
         Service at 60,000 miles or one year after last                           •   Service interval display: Reset
         service, whichever occurs first.                                        • Service sticker: Enter the date of the next serv-
         • Ad Blue® Fluid: Check and add if necessary                            ice on the service sticker and apply to the driver's
         (Passat 2.0L TDI engine only)                                           side door pillar
         • Air filter element and snow screen: Replace el-                        •   Spark plugs: Replace (2.0T and 3.6L only)
         ement and clean screen and housing (if applica-                         • Timing Belt: Check and replace if necessary
         ble)                                                                    (2.0L MPI only) If replaced at 60,000 miles, check
         • Battery: Check (and second battery if appli-                          every 60,000 miles after. If not replaced at 60,000
         cable)                                                                  miles, check every 20,000 miles until replaced,
                                                                                 then every 60,000 miles
         • Brakes: Inspect brake system and shock ab-
         sorber for leaks and damage, check thickness of                         • Tires: Check tread depth, condition, tire age,
         brake pads, brake disc condition front and rear and                     wear pattern and pressure of all tires (including
         check brake fluid level subject to abrasion                             spare)
         •    Dust and pollen filter: Replace (if applicable)                     •   Tires: Rotate front to rear
         •    Engine: Change oil and replace oil filter                          • Windshield washer, headlight cleaning system,
                                                                                 and wiper blades: Check for damage and function,
         •    Fuel filter: Replace (2.0L TDI engine only)
                                                                                 Check fluid level and add if necessary
         • Rear window: Check cleaning nozzle function-
         ality (if applicable)

                                        Next Service:
          Date: ...................... ..
          Miles: .................. .




         L __ _ _ _ _ _ _ _ _ _ w~hi~c~h~e~ve~r_o~c~c=u~rs~fi~rs=t___________L___c~o=d=a~y~·s~d~at~e~a=n~d~V~ol~k~sw~a~g=e~n~D~e~a~le~r~s~t~a~m~p~_j~




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             Service at 70,000 miles
             Service at 70,000 miles or one year after last   •   Service interval display: Reset
             service, whichever occurs first                  • Service sticker: Enter the date of the next serv-
             • Ad Blue® Fluid: Check and add if necessary     ice on the service sticker and apply to the driver's
             (Passat 2.0L TDI engine only)                    side door pillar
             • Brake pads: Check thickness and brake disc     •   Tires: Rotate front to rear
             condition (front and rear)                       • Windshield washer, headlight cleaning system,
             •   Engine: Change oil and replace oil filter    and wiper blades: Check for damage and function,
                                                              Check fluid level and add if necessary
             • Rear window: Check cleaning nozzle function-
             ality (if applicable)

                                           Next Service:
              Date: ........................
              Miles: ...................




                                    whichever occurs first        Today's date and Volkswagen Dealer stamp




                                                                                          Maintenance       35
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         Service at 80,000 miles
         Service at 80,000 miles or one year after last        •   Power steering: Check oil level
         service, whichever occurs first.                      • Rear window: Check cleaning nozzle function-
         • Ad Blue® Fluid: Check and add if necessary          ality (if applicable)
         (Passat 2.0L TDI engine only)                         •   Ribbed V-belt: Check condition
         • Battery: Check (and second battery if appli-        • Service interval display: Reset
         cable)                                                • Service sticker: Enter the date of the next serv-
         • Body: Visual inspection for corrosion               ice on the service sticker and apply to the driver's
         • Brakes: Inspect brake system and shock ab-          side door pillar
         sorber for leaks and damage, check thickness of       • Spark plugs: Replace ( 2.0L MPI and 2.5L on-
         brake pads, brake disc condition front and rear and   ly)
         check brake fluid level subject to abrasion           • Sunroof and Panoramic sunroof: Check, dean,
         • Convertible roof, esc roof, and Retractable         and lubricate (if applicable)
         hard top: Check for function and damage, clean        • Sunroof: Open sunroof and check front and
         and lubricate seals (if applicable)                   rear water drains and dean if necessary (if appli-
         • Coolant level and frost protection: Check           cable)
         •   CV joints: Check for leaks and damage             • Test drive: Check braking, kick-down, steering,
         •   Door checks and mounting pins: Lubricate          electrical, heating and ventilation systems, air con-
                                                               ditioning, handling, and parking brake
         •   Dust and pollen filter: Replace (if applicable)
                                                               • Tie rod ends: Check for excessive play and
         •   Engine: Change oil and replace oil filter
                                                               looseness, check boots
         • Engine and engine compartment components:
                                                               • Timing Belt: Check and replace if necessary
         Check (from above) for leaks and damage
                                                               (2.0L MPI only) If replaced at 60,000 miles, check
         • Engine and engine compartment components:           every 60,000 miles after. If not replaced at 60,000
         Check (from below) for leaks and damage, check        miles, check every 20,000 miles until replaced,
         transmission, final drive, and drive shaft boots      then every 60,000 miles
         • Exhaust system: Check for leaks, damage, and        • Tires: Check tread depth, condition, tire age,
         secure fittings                                       wear pattern and pressure of all tires (including
         •   Fuel filter: Replace (2.0L TDI engine only)       spare)
         • Headlights, daytime running lights, curve light-    • Tires: Rotate front to rear
         ing, and automatic headlights: Check adjustment       • Transmission: DSG (non Automatic): Change
         • Interior lighting and glove box lights, cigarette   fluid and filter
         lighter/power outlets, horn, and all warning lamps:   • Underbody: Inspect under seal, underbody
         Check                                                 trims , pipe placing, and plug for damage
         • Lighting: Front and rear lights, luggage com-       • Windshield washer, headlight cleaning system,
         partment lighting, turn signals, and hazard warning   and wiper blades: Check for damage and function,
         lights: Check                                         Check fluid level and add if necessary

                                    Next Service:
          Date: ........................
          Miles:................ ...




                               whichever occurs first              Today's date and Volkswagen Dealer stamp            <l




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             Service at 90,000 miles
             Service at 90,000 miles or one year after last    •   Service interval display: Reset
             service, whichever occurs first.                  • Service sticker: Enter the date of the next serv-
             • Ad Blue® Fluid: Check and add if necessary      ice on the service sticker and apply to the driver's
             (Passat 2.0L TDI engine only)                     side door pillar
             • Brake pads: Check thickness and brake disc      •   Tires: Rotate front to rear
             condition (front and rear)                        • Windshield washer, headlight cleaning system,
              •   Engine: Change oil and replace oil filter    and wiper blades: Check for damage and function,
                                                               Check fluid level and add if necessary
              • Rear window: Check cleaning nozzle function-
              ality (if applicable)

                                             Next Service:
              Date: ..... .................. .
              Miles: ........... ...... ..




                                     whichever occurs first        Today's date and Volkswagen Dealer stamp           <




                                                                                           Maintenance       37
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         Service at 100,000 miles
         Service at 100,000 miles or one year after last       • Service sticker: Enter the date of the next serv-
         service, whichever occurs first.                      ice on the service sticker and apply to the driver's
                                                               side door pillar
         • Ad Blue® Fluid: Check and add if necessary
         (Passat 2.0L TDI engine only)                         • Timing Belt: Check and replace if necessary
                                                               (2.0L MPI only) If replaced at 60,000 miles, check
         • Battery: Check (and second battery if appli-
                                                               every 60,000 miles after. If not replaced at 60,000
         cable)
                                                               miles, check every 20,000 miles until replaced,
         • Brakes: Inspect brake system and shock ab-          then every 60,000 miles
         sorber for leaks and damage, check thickness of
                                                               • Tires: Check tread depth, condition, tire age,
         brake pads, brake disc condition front and rear and
                                                               wear pattem and pressure of all tires (including
         check brake fluid level subject to abrasion
                                                               spare)
         •   Dust and pollen filter: Replace (if applicable)
                                                               •   Tires: Rotate front to rear
         •   Engine: Change oil and replace oil filter
                                                               • Transmission: Automatic (non DSG): Change
         •   Fuel filter: Replace (2.0L TDI engine only)       fluid (2.0L MPI and 2.5Lonly)
         • Rear window: Check cleaning nozzle function-        • Windshield washer, headlight cleaning system,
         ality (if applicable)                                 and wiper blades: Check for damage and function,
         •    Service interval display: Reset                  Check fluid level and add if necessary

                                       Next Service:
          Date: ........................
          Miles: ...................




                                whichever occurs first             Today's date and Volkswagen Dealer stamp           <l




                 3B        USA 'vVdnanty and Maintenance
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             Service at 110,000 miles
             Service at 110,000 miles or one year after last                          •   Service interval display: Reset
             service, whichever occurs first                                         • Service sticker: Enter the date of the next serv-
             •    Ad Blue® Fluid: Check and add if necessary                         ice on the service sticker and apply to the driver's
             (Passat 2.0L TDI engine only)                                           side door pillar

             • Brake pads: Check thickness and brake disc                             •   Tires: Rotate front to rear
             condition (front and rear)                                               • Windshield washer, headlight deaning system,
             •    Engine: Change oil and replace oil filter                           and wiper blades: Check for damage and function,
                                                                                      Check fluid level and add if necessary
             • Rear window: Check cleaning nozzle function-
             ality (if applicable)

                                            Next Service:
              Date: ....................... .
              Miles: ................. ..




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                                     __                         fi_rs_t__________~---~-o_d_a~y-'s__
                                       h_ic_h_e_ve_r_o_c_c_u_rs__                                 d_at_e_a_n_d__      __a~g_e_n_D_e_a_le_r_s_t_a_m~p--~<
                                                                                                               V_o_lk_sw




                                                                                                                     Maintenance             39
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         Service at 120,000 miles
         Service at 120,000 miles or one year after last        • Headlights, daytime running lights, curve light-
         service, whichever occurs first.                       ing, and automatic headlights: Check adjustment
         • Ad Blue® Fluid: Check and add if necessary           • Interior lighting and glove box lights, cigarette
         (Passat 2.0L TDI engine only)                          lighter/power outlets, hom, and all warning lamps:
                                                                Check
         • Air filter element and snow screen: Replace el-
         ement and dean screen and housing (if applica-         • Lighting: Front and rear lights, luggage com-
         ble)                                                   partment lighting, tum signals, and hazard warning
                                                                lights: Check
         • Battery: Check (and second battery if appli-
         cable)                                                 •   Power steering: Check oil level
         •   Body: Visual inspection for corrosion              • Rear window: Check cleaning nozzle function-
                                                                ality (if applicable)
         • Brakes: Inspect brake system and shock ab-
         sorber for leaks and damage. check thickness of        •   Ribbed V-belt: Check condition
         brake pads, brake disc condition front and rear and    •   Service interval display: Reset
         check brake fluid level subject to abrasion            • Service sticker: Enter the date of the next serv-
         • Convertible roof, CSC roof, and Retractable          ice on the service sticker and apply to the driver's
         hard top: Check for function and damage, dean          side door pillar
         and lubricate seals (if applicable)                    •   Spark plugs: Replace (All engines except TDI)
         •   Coolant level and frost protection: Check          • Sunroof and Panoramic sunroof: Check, clean,
         •   CV joints: Check for leaks and damage              and lubricate (if applicable)
         • Diesel Particulate Filter: Perform after the first   • Sunroof: Open sunroof and check front and
         120,000 miles or 120,000 miles after a Diesel          rear water drains and clean if necessary (if appli-
         Particulate Filter (DPF) replacement: Check ash        cable)
         loading according to manufacturer work procedure;      • Test drive: Check braking, kick-down, steering,
         Replace if necessary. NOTE: If DPF replacement         electrical, heating and ventilation systems, air con-
         is not necessary, perform check every 20,000           ditioning, handling, and parking brake
         miles thereafter until replacement becomes neces-
                                                                • Tie rod ends: Check for excessive play and
         sary. (2.0L TDI engine only)
                                                                looseness, check boots
         •   Door checks and mounting pins: Lubricate
                                                                • Tires: Check tread depth, condition, tire age,
         •   Dust and pollen filter: Replace (if applicable)    wear pattern and pressure of all tires (Including
         •   Engine: Change oil and replace oil filter          spare)
         • Engine and engine compartment components:            •   Tires: Rotate front to rear
         Check (from above) for leaks and damage                • Transmission: DSG (non Automatic): Change
         • Engine and engine compartment components:            fluid and filter
         Check (from below) for leaks and damage, check         • Underbody: Inspect under seal, underbody
         transmission, final drive, and drive shaft boots       trims, pipe placing, and plug for damage
         • Exhaust system: Check for leaks, damage, and         • Windshield washer, headlight cleaning system,
         secure fittings                                        and wiper blades: Check for damage and function,
         •   Fuel filter: Replace (2.0L TDI engine only)        Check fluid level and add if necessary                  11>-




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                                           Next Service:
              Date: ························
              Miles:...................




                                    whichever occurs first                           Today's date and Volkswagen Dealer stamp



             Service at 130,000 miles
             Service at 110,000 miles or one year after last                     •   Service interval display: Reset
             service, whichever occurs first.                                   • Service sticker: Enter the date of the next serv-
             • Ad Blue® Fluid: Check and add if necessary                       ice on the service sticker and apply to the driver's
             (Passat 2.0L TDI engine only)                                      side door pillar
             • Brake pads: Check thickness and brake disc                        •   Timing Belt: Replace {2.0L TDI engine only)
             condition (front and rear)                                         • Tires: Rotate front to rear
             • Engine: Change oil and replace oil filter                        • Windshield washer, headlight deaning system,
             • Rear window: Check cleaning nozzle function-                     and wiper blades: Check for damage and function,
             ality (If applicable)                                              Check fluid level and add if necessary

                                           Next Service:
              Date: ....................... .
              Miles:.................. .




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                                           e_v~
                                              er_o
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                                                            ffi~t----------~--~To
                                                                                ~d~a~y~·s~d=at=e~a~n~d~V=o~
                                                                                                          lk=s=
                                                                                                              w=a~g=e~
                                                                                                                     n~D~e~a~l~r
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                                                                                                              Maintenance          41
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         Additional service

         Time~dependent            maintenance items
         Every 1 year:                                          Every 4 years regardless of miles driven:
         Perform visual check of airbag system.                 • Ad Blue®: Change fluid if the mileage is under
         Every 2 years:                                         10,000 miles (Passat 2.0L TDI engine only)
                                                                •   Spark plugs: Replace (2.0L MPI only)
         •   Dust and pollen filter: Replace (if applicable)
                                                                • Tire filler bottle in the lire mobility set: Replace
         • Tire filler bottle in the tire mobility set: Check   (observe expiration date)
         (observe expiration date)
                                                                Every 6 years regardless of miles driven:
         At the 3 year mark, then every 2 years regard-
         less of miles driven:                                  • Air filter element and snow screen: Replace el-
                                                                ement and clean screen and housing (if mileage is
         • Brake fluid and clutch unit: Replace. First fluid    under 60,000 miles) (if applicable)
         replacement included under the Volkswagen
         Carefree Maintenance Program if mileage is             • Spark plugs: Replace (All engines except
         less than or equal to 36,000 miles.                    2.0L MPI and TDI)                                        <1

         Every 3 years:
         • Haldex dutch: Change oil First fluid replace-
         ment included under the Volkswagen Carefree
         Maintenance Program if mileage is less than or
         equal to 36,000 miles. (Tiguan 2.0T and CC 3.6L
         4-motion only).




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•


                 Brake fluid replacement

                 Replacement record
                 • The brake fluid must be replaced every 3 years
                 regardless of mileage, and every 2 years thereafter
                 regardless of mileage driven. First fluid replace-
                 ment included under the Volkswagen Carefree
                 Maintenance Program if mileage is less than or
                 equal to 36,000 miles.

                 Brake Fluid Replacement Record

                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:


                  Date: ........................




                                                                                                   Today's date and
                                                                                               Volkswagen Dealer stamp


                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: ....... .... .. .... .... .. .




                                                                                                   Today's date and
                                                                                               Volkswagen Dealer stamp




                                                                                                            Maintenance   43
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             Brake Fluid Replacement Record

              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:

              Date: ........................




                                                                                               Today's date and
                                                                                           Volkswagen Dealer stamp


              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:

              Date: ........................




                                                                                               Today's date and
                                                                                           Volkswagen Dealer stamp


              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:

              Date: ........................




                                                                                               Today's date and
                                                                                           Volkswagen Dealer stamp




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                  Brake Fluid Replacement Record

                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: .. ................... ...




                                                                                                   Today's date and
                                                                                               Volkswagen Dealer stamp


                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: ...... ..... ... .. ..... ...




                                                                                                   Today's date and
                                                                                               Volkswagen Dealer stamp


                  A brake fluid replacement was performed on: •.•.•••.....••..•....•.•.•..••....•.•••••..
                  Next Brake Fluid Replacement:

                  Date: ..... ....... ......... ...




                                                                                                   Today's date and
                                                                                               Volkswagen Dealer stamp




                                                                                                            Maintenance   45
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•

             Brake Fluid Replacement Record


              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:


              Date: ........................




                                                                                               Today·s date and
                                                                                           Volkswagen Dealer stamp


              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:

              Date: ...................... ..




                                                                                               Today's date and
                                                                                           Volkswagen Dealer stamp


              A brake fluid replacement was performed on: ...........................................
              Next Brake Fluid Replacement:

              Date : ........................




                                                                                               Today's date and
                                                                                           Volkswagen Dealer stamp   <l




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&




                  Airbag Replacement
                  The airbag system can be deployed only once.            After an airbag has inflated it must be replaced.
                                                                          The proper replacement of airbags will be entered
                                                                          into the record by your authorized Volkswagen
                                                                          Dealer.


                    Front Airbag                                                                  right
                                                                 0       left             0
                    Side Airbag                                  left                     right

                                                                 0       front
                                                                                          0       front


                                                                 0       rear
                                                                                          0       rear

                    SIDE GUARD
                                                                 0       left
                                                                                          0       right

                    Knee Airbag (where applicable)
                                                                 0       left
                                                                                          0       right




                                                Authorized Volkswagen Dealer Stamp


                    Module replaced:                             Date:


                    Next Replacement:                            Date:




                                                                                                     Maintenance      47
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           Front Airbag
                                                    0        left
                                                                          0       right

           Side Airbag                              left                  right

                                                    0        front
                                                                          0       front


                                                    0        rear
                                                                          0       rear

           SIDEGUARD
                                                    0        left         0       right

           Knee Airbag (where applicable)
                                                    0        left
                                                                          0       right




                                     Authorized Volkswagen Dealer Stamp


           Module replaced :                        Date :

           Next Replacement:                        Date:

         L---------------------------------------------------------------~ ~




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          EXHIBIT D
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                USA Warranty and Maintenance
                (3(3, Eos, GTI, Golf, Tiguan, Passat
                Model year 2013
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                  Warranty

                  Owner’s information
                                                                         Group of America, Inc. (’~/olkswagen") also offers
                  This booklet contains the limited warranties aoDli-    you complimentary participation in the Volkswagen
                  cable to your new Volkswagen model. Please reac        Carefree Maintenance Program described in this
                  these limited warranties carefull] lo determine your   booklet.
                  warranty rights and obligauons.                         If you have a concern or you are not satisfied with
                  Your New Vehicle Limited ~rranty Includes              the service that you receive from your dealer, we
                  virtually bumper to bumper coverage for 3              suggest that you discuss it with the Service Man-
                  years or 36,000 miles, whichever occurs first          ager at your dealership, If it is not resolved through
                  and Powertrain Limited Warranty coverage for           your dealership, you may call or write to the Volks-
                  5 years or 60,000 miles, whichever occurs first,       wagen Customer CARE Center.
                  Your vehicie has a Limited Warranty Against            In the event that your authorized Volkswagen deal-
                  Corrosion Perforation for a period of 12 years         er or Volkswagen Customer CARE Representative
                  without mileage limitation                             has been unable to address the concern to your
                                                                         satisfaction, you may take advantage of BBB AU-
                  In addition, your vehicle is covered by emissions
                                                                         TO LINE, a program administered through the
                                                                         Council of Better Business Bureaus. The BBB AU-
                                                                         TO LINE program offers both mediation and arbi-
                                                                         tration services for the resolution of disputes ads-
                                                                         ing while a vehicle is under warranb].
                                                                         Complete details of Volkswageffis Customer CARE
                                                                         programs begin on ~page 16.
                                                                         ¯ Notice of Address Change
                                                                         ¯ Notice of Used Car Purchase
                                                                         The "National Traffic & Motor Vehicle Safety Act of
                                                                          1966" requires manufacturers to be in a position to
                                                                         contact vehicle owners if a correction of a safety-
                                                                         related defect or a noncompliance with an applica-
                                                                         b/e Federal motor vehicle safe(y standard be-
                                                                         comes necessary. If you change your address or
                  Customer CARE                                          buy a used Volkswagen model, complete one of
                  3800 Hamlin Road                                       the postcards In the middle of this booklet. You
                                                                         need not use this card if you purchased your
                  Telephone: t (800) 822-8987                            Volkswagen through an authorized Volkswagen
                                                                         dealer.

                  fornla Emissions Warranty coverage.
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        New Vehicle Limited Warranty

        What is covered
       Warranty period                                        Battery jump start
       The New Vehicle Limited Warranty 3eriod is 3           Flat tire service
       years or 36.000 miles, whichever occurs first.
                                                              Lock-out service
       Any implied warranty, including any implied
       warranty of merchantability or warranty of fit-        Fuel degvery service
       ness for a particular purpose, is limited in dura-     Trip interruption benefits
       tion to the period of this written warranty. Some
                                                              F~efer to the 24-Hour Roadside Assistance Owner’s
       states do not allow limitations on how long an         Guide for soeciflc details on the services prowQeQ.
       implied warranty lasts, so this limitation may
       not apply to you,                                      Where to go for warranty service
       You are required to use the BBB AUTO LINE               This iimged warranty will be honored by any au-
       procedure before pursuing any legal remedy              thorized Volkswagen dealer in the United States.
       under 15 U,S.C, 23101d) with respect to the New          nc~uamg its territories.
       Vehicle Limited Warranty, You may also be re-           If your Volkswagen model is brougi~t to an autl~or-
       quired to use the BBB AUTO LINE ~)rocedure               zed Volkswagen dealer outside the United States
       before pursuing legal remedies under your                nc~uam~c its territories, this limited warranty will not
       state lemon law, Please refer to the Consumer          apply. Defects in material or workmanship will be
       Protection Information section of this booklet         corrected under the terms of the limited warranty
       for more information.                                  for new Volkswagen vehicles in effect in that coun-
       Coverage                                               try (except Canada).
       This limited warranty covers any repair to correct ~   Warranty repairs while traveling in Canada
       manufacturers defect in matedal or workmanship         Warranty repairs while traveling in Canada should
       except wheel alignment, tire balance and the re-       be performed by an authodzed Volkswagen dea~er.
       pair or repiacement of tires.                          If your Volkswagen model is within the United
       The reoa~r or renlacement of wear and tear items.      States New Vehicie Limged Warranty, Canadian
       which are defined as brake parJs/snoes worn De-        dealers can submit a claim. Proof of United States
       low manufacturer soecifications, and brake discs       reslaence ~s rec]uired. If the Canadian dealer can-
       drums worn below manufacturer specifications, re-      not submit your c~a~m, you may be asked to 3ay for
                                                              The repair. On your return to the United States.
       year or 12.000 miles, whichever occurs first. W~per    31ease 3resent the invoice to your United States
                                                              Volkswagen dealer, who will submit a claim on
       to 6 months or 6.000 miles whichever occurs firsl      your behalf and obtain reimbursement for you.
       Original Equipment Battery                             When the warranty period begins
       Odginal equipment batteries are covered 100%           The warranty period begins on the date the vehicle
       parts and labor for 2 years or 24.000 miles, which-    is delivered to either the odg~na~ purchaser or me
       ever occurs first, for defects in material or work-    onginal lessee: or if the vehicle is first olaced in
                                                              service as a "demonstrator" or "company" car. on
                                                              the date such vehicle is first ~laced in service.
       Mechanical Adjustments
                                                              This New Vehicle LImged Warranty s automaticalty
       Mechanical adjustments not associated with a de-
                                                              transferred without cos~ if the ownershln of the ve-
       [o one year or 12.000 miles, whichever occurs f~rst     ~[cle changes within the Warranty pedod.
       (i,e. headlight adjustment).                           Free-of-charge repair
       24-Hour Roadside Assistance Services                   Repairs under this limited warrant.~ are free of
       24-Hour Roadside Assistance Services include ~ne       charge. Your authorized Volkswagen dealer will re-
       following:                                             3air the defective par~ or replace it with a new or
                                                              remanufactured genuine Volkswagen oa~.
       Towing for a mechanical breakdown or colli-



                                                                                                Warranty l 3
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                 Emergency repairs                                         A statement of the circumstances that prevented
                  If an emergency repair was performed by a non-           you from getting to an authorized Volkswagen
                 Volkswagen service facility, keep all receipts, repair    dealer, together with the paid receipts, repair or-
                 orders, and parts removed from your Volkswagen            ders, and replaced paris must be submitted to your
                 model.                                                    authorized Volkswagen dealer in order to be con-
                                                                           sidered for reimbursement.
                 You will be reimbursed if the repair work was need-
                 ed and correctly performed and it was impossible
                 or unreasonable under the circumstances to tow or
                 drive your Volkswagen model to the nearest au-
                 [horized Volkswagen aealer.


                 What is not covered
                 Tires                                                      ¯ damage or malfunctions which are the result of
                 Tires are not covered by this limited warramy, but         Improper repair of the vehicle, Installation of any
                 are separately t~arran~ea Dy the tire manufacturer.        non-Genuine Volkswagen parts that will alter the
                 To assist you in obtaining related Warranty infor-        vehicle performance speciflcaflons from those set
                 mation, a list of tire manufacturers and addresses         by the vehicle manufacturer, modifications to the
                 ~s provided at the end of this booklet. Verify with        vehicle (including the engine management sys-
                 the tire manufacturer what is covered under their         tem), accessories including but not limited to alarm
                                                                            systems, remote starters, roof racks or communi-
                                                                            cations equipment, defects or failures resulting
                 Maintenance services1) and mechanical                      from the use of new parts not sold or approved by
                 adjustments                                                Volkswagen, or used parts, or the resultant dam-
                                                                            age to associated parts or systems; or
                 This limited warranty does not cover the cost of
                 parts and labor involved in any scheduled mainte-          ¯ non-Genuine Volkswagen paris (referred to as
                                                                            Afrermarket parts), crash parts repaired due to
                                                                            damage in a collision (referred to as Remanufac~
                 This limited warranty does not cover the replace-          tured collision paris), parts obtained from another
                 ment of spark plugs, clutch discs, filters, oil, lubri-    used vehicle (referred to as salvage parts), and
                 cants, fluids, or air conditioner refrigerant cnarge,      any resultant damage to associated vehicle parts
                 unless their replacement is a necessary part of            or systems caused by the failure of the aforemen-
                                                                            tioned parts; or
                 Mechanical ad.ustments not associated with a de-           ¯ damage or malfunctions wh[cfl were caused by
                 fecl in material or workmanshio are no[ covered af-        the alteration of the vehicle, in particular any major
                 ter the first year or 12.000 miles, wmcnever occurs        or structural alterations including but not limited to
                 first g.e. headlight adjustmenD. This limited warran-      the conversion of the vehicle to a convertible or the
                 t~ does not cover wheel alignment or tire balanc-          modification of the roof to accommodate a glass
                  ng.                                                       roof structure or other similar structural alterations;
                                                                           or
                 Damage or malfunctions due to misuse,
                 negligence, alteration, accident or fire                   ¯ damage or malfunctions caused by using con-
                                                                           taminated or improper fuel, intentional or uninten-
                                                                           tional mlsfueling; or
                                                                            ¯ damage or malfunctions caused by collision or
                                                                           modifications of the vehicle, including but not limit-
                                                                           ed to the installation of engine management com-
                                                                           ponents not approved by Volkswagen; or
                                                                            ¯ damage or malfunctions resulting from the use
                                                                           of the vehicle in competitive events or caused by
                                                                           accident or fire; or                                   ¯
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        ¯ damage or ma{functions resulting from contin-           If the speedometer unit is replaced, a "Speedome-
        ued operation of the vehicle after a warning light,       ter Replacement Record" must be tilled out by an
        gauge reading or other warnings indicate a                authorized Volkswagen dealer.
        chanical or operational problem; or
                                                                  Other expenses
        ¯ damage or malfunctions due to suspension
        modifications, including hut not limited to the instal-   This limited warranty does not cover any inci-
        lation of aftermarket springs, shock absorbers, or        dental or consequential damage, including loss
        lowering kits.                                            of value of the vehicle, lost profits or earnings,
                                                                  and out-of-pocket expenses for substitute
         This limited warranty does not cover vehicles se-        transportation or lodging1).
         verely damaged or declared to be a total loss by
         an insurer or vehicles substantially re-assembled        This limited warranty gives you specific legal rights
        from or repaired with pads obtained from another          and you may also have other rights, which vary
         used vehicle (referred to as salvage parts).             from state to state.

         Damage or malfunctions due to lack of                     Other terms
         maintenance                                              This New Vehicle Limited warranty is issued by
        This limited warranty does not cover damage or            Volkswagen. This limited warranty eoes no[ apply
         malfunctions due to failure to follow recommended        to Volkswagen vehicles or parts and accessories
        maintenance and use requirements as set forth in           not tmported or distributed by Volkswagen.
        the Volkswagen Owners Manual and the Mainte-              This warranty, the Limited Warranty Against
        nance section of this booklet.                            Corrosion Perforation, the Powertrain Limited
                                                                  Warranty and the Emissions Warranties are the
        Your dealer will deny warranty coverage unless
        you present to the dealer proof in the form of Serv-      only express warranties made In connection
                                                                  with the sale of this Volkswagen model. Any
        ice or Repair Orders that all scheduled mainte-
        nance was performed in a timely manner.                   implied warranty, Including any warranty of
                                                                  merchantability or warranty of fitness for a par-
        Damage caused by the environment                          ticular purpose, is limited in duration to the
                                                                  stated period of these written warranties.
        This limited warranty does not cover damage
        caused by airborne industrial pollutants (e.g. acid       Some states do not allow limitations on how long
        rain), bird droppings, stones, floodwater, wind-          an implied warranty lasts, so, the above limitation
        storms, tree sap or other similar occurrences.            may not apply to you.
        Glass                                                     Volkswagen reserves the right to make improve-
                                                                  ments or change the design of any Volkswagen
        This limited warranty does not cover glass break-         mode] at any time with no obligation to make simi-
        age, unless due to a defect in manufacturers mate-
        rial or workmanship.                                      lar changes on vehicles previously sold.
                                                                  Neither Volkswagen nor the manufacturer as-
        Odometer tampering                                        sumes, or authorizes any person to assume
        These limited warranties do not cover repairs on a        any other obligation or liability on Its behalf.
        Volkswagen model on which the odometer has
        been altered or on which the actual mileage cannot
        readily be determined.




                                                                                                Warranty       5
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                 Powertrain Limited Warranty

                 What is covered
                Warranty period                                            If your Volkswagen model is brought to an author-
                The coverage under this warranty lasts for 5 years        ized Volkswagen dealer outside the United States,
                or 60,000 miles whichever occurs first, from the          including its territories, this warranty will not apply.
                date the vehicle was first placed in service.              Defects in material or workmanship will be correct-
                                                                          ed under the terms of the limited warranty for new
                This limited warranty does not apply to vehi-             Volkswagen vehicles in effect in that country (ex-
                cles used for commercial purposes including               cept Canada).
                but not limited to taxi, courier or degvery serv-
                ice, or limousine.                                        Warranty repairs while traveling in Canada
                If a commercial vehicle ls sold to a subsequent           Warranty repairs while traveling in Canada should
                retail owner, this warranty still does not apply.          be pedormed by an authorized Volkswagen dealer.
                                                                           If your Volkswagen model is within the United
                Any implied warranty, including any implied                Slates Powertrain Limited Warranty, Canadian
                warranty of merchantability or warranty of fit-            dealers can submit a warranty claim. Proof of Unit-
                ness for a particular purpose, is limited in dura-         ed States residence is required. If the Canadian
                tion to the period of this written warranty. Some          dealer cannot submit your warranty claim, you may
                states do not allow limitations on how long an             be asked to pay for the repair. On your return to
                implied warranty lasts, so this limitation may             the United States, please present the invoice to
                not apply to you,                                          your United States Volkswagen dealer, who will
                 Coverage                                                  submit a claim on your behalf and obtain reim-
                                                                           bursement for you,
                 The Power~rain Limited Warranty covers any repair
                 to correct a manufacturers defect in n~aterial or        When the warranty period be~lins
                 workmanship for the following Volkswagen parts           The warranty period begins on the date the vehicle
                 and components:                                          is delivered to either the original purchaser or the
                 Engine: Cylinder block and all internal parts, cyl-      original lessee; or ffthe vehicle is tint placed in
                        inder head and all internal parts, valve train,   service as a "demonstrator" or "company" car, on
                        spur belt, flywheel, oil pump, water pump,        the date such vehicle is first placed in service.
                        manifolds, all related seals and gaskets.         The Powertrain Limited Warranty is automatically
                 Transmission: Case and all internal parts, torque        transferred without cost if the ownership of the ve-
                        converter, all related seals and gaskets.         hicle changes within the Warranty period.
                 Drtvetrain: Differential and all internal parts, drive
                        shafts and constant velocity (CV) joints.         Free-of-charge repair
                                                                          Repairs under this warranty are made free of
                 Where to go for warranty service                         charge. Your authorized Volkswagen dealer will re-
                 This limited warranty will be honored by any au-         pair the defective pad or replace it with a new or
                 thodzed Volkswagen dealer in the United States,          remanufactured genuine Volkswagen part.
                 including its territories.




                       6       USA Warranty and Maintenance
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        What is not covered

        Maintenance services
        This limited warranty does not cover the cost of
        parts and labor involved in any scheduled mainte-
        nance sen/ice. Scheduled maintenance sen4ces
        are described in the maintenance section of this          uee operation of the vehicle after a warning light,
        booklet. Also see the Volkswagen Carefree Main-           gauge reacllng or other warnings indicate a me-
        tenance Program outlined in the maintenance sec-          chanical or operational problem: or
        tion of this booklet.                                     ¯ ~amage or malfunctions due to suspension
        This limited warranty does not cover the replace-         modifications, including but not limited to the instal-
        ment of filters, oil, lubdcants or fluids unless their    lation of aftermarket spnngs, shock absorbers, or
        replacement is a necessary part of warranty sen/-         lowering K~ts
        ice on a covered component.                               This warranty does not cover vehicles severely
        Damage or malfunctions due to misuse,                     eamaged or declared to be a total loss by an insur-
        negligence, alteration, accident or fire                  er or vehicles substantially "e-assembled from or
                                                                  repaired with harts obtained from another used ve-
        This limited warranty does not cover:                     hicle ~referred to as salvage paris}.
         = damage or malfuncflons which are the result of
                                                                  Wear and tear items
         improper repair of the vehicle, installation of any
         non-Genuine Volkswagen parts that will alter the         This limited warranty does not cover the reo~ace-
        vehicle performance specifications from those set         mellt of arly 3owenraln components that wear as a
         by the vehicle manufacturer, modifications to ~nE        result of normal use or detedorauon.
        vehicle (including the engine management sys-             Damage or malfunctions due to lack of
        tem), accessories including but not limited to alarm
         systems, remote starters, roof racks or communi-         maintenance
        cations equipment, defects or failures resulting          This limited warranty does not cover damage or
        from the use of new parts not sold or approvea Dy         malfunctions which are due to failure to follow rec-
        Volkswagen, or used parts, or the resultant dam-
        age to associated parts or systems; or                     in the Volkswagen Owner’s Manual and the main-
                                                                  tenance section of this booklet, Your dealer will de-
         ¯ non-Genuine Volkswagen parts (referred to as
                                                                   ny warranty coverage unless you 3resent to the
        Affermarket parts), crash parts repaired due to           dealer proof in the form of service or repair orders
        damage in a collision (referred to as Remanufac-
        tured collision parts), parts obtained from anothe~       that all scheduled maintenance was 3erformed in a
        used vehicle (referred to as salvage parts), and          timety manner.
        any resultant damage to associated vehicle Dar~s          Damage caused by the environment
        or systems caused by the failure of the aforemen-
                                                                  This limited warranty eoes not cover namage
        tioned parts; or                                          causea Dy airborne indus~na pollutants (e.g. acid
         ¯ damage or malfunctions which were caused oy            rain), bird droppings, tree sap. stones, flood water.
        the alteration of the vehicle, in particular any major
        or structural atteraflons including but not limited to
        the conversion of the vehicle to a convertible or the     Other expenses
        modification of the roof to accommodate a glass           This limited warranty does not cover any inci-
        roof structure or other similar structural alteraflons:   dental or consequential damage, including loss
        or                                                        of value of the vehicle, lost profits or earnings,
         ¯ damage or malfunctions caused by using con-            or out-of-pocket expenses for substitute trans-
        taminated or improper fuel, intentional or uninten-       portation or lodging~
        tional misfueling; or                                     The Other Terms" presented in the New Vehicle
        ¯ damage or matfonctions caused by collision or           Limited Warranty also apply to this warranty.
        modifications of the vehicle, including but not limit-
        ed to the installaflon of engine management com-
        ponents not approved by Volkswagen; or




                                                                                                  Warranty J 7
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                 Limited Warranty Against Corrosion Perforation

                 What is covered

                 Warranty period                                             States Limited WarrantyAgainst Corrosion Perfo-
                                                                             ration, Canadian dealers can submit a warranty
                 The coverage under this limited warranty lasts for
                 12 years without mileage limitation.                        claim. Proof of United States residence is required.
                                                                              If the Canadian dealer cannot submit your warran-
                 Any implied warranty, inctuding any implied                 ty claim, you may be asked to pay for the repair.
                 warranty of merchantability or warranty of fit-              On your return to the United States, please present
                 ness for a particular purpose, is limited in dura-          the invoice to your United States Volkswagen deal-
                 tion to the period of this written warranty, Some            er, who will submit a claim on your behalf and ob-
                 states do not allow limitations on how ong an               tain reimbursement for you.
                 implied warranty lasts, so this limitation may
                 not apply to you,                                           When the warranty period begins
                 Neither Volkswagen nor the manufacturer as-                 The limited warranty period begins on the date the
                 sumes, or authorizes any person to assume,                  vehicle is delivered to either the original purchaser
                 any other obligation or liability on its behalf,            or the original lessee; or if the vehicle is first placed
                                                                             in service as a "demonstrator" or "company" car, on
                 Coverage                                                    the date such vehicle is first placed in service.
                 This limited warranty covers any repair or rep~ace-         This Limited Warranty Against Corrosion Perfora-
                 "nent of body sheet metal panels that have been             tion is automatically transferred without cost if the
                 perforated by rust from the inside out.                     ownership of the vehicle changes within the war-
                                                                             ranty period.
                 Where to go for warranty service
                  This limited warranty will be honored by any au-           Free-of-charge repair
                 morized Volkswagen dealer in the United States,             Repairs under this limited warranty are made free
                 including its territories,                                  of charge. An authorized Volkswagen dealer will
                  If your Volkswagen model is brought to an author-          repair the defective part or replace It with a new or
                  ized Volkswagen dealer outside the United States,          remanufactured genuine Volkswagen part,
                  including [s territories, this limited warranty will not        Your Volkswagen model is corrosion protect-
                 apply. Defects in material or workmanship will be           {~ed at the factory. You do not need to pur-
                  corrected under the terms of the warranty for new          chase rustproofing when you buy your Volkswagen
                  Volkswagen vehicles in effect in that country (ex-         model in order to keep this warranty in effect.
                  ceDt Canada),
                  Warranty repairs while traveling in Canada
                  Warranty reDairs while traveling in Canada should
                  be Derformed by an authorized Volkswagen dealer.
                  If your Volkswagen model is within the United
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       What is not covered
       Surface corrosion without perforation                    It does not cover corrosion perforation resulting
       Repairs are covered under this limited warranty on-      from the use of any inferior rustprooflng agent or
       ly if there is a rust-through condition in the body      method.
       sheet metal not caused by outside influences.            Your authorized Volkswagen dealership will do its
                                                                best to match your vehicles odginal finish, but this
       Perforation of sheet metal due to accident,              limited warranty does not cover the cost of painting
       lack of care, or failure to repair or                    the entire vehicle solely for paint matching.
       modifications to the paint/painted surface
       This limited warranty does not cover corrosion per-      Environmental damage
       foration resulting from the failure to promptly repair   This limited warranty does not cover damage
       paint damage, damaged undercoating, or surface           caused by airborne industrial pollutants (e.g. acid
       corrosion.                                               rain), bird droppings, stones, flood water, wind
       It does not cover damage due to failure to wash or       storms, tree sap or other similar occurrences.
       otherwise regularly care for the vehicle as descrb       Corrosion perforation because of failure to
       bed in the Volkswagen Owner’s Manual.                    rustproof when collision damage is repaired
       This limited warranty does not cover corrosion per-      Body par~s that have been repaired or new~y ~nstal-
       forafion resu[fing from unrepaired collision damage      led after a collision must be treated with a rust-
       or improper collision repair.                            proofing agent that is compatible with Volkswa-
                                                                gen’s own factory corrosion protection. If you fail to
        Special exclusion for any aluminum                      have your vehicle treated in this way after a colli-
        portions that may he part of your                       sion, Volkswagen will not be responsible for the re-
       Volkswagen vehicle                                       pair of any resulting rust-through.
       This limited warranty does not cover corrosion per-
       foration due to failure to perform body repairs in              The "Other Terms" presented in the New
                                                                [~ hicle Limited Warranty also apply to this war-
       accordance with Volkswagen’s specified repair pro-
       cedures, including use of non-aluminum alloy             ranty.
        parts.




                                                                                               Warranty       9
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                  Federal Emissions Warranties

       .... .     Genera
                  The Emissions Warranties set out on the following            sion Vehicle (PZEV) emission requirements, as
                  pages are warranties which the manufacturer is re-           identified on the Vehicle Emission Control Informa-
                  quired by aw to furnish to you at the time you take         tion Label located under the hood. Therefore, the
                  detivery of your new vehicle. These coverages may            owner of a Volkswagen model equipped to meet
                  a~so oe ncluded In the Volkswagen 3 years /                  California’s PZEV emissions requirements and im-
                  36.000 miles New Vehicle Limited Warranty.                   ported and distributed by Volkswagen for sale and
                  The warranties required by federal laws apply to all         registration in New York may have warranty rights
                                                                               under both Federal and state mandated emissions
                  new Volkswagen vehicles imported and distributed
                                                                               warranties.
                  by Volkswagen of America, inc., an operating unit
                  of Volkswagen Group of America. Inc, I"Volkswa-              Please read these warranties carefully, if you have
                  gen") for sale in the United States, including its ter-      any questions concerning the applicability of each
                  ritories. The warranties required by the State of            warranty to your vehicle or want to know whether a
                  California law apply to all new Volkswagen vehi-             particular repair will be pedormed free of charge
                  cles ~mported and distributed by Volkswagen for              pursuant to these warranties, please write, to or tel-
                  sale and reg~stra0on in the State of California,             ephone:
                  Connecticut. Maine. Maryland, New Jersey, Ore-
                                                                              Volkswagen Group of America, In.
                  gon Rhode Island Vermont. Washington and the
                  Commonwealths el Massachusefts and Pennsylva-               Customer CARE
                                                                              3800 Hamlin Road
                  nia. Therefore the owner of an above mentioned
                                                                              Auburn Hills, M148326
                  vehicle may have warranty rights under both Fed-
                  eral and State mandated emissions warranties                Tek: 1 (800) 822-8987
                  The State of New York has adopted emissions                 Refer to the California Emissions Warranty
                  warranty requirements identical to California man-          Supplement for additional information on Cali-
                                                                              fornia Emissions Warranty coverage.
                  dated emissions warranties ONLY for vehicles
                  equipped to meet California’s Padial Zero Emis-


                  Federal Emissions Control System Defect Warranty

                  For 2 years or 24,000 miles
                  Volkswagen of Amedca, Inc., an operating unit of            A warranted part is any part installed on a motor
                  Volkswagen Group of America. Inc. ("Volkswa-                vehicle or motor vehicle engine by the vehicle or
                  gen") [ne autnodzed United States importer of               engine manufacturer, or installed in a warranty
                  Volkswagen vehicles warrants to the odginal retail          pair, which aftects any regulated emission from a
                  pUrChaser or original lessee ana any subsequent             motor vehicle or engine which is subject to EPA
                  ourcnaser or essee mat every model year 2013                emission standards. The following parts or systems
                  Volkswagen vehicle imported by Volkswagen:                  listed, if defective, could cause the vehicle to fail to
                                                                              conform with EPA regulations:
                   ¯ was aesigned, built and equipped so as to con-
                  form at the time of sale with all applicable regula-        ¯ Evaporative Emission Control System: includ-
                   tions of the United States Environmental Protection        ing fuel tank, filler cap, 811er neck and leak detec-
                  Agency (EPA). and                                           tion pump
                   ¯ is free from defects in material and workman-            ¯ Exhaust System: including manifolds, turbo-
                   ship which causes the vehicle to fail to conform           chargers, catalytic converters, down pipes and par-
                   with EPA regulations for 2 years after the date of         ticulate filter
                   first use or delivery of the vehicle to the original re-   ¯ EGR System: including valves, pipes and cool-
                  ~as been driven 24 000 miles, whichever occurs
                  first.
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        ¯ Fuel Injection System: including control moa-        The ob gafion of Volkswagen under this warranty
        ules. sensors, switches, valves and fuel lines         is [imged. however to the following: if within this
        ¯ Intake System: including camshaft ad.uster           period a defect In material or workmanship causes
        units sensors, manifold, pipes and control valves      the vehicle to fail to conform with EPA regulations
                                                               and the vehicle is brought to the workshop of any
        ¯ Ignition System: including coils and sensors         authorized Volkswagen dealer in the United States
        ¯ OBD System: including Malfunction Indicator          including its terdtodes the dealer will make repairs
        Lamp ’MIL1 and Data Link Connector (DLC)               as may be required by these regulations free of
        ® PCV Sys[em: mc~uamg control valves and               charge.
        pipes
        ¯ Secondary Air Injec0on System: including a~r
        pump and control valves
        ¯ Emission-related hoses gaskets, clamps and
        other accessories used with the above COmDO-




        For 8 years or 80,000 miles
         If the vehicle has been in use for more than 24       ¯ Catalytic Converter and Particulate Filter
         months or 24,000 miles, but less than 8 years or      ¯ Engine Electronic Control Module
        80.000 miles, whichever occurs firs[, your Volkswa-    ¯ On Board Diagnostic Device (OBD)
        gen dealer will repair or replace free-of-charge the
        following major emission control componen[s only:



        Federal Emissions Performance Warranty

        For 2 years or 24,000 miles and 8 years or 80,000 miles
        Volkswagen of Amedca. Inc.. an operagn£ unit of        fails an InsDecfion and Maintenance test or insoec-
        Volkswagen Group of America. Ino. t"Volkswa-           tion resulting from a malfunction of a catalytic con-
        gen ), warrants to the odginal retal purcnaser or      verier, particulate filter engine electronic control
        original lessee of a model year 2013 Volkswagen         module or on board diagnostic device (OBDI and
        vehicle and any subsequent purchaser or lessee ol       ¯ thefailureofthelnspectionandMaintenance
        the vehicle that if the following conditions are met   test of inspection requires the vehicle owner to
        any authorized Volkswagen dealer in the United         oear any penalty or other sanction, including the
        States. including its territories, will remedy any     denial of the dght to use the vehicle under Ioca
         nonconformity, as determined below free of            state or fodera law. and
        charge, under the following conditions:                 ¯ the vehicle has been maintained and operated
         ¯ the vehicle falls fo conform at any time during     in accordance with Volkswagen’s instructions for
        24 months or 24.000 miles, whichever occurs firs[      proper maintenance and use.
        to aoolicable emission inspection standards as de-
        termined by an EPAApproved State Insoect[on
        and Maintenance test or insoecfion, or
         ¯ f the vehicle has been in use for more than 24
         "nonths or 24.000 miles but less than 8 years or
        80.000 miles, whichever occurs firs[, the vehicle




                                                                        Federal Emissions Warranties
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                 Performance Warranty claim approval

                                                                           structions for scheduled maintenance and proper
                 ately after your vehicle has failed an Inspection         use, Volkswagen may require you to furnish proof
                 and Maintenance test or inspection if, as a result of    of compliance only with those maintenance instruc-
                  that failure, you are required by law to repair the     tions which Volkswagen has reason to believe
                 vehicle to avoid imposition of a penalty or cancella-    were not performed and which could be the cause
                  tion of your right to use the vehicle. You need not     of the Inspection and Maintenance test or inspec-
                 ac~ua y suffer the loss or lose the dght to use your     tion failure,
                 vehicte or pay for the repair before presenting your
                                                                          Volkswagen may deny an emission performance
                 ctaim,                                                   warranty claim on the basis that a replacement
                 Claims may De presented only by bdnging your ve-          part not certified by the EPA was used in the main-
                  hicle to any authorized Volkswagen dealer in the        tenance or repair of the vehicle if Volkswagen can
                  United States. mc~uamg its territories. The dealer       prove that the non-certified part is either defective
                 will honor or deny your claim within a reasonable         in mafarials or workmanship, or not equivalent from
                 t~me. no[ ~o exceed thirbj (30) days, from the time      an emission standpoint to the original part, and you
                 at which your vehicle is presented for repair or         are not able to offer information that the part is ei-
                 within any time pedod specified by local, state or       ther not defective or equivalent to the original part
                  Federal ~aw. whichever is shorter, except when a        with respect to its emission performance.
                 delay is caused by events not attributable to Volks-     Volkswagen will not deny a claim relating to
                 wagen or the dealer. If the dealer denies your
                 claim, you will be notified n wdting of the reasons       ¯ warranty work or pre-delivery service per-
                  tot rejecting the claim. [f you do not receive notice   formed by an authorized Volkswagen dealer, or
                 of denial of your claim within the above time peri-       ¯ work performed in an emergency to rectify an
                 od. Volkswagen is required by law to honor the           unsafe condition attributable to Volkswagen, pro-
                 claim.                                                   vided you have taken steps in a timely manner to
                  Under certain circumstances, your claim may be          put the vehicle back into a conforming condition, or
                 aen~ea because you have failed to comply with in-         ¯ the use of an uncertified part or fa noncompli-
                 structions for scheduled maintenance contained in        ance with the instructions for proper maintenance
                 your Volkswagen Maintenance bookleb In defar-            and use, which is not related to the Inspection and
                 mining whether you have complied with the in-             Maintenance test or inspection failure.




                       12 I USAWarranty and Maintenance
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        Additional Information About Your Federal Emissions
        Warranties
        Warranty period                                            EPA certified replacement parts
        The warranty period begins on the date the vehicle         Maintenance, repair, or replacement of emission
        is delivered to the original retail purchaser or origi-    control devices and systems may be performed by
        nal lessee, and any subsequent purchaser or les-           any automotive service and repair establishment or
        see or, if the vehicle is first placed in service as a     qualified individual using Environmental Protection
        demonstrator or company demonstrator or compa-             Agency ("EPA") cerlified replacement parts.
        ny car prior to delivery, on the date it is first placed
        in service.                                                Maintenance and repairs performed by
                                                                   independent service shops
        Proper maintenance and use                                 Without invalidating these warranties, you may
        instructions for proper maintenance are contained          choose to have maintenance, repair or replace-
        in the maintenance section of this booklet. Time           ment of emission control components performed
        and mileage inter~als, at which maintenance is to          by any automotive service establishment or individ-
        he performed, may vary from model to model.                ual qualified to perform such services. However,
        Volkswagen recommends you keep a record of                 the cost of such services is not covered by these
        scheduled maintenance by having your mainte-               warranties except in emergencies, ffthe Indepeno-
        nance booklet validated at the approximate time or         ent service establishment finds a warrantable de-
        mileage intervals by the authorized Volkswagen             fect, you may deliver the vehicle to an authorized
                                                                   Volkswagen dealer and have the defect corrected
        dealer or other sewice facility that performed the
         maintenance. If you perform the maintenance               free of charge. Volkswagen will not be liable for
                                                                   any expenses, which you have incurred at the
        yourself, keep all documentation as proof you have
         performed the maintenance at the approximate               independent service establishment, except for
                                                                   emergency repairs. See ’*Emergency Repairs" for
        time or mileage inten/als recommended, that you
                                                                   further details.
         have used proper parts, and that you were able to
         perform the maintenance properly.                          Parts not scheduled for inspection or
         Failure to maintain your vehicle according to the in-      replacement
         structions for proper maintenance may cause the           Any part, which is not scheduled for inspection or
        vehicle to exceed applicable emissions standards            replacement at maintenance intervals specified in
         and could result in denial of warran[y coverage.          the maintenance section of this booklet, is covered
         However, Volkswagen will not deny a warranty               by this warranty for the full warran~t period.
         claim solely on the basis of your failure to maintain
        the vehicle according to the instructions or failure       Scheduled part inspection or replacement
        to keep a record of maintenance.                           A part scheduled only for inspection in accordance
         Instructions for proper use of the vehicle are con-       with Volkswagen’s instructions or required sched-
         tained in your Volkswagen Owner’s Manual.                 uled maintenance is covered for the duration of
                                                                   these warranties.
        Use of Genuine Volkswagen Parts                            A part installed In accordance with Volkswagen’s
        Volkswagen recommends that Genuine Volkswa-                instructions or required scheduled maintenance is
        gen parts be used as replacement parts for the             warranted until the next scheduled replacement in-
        maintenance, repair or replacement of emission             terval or for the duration of these warranties.
        control systems. Use of replacement parts which
        are not equivalent to Genuine Volkswagen parts in          Damage to non-warranty parts
        emission performance and durability may impair             If failure of a warranted par[ causes damage to a
        the effectiveness of emission control systems. Al-         part not covered by warranty, the non-warranted
        though use of parts other than Genuine Volkswa-            part will also be replaced free of charge.
        gen parts does not invalidate these warranties,
        Volkswagen assumes no liabi]i{y under these war-           Warranty repairs while traveling in Canada
        ranties for failure of such parts and damage to oth-       Warranty repairs while traveling in Canada should
        er parts caused by such failure.                           be performed by an authorized Volkswagen dealer
                                                                   If your Volkswagen model is within the United
                                                                   States Federal Emissions Warranties, Canadian




                                                                            Federal Emissions Warranties        13
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                 dealers can submit a claim. Proof of United States       ing the specifications set forth in the OwneCs Man-
                 residence is required, if the Canadian dealer can-       ua], and abuse, neglect or improper maintenance
                 not submil your claim, you may be asked to pay for       of the vehicle. Diagnosis and repair of such dam-
                 the repair. On your return to the United States,         age are at the expense of the owner.
                 p~ease present the invoice to xour United States
                 Volkswagen dealer, who will submit a cla ~n on           Implied warranties
                 your behalf and obtain re l~bursement for you.           Any implied warranty, including any warranty
                                                                          of merchantability or warranty of fitness for a
                 Emergency repairs                                        particular purpose, is limited in duration to the
                 Emergency repairs performed by a non-Vo]kswa=            stated period of these written warranties,
                 gen service facility will be reimbursed if the repair
                 work was needed and correcfiy performed, and it          incidental and consequential damages
                 was impossible or unreasonable under the circum-         These warranties do not cover any incidental or
                 stances to tow or drive your Volkswagen model to         consequential damages, including loss of re-
                 the nearest authorized Volkswagen dealer. The            sale value, lost profits or earnings, and out-of-
                 ~aximum reimbursement allowable is an amount             pocket expenses for substitute transportation
                 equal to the cost if your authorized Volkswagen          or lodging.
                 dealer had completed the repair(s). Reimburse-
                                                                           Some states do not allow the exclusion or limita-
                 ment will be considered when you submit the fol-         tion of incidental or consequential damages, so
                 lowing items to your authorized VolKswagen peal-         this limitation or exclusion may not apply to you.
                 er:
                 ¯ A statement explaining the circumstances that                 In the event you have not received the
                                                                          [~ services promised in these warranties,
                 prevented you from getting to an authorized Volks-
                                                                           please follow the procedures described in this
                 wagen dealer.                                             booklet under the title "Customer CARE". You
                 ¯ Repair order(s) and                                     may obtain further information regarding the Emis-
                 ¯ Part(s) removed from your Volkswagen model.             sions Performance Warranty or report violation of
                                                                           the terms of the Emissions Detect or Performance
                  Damage caused by tampering, use of                      Warranty by contacting: US Environmental Protec-
                  improper fuel, abuse, neglect and improper              tion Agency, Compliance and Innovation Strategy
                  maintenance                                              Division, Attention: Emissions Warranty Claims,
                  These warranties do not cover any damage to the         2000 Traverwood Rd., Ann Arbor, M148105.
                  vehicle caused by tampering with emission con-
                  trois, use of fuel containing lead. or fuel not meet-




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        Kansas Safety Belt Limited Warranty

        Information about Kansas Safety Belt Limited Warranty
        Applicable only to vehicles sold or registered         This limited warranty does not cover the tee ace-
        in the State of Kansas                                 ment of safety belts and safa~y belt components:
        For vehicles sold or registered in the State of Kan-    ¯ if damage or failure was due to misuse, altera-
        sas, safety belts and related safety beg compo-        tion. accident, or collision: or
        nents are wa~anfad against defaces in workman-          ¯ Due to color fading, spotting, or other cosmetic
        ship and materials for a period of ten (10) years,     problems when the safety belt is otherwise func-
        from the vehicle’s original in-service date, regard-   tioning properly.
        less of mileage.




                                                                Kansas Safety Belt Limited Warranty I 15
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                  Customer Care

                  Volkswagen dealer assistance
                   if you have questions about your vehicle or the        It is their business to be concerned about your sat-
                   service you have received, we suggest that you         isfaction and goodwill Because they are closest to
                  first discuss them with the sewice personnel at        the situation, they are in the best position to quickly
                  your authorized Volkswagen dealer. You may want         resolve any concerns you may have.
                  to sDea~ to the Service Manager or directly to the
                  owner of the dealersl~ p.



                  Volkswagen corporate assistance
                   [f your concerns are not resolved to your safisfac-   When you call or write, please provide the follow-
                  t~on ~y the dealer, please contact Volkswagen by       ing information:
                  calling our toil-free number:
                                                                         ¯ Your name, address and telephone number
                  Tel.: 1 (800) 822-8987                                 ¯ Vehicle Identiflcagon N umber (VIN)
                  If you prefer to write, please use the following ad-   ¯ Vehicle mileage
                                                                         ¯ Dealer name
                  Volkswagen Group of America, Inc.                      ¯ Nature of col~cern or problem
                  Customer CARE                                          ¯ Copies of repair orders or pertinent docu-
                  3800 Hamlin Road                                       ments (if you are writing to us)
                  Auburn Hills, MI 48326
                                                                         A Volkswagen Customer CARE Representative, in
                  You can also contact us using our [nternet             conjunction with your authorized Volkswagen deal-
                                                                         er, will work with you to carefully review all facts re-
                  httD:/ht~VW.VW.COm                                     lating to your request,
                  Simply click on "Contact Us".
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        Repairs not covered by warranty
        In some circumstances, Volkswagen of America,          In other instances, Volkswagen may offer assis-
        Inc., an operating unit of Volkswagen Group of         tance with a repair Deyono warr~nly on a case-by-
        America, Inc. ("Volkswagen") may offer financial       case basis. If you believe that ),our vehicle needs a
        assistance toward repairs or expenses not covered      repair not covered by warranty which Volkswagen
        by Volkswagen’s New Vehicle Limited Warranties.        should pay for in part or in whole please discuss
                                                               the request with your dealer. If you are not satisfied
        In certain instances, Volkswagen may pay for such      with your dealer’s decision, please contact Volks-
        repairs in accordance with the terms of service ac-
        tion campaigns it will conduct from time to time. In   wagen Customer CARE by telephone or in writing.
                                                               Your request should provide the Vehicle Identifica-
        the event of a service action, Volkswagen will noti-
        fy you by mail and request that you bring your ve-     tion Number, the mileage, maintenance history and
        hicle to your nearest authorized Volkswagen dealer     an explanation of why you believe that the reoa~r
        for repair free of charge,                             should be performed free of charge. Your request
                                                               should be accompanied by all available mainte-
        ]f you have not recently changed your address and      nance and repair records which you have retained.
        Volkswagen fias your current address on file, you      A Customer CARE Representative will review your
        will receive notification automatically, If you are    request and advise you of our decision.
        concerned that you may not have received notice
        concerning a particular service action, please
        check with your dealer to determine whether your
        vehicle is eligible for any repair free of charge,
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                               Consumer Protection Information
                               BBB AUTO LINE Dispute Resolution

                               Informal dispute mechanism

                                if your authorized Volkswagen dealer or Volkswa-        tua=~y acceptable resolution. If you do not agree
                                gen Customer CARE Reoresentafive has been un-           with the mediated solution, you may request an ar-
                                able to satisfactorily address your concern, Volks-      bitration hearing.
                               wagen offers addgional assistance through BBB            Arbitrafion Is a orocess By which an impartial per-
                               AUTO LINE. a disoute resolution program adminis-          son makes a decision on your claim. The arbitra-
                               tered by the Council of Better Business Bureaus.
                                                                                         tors are not connected with the automobile industry
                               The BE~B AUTO LINE program is free of charge to           and serve on a voluntary basis. You may attend
                               you but there are some vehicle age and mileage            the bearing ~n person, bring witnesses, and give
                                imitations, so please call BBB AUTO LINE for             supporting evidence. Instead of appearing in per-
                               more details:                                             son, you may reques[ a Wrl[[en or even a tele-
                                                                                         Dhone arbitration headng. The BBB shall make
                               Tel.: 1 (800) 955-5100                                    ery effort to obtain a final resolufion of your claim
                               If you call BBB AUTO L NE, please be preoared to          within 5 business days of the headng (that is, with-
                                orovide the following informafion:                        n 40 days of when your claim was filed), unless
                                                                                         state or Federal law provides otherwise. You then
                               ¯ Your name and address                                   nave the opportunity to accept or reject the deci-
                               ¯ The Vehicle Idenfificafion Number (VIN)                 sion
                               ¯ The make. mode and mode yearofyourvehi-                ¯ If you accept the decision, the manufacturer will
                               cle                                                      be bound by the decision and will be required to
                               ¯ The delivery date and current mileage of your          fulfill ~[s oDl~gafion within the time frame specified
                               vehicle                                                  by the arbitrator,
                               ¯ A descripfion of the concern with your vehicle         ¯ If you reject the decision, you are free to pursue
                                                                                        other legal remedies available under state or feder-
                               The BBB AUTO LINE program consists of two                al law, and the manufacturer will not be required to
                               parts: mediation and arbitration, Mediation means
                                                                                        comply with any part of the decision.
                               that BSB staff will facilitate negotiations between
                               the parties in an effort to bring your claim to amu-


                               State-Specific Warranty Enforcement Laws

                               Local laws

                                Each state has enacted warranty enforcement             nity to make any needed repairs before you pursue
                                laws (commonly referred to as "lemon laws") that        other remedies provided by that state’s law (in all
                               permit owners to obtain a replacement vehicle or a       other states where not specifically required by
                                refund of the purchase price under certain circum-      state law, Volkswagen requests that you provide
                               stances. Although the provisions of these laws           the written notification). Send written nofificafion to:
                               va~ from state to state, their intent is to provide
                                                                                        Volkswagen Group of America, Inc.
                               owners with certain rights if they experience signifi-
                                                                                        Customer CARE
                                cant service-related difEculfies with their new vehi-
                               cle.                                                     3800 HamBn Road
                                                                                        Auburn Hills, M148326
                                IMPORTANT NOTICE: TO the extent allowed by
      ¯~:                       each state’s law, Volkswagen requires that you first    IMPORTANT NOTICE: Depending on the state’s
          i::i: : :             send written notification to Volkswagen explaining      law, you may also be required to submit your com-
                         ¯                                                              plaint to BBB AUTO LINE before seeking other
   ¯      : : . : ~.: ~        the nonconformity that you have experienced with
    .: i ¯ "i: : ~ . i ;-:.i   the vehicle, and to allow Volkswagen the oppor~u-        remedies. Please refer to the BBB AUTO LINE



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             ’ ....        i
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        Dispute ReSOIL~ion section of this booklet for more       Because each state has enacted specific provi-
        information about the BBB AUTO LINE dispute               sions as part of its lemon law, Volkswagen sug-
        resolution program.                                       gests that you research and th[Iow the laws in your
                                                                  state.



        NOTICE TO CALIFORNIA PURCHASERS
        Volkswagen participates in BBB AUTO LINE, a               California Civil Code Section 1793.2(d} requires
        mediatlon/arbitration program administered by the         that, ff Volkswagen or its representative Is unable
        Council of Better Business Bureaus (3033 Wilson           to repair a new motor vehicle to conform to the ve-
        Boulevard, Suite 600, Arlington, Virginia 22201).         hicle’s applicable express warran~ after a reason-
        BBBAUTO LINE and Volkswagen have been certi-              able number of aftempts, Volkswagen may 3e re-
        fied by the Arbitration Cerdficat[on Program of the       quired to replace or repurchase the vehicle. Cali-
        California Department of Consumer Affairs.                fornia Civil Code Section 1793.22~o= creates a ore-
                                                                  sumption that Volkswagen has had a reasonable
        If you have a problem arising under any Volkswa-          number of attempts to conform the vehicle to its
        gen wdffen warranty, we request {hat you bring it to      applicable express warranties if within 18 months
        Volkswagen’s attention, ffwe are unable to resolve
                                                                  from delivery to the buyer or 18.000 miles on the
        it, you may file a claim with BBB AUTO LINE.
                                                                  vehicle’s odometer, whichever occurs first one or
        Claims must be filed with BBB AUTO LINE within             more of the following occurs:
        six (6) months after the expiration of the warranty.
                                                                   ¯ The same nonconformity (a failure to conform
        To file a claim with BBB AUTO LINE, call:
                                                                  to the written warranty that substantially impairs
        Tel.: 1 (800) 955-5100.                                   the use. value, or safety of the vehicle) results in a
                                                                   condition that is likely to cause death or serious
        There is no charge for the call.                           bodily injury if the vehicle is driven AND the non-
         In order to file a claim with BBB AUTO LINE, you          conformity has been subject to repair ~o or more
        will have to provide your name and address, the            times by Volkswagen or its agents AND the buyer
         brand name and Vehicle identification Number              or lessee has directly notified Volkswagen of the
         (VIN) of your vehicle, and a statement of the na-         need for the repair of the nonconformity: OR
        ture of your problem or complaint. You will also be        ¯ The same nonconformity has been subject to
         asked to provide: the approximate date of your ac-        repair 4 or more times by Volkswagen or its agents
         quisition of the vehicle, the vehicle’s current mile-     AND the buyer has notified Volkswagen of the
         age, the approximate date and mileage at the time         need for the repair of the nonconformity; OR
         any problem(s) were first brought to the attention
         of Volkswagen or one of our dealers, and a state-         ¯ The vehicle is out of service by reason of the
                                                                   repair of non-conformities by Volkswagen or ~[s
         ment of the relief you are seeking,
                                                                   agents for a cumulative total of more than 30 cal-
         BBB AUTO LINE staff‘may try to help resolve your          endar trays affer delivery of the vehicle to the buy-
         dispute through mediation. If mediation is not suc-       er.
         cessful, or ffyou do not wish to participate in medi-
         ation, claims within the program’s jurisdiction may      NOTICE TO VOLKSWAGEN AS REQUIRED
         be presented to an arbitrator at an informal hear-       ABOVE SHALL BE SENT TO THE FOLLOWING
         ing. The arbitrator’s decision should ordinarily be      ADDRESS:
         issued within 40 days from the time your complaint       Volkswagen Group of America, Inc,
         is flied; there may be a delay of 7 days if you did      Customer CARE
         not first contact Volkswagen about your problem,         3800 HamSn Road
         or a delay of up to 30 days if the arbitrator requests   Auburn Hgls, M148326
         an inspection/report by an impartial technical ex-
         pert or further investigation and report by BBB AU-      The following remedies may be sought in BBB AU-
         TO LINE.                                                 TO LINE: repairs, reimbursement for money paid
         You are required to use BBB AUTO LINE before             result of a vehicle nonconformity, repurcnase or
         asserting in court any rights or remedies conferred      placement of your vehicle, and compensation for
         by California Civil Code Section 1793.22. You are        damages and remedies available under Volkswa-
         not required to use BBB AUTO LINE before pursu-          gen’s written warranty or applicable law
         ing rights and remedies under any other state or
         Federal law.


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                  The following remedies may not be sought in BBB           fyou accept the arbitrator’s decision Volkswagen
                  AUTO LINE: punitive or multiple aamages,                 will be bound by the decision and will comply with
                  hey fees. or co~se(~uential damages other than as        the decision within a reasonable time not to ex-
                  provided in California Civil Cede Section 1794(a)        ceed 30 days after we receive notice of your ac-
                  and ~b)                                                  ceDtance of the decision.
                  You may rejec~ the decision issued by a E~BB AU-         Please call BBB AUTO LINE for further details
                  TO LINE arbitrator. If you reject the decision you       about the program.
                  will be free to pursue further legal action. The arbi-
                  trator’s decision and any findings will be admissible
                  in a court action.
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        Service Publications
        Volkswagen Technical Literature Ordering Center
        Updated service information you can obtain

        Volkswagen monitors product perrormance in the           Volkswagen service information and Owner’s Liter-
        field and regu~any sends dealers the latest sen~ice      ature 24 hours / 7 days a week on the Intemet
        information about Volkswagen vehicles. Now you           from the Volkswagen Technical Literature Ordedng
        [oo, can obtain the latest servlce information, Your     Center link at:
        Volkswagen dealer or a qualified technician may          n~Ds://w~wv.vw.techlgeratu re.co m
         "ave to determihe if a specigc item of service infor-
         "nation applies to your vehicle. You can order



        What you will also find on the website
                                                                 ¯   Warranty Manuals
        ¯ Owner’s Manuals Inserts and Supplements                ¯   Warranty and Maintenance Manuals
        ¯ Maintenance Booklets                                   ¯   Sound System and Navigation Manuals




                                                                                   Service Publications     2t
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                  Tire Manufacturers

                  List of tire manufacturers for new Volkswagen vehicles
                  The Magnuson-Moss Warranty Federal Trade               Continental General
                  Commission Improvement Act of 1975 and regula-         1800 Continental Blvd.
                  tions issued oursuant to the act require that a tire   Charlotte, NC 28273
                  warranty pamphlet be placed in every new vehicle       TeL: 1 (800) 847-3349
                  prior to sale.
                                                                         Michelin Tire Corp.
                  To assist you in obtaining the related warranty        P.O. Box 19001
                  formation, the following ist of tire manufacturers     Greenville, SC 29602-9001
                  and addresses is being prowaea.                        Tel.: 1 (800) 847-3435
                  Tire Manufacturers                                     Plrel9 Tires North America
                  Dunlop Tire Corp,                                      300 George Street, 5th Floor
                  1144 East Market Street                                New Haven, CT 06511
                  Akron. OH 44316                                        Tel.: 1 (8O0) 747-3554
                  Tel.: 1 ~800) 548-4714                                 Uniroyal Goodrich Tire Co.
                  Bridgestone/Firestone Inc.                             P.O. Box 19001
                  1 Bddgestone Park                                      Greenville, SC 29602-9001
                  Nashville ]-N 37214                                    Tel.: 1 (800) 521-9796
                  Tel.: 1 1800) 356-4644                                 Hankook Tires Corporate Headquarters
                  Goodyear Tire & Rubber Co.                             1450 Valley Road
                  1144 East Market Street                                Wayne, NJ 07470
                  Akron OH 44316                                         Tel.: t (877)740-7000
                  Tel.: 1 (800) 32%2136




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        Maintenance

        Warranty voucher
        Present this voucher to an authorized dealer if war°
        ran[y service is reauired,


            The warranty period begins on the date the vehicle is
            delivered to either the original purchaser or the original
            lessee: or if the vehicle is first c aced in service as a
            "demonstrator" or "company car. on the date such vehi-
            cle is first [aced in service.


            Month               Day                 Year



                                                                         Stamp of authorized Volkswagen Deal-
                                                                                           er
                 Ito be filled in by authorized Volkswagen Dealer~




                   [




                    Vehicle Identification Label
                    Vehicle identification No. / Engine Code
                    Type / Engine / Transmission
                    Transmission Code / Paint No. / Interior / Engine / Engine Code
                    Optional EauiDmen~




                                                                                        Maintenance
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                        Odometer replacement and other dealer stamps


                                                                    Air Conditioner
                                                            Warranty Registration Certificate
                                                              (except factory installation)

                                                            Attach here (for dealer use only)




                                                       Federal Law requires that a label be affixed
                                                 to the left door f~ame when the replacement odometer
                                                       does not indicate the actual vehicle mileage
                                                                after repair or replacement.

                                        Genuine Volkswagen replacement odometers are supplied with a label



                         Odometer Replacement

                         Month            Day           Year
                         (to be filled in by authorized Volkswagen
                         Dealer)




                                                                             Stamp of authorized Volkswagen Dealer
                                        At mileage




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        Service information
        Dealer service                                          Emission control maintenance
        There are approximately 600 authorized Volkswa-              A clean environment is of concern to all of
        gen dealers in the United States. They have Volks-           us. Volkswagen has built into your vehicle
        wagen trained technicians, proper workshop equip-            an efi~lcie ct emission control system, using
        ment and parts to give you expert service,                   genuine Volkswagen parts, in conformance
        Volkswagen dealers are committed to quality serv-            with the Federal Clean Air Act in the United
                                                                     States. To help keep our air clean, you can
        ice.
                                                                     do your part by having your vehicle’s mainte-
         ¯ Your authorized Volkswagen dealer offers many             nance services and all repairs performed in
         services for your convenience, such as extended             a timely manner.
         service hours, early btrd service, body repairs, to    2    Maintenance, repair or replacement of
         name just a few. Ask about them.                            emission control components may be
         ¯ Arrange your service with your dealer when it is          performed by any qualified automotive
         convenient for you.                                         service and repair establishment or indi-
         ¯ Ask your Service consultant about the service             vidual without affecting the Emission
         you need and discuss the cost involved.                     Control System Warranty, provided that
                                                                     such repairs are performed to manufac-
         ¯ Leave word where you can be reached during                turers specifications, and that replace-
        the day and when you would like to pick your car             ment parts are at least equivalent to gen-
         up.                                                         uine Volkswagen parts in emission per-
         ¯ Keepa]lreceiptsofmaintenanceandrepairs                    formance and durability. Warranty repairs
         performed. Your service record is important when            and replacements, however, must be per-
         making use of your warranty.                                formed by an authorized Volkswagen
         ¯ Maintenance services performed by your au-                dealer.
        thorized dealer at the intervals specified, will also   3    If other than genuine Volkswagen replace-
         be documented in this booklet.                              ment parts are used, [ne owner snoula make
         ¯ Automobile technology changes continuously.               sure that such parts are warranted by their
        Your authorized Volkswagen dealer always has the             manufacturer and that they are at least
         most current Service and Maintenance information            equivalent to genuine Volkswagen replace-
        for your Volkswagen model. It is possible that th~s          ment parts in emission performance and du-
         information may differ from the check points listed
         in this booklet. Your Volkswagen Service consul-       Why maintenance?
        tant can answer any questions you may have.
                                                                With proper maintenance and care, your Volkswa-
        Do-it-yourself service                                  gen model wig continue to provide you with a de-
        Your Owner’s Manual contains many helpful hints         pendable and safe driving experience. This booklet
        on what you can service yourself.                       contains Volkswagen’s prescribed service intervals
                                                                as well as other important information you need to
        ¯ You can check tires for wear or damage and            know to care for your Volkswagen model propeny
        correct tire pressure, including the spare.             Adherence to the prescribed maintenance sew-
        ¯ Youcancheckthewindshieldwashercontain-                ices and intervals is necessary to protect your
        or.                                                     investment and help ensure optimum perform-
                                                                ance. Failure to follow recommended mainte-
        ¯ You can check your car’s intedor and exterior
        lighting system for correct fonction[ng.                nance services and intervals may result in a de-
                                                                nial of your warranty coverage. Please see the
        ¯ You can check the engine oil level with every         warranty section of this booklet for fur[her details.
        fuel filling.
                                                                Your vehicle is designed to keep maintenance re-
        ¯ You can perform these simple checks once a            quirements to a minimum.
        week. They save time, trouble and expense later.
                                                                Today’s vehicles are precision engineered ma-
        Your technician will not check the above men-           chines. They are designed with people’s safety in
        tioned items In each case during regular sew-           mind, and are equipped with emission control sys-
        foe and maintenance visits.                             tems to help keep our air clean. However, a cer[am
                                                                amount of regular maintenance is still necessary to
                                                                help assure optimum performance and reliabilit]. A


                                                                                          Maintenance        25
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                  well-maintained vehicle conserves fuel, protects       peratures and/or excessive dust, it is necessary for
                  against unwanted emissions, and may prevent a         some services to be 3edormed between the
                  major repair expense at a later date.                  scheduled intervals. This applies particularly to en-
                  Fogow the service interVals schedule and ~tem~zed     gine oil changes and the cleaning or replacing of
                   ist of services for each and make flu[d level and    the air cleaner filter element.
                  tire 3ressure checks between the scheduled inter-     Authorized Volkswagen dealers are ready to
                  vals as recommended in xour vehicle Owners            serve you and are committed to quality service=

                  The service intervals schedule is based on vehi-
                  cles operating under normal conditions. In the case




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The "National Traffic & Motor
Vehicle Safety Act of 1966" requires                                                                                NO POSTAGE
manufacturers to be in a position to                                                                                NECESSARY
contact vehicle owners if a correction
of a safety-related defecl or an
noncompliance with an applicable
Federal motor vehicle safet~ standard
becomes necessary.
                                                                                                 II                   = MAILED
                                                                                                                       iN THE
                                                                                                                   UNITED STATES




Please complete one of the attached
oostcaros if vou change your address
or purchase a used Volkswagen.              BUSINESS REPLY MAIL
                                          FIRST-CLASS MAIL PERMITNO. 107
                                                            PONTIAC MI
You neee not use this carc if vou
ourcnasee your car through an             POSTAGE WILL BE PAID BY ADDRESSEE
authorized Volkswagen dea~er
Quote ~ne complete Vehicle
dentification Number (VINI of your
Volkswagen. Do not use an abbreviated     ATTN PRODUCT COMPLIANCE
Bumper                                    VOLKSWAGEN OF AMERICA INC
_ocations of the Vehicle Identification   PO BOX 217022
~lumber (VIN) are illustrated aria        AUBURN HILLS MI 48321-9802
explained in the Owner’s Manual
Additional cards can be obtained from
any authorized Volkswagen dealer.                            I,l,,ll,,I,,,ll,,,I,l,,,lll,l,,I,,I,II,,,,,I,l,,ll,
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The "National Traffic & Motor
Vehicle Safety Act of 1966" requires                                                                            NO POSTAGE
manufacturers to be in a position to                                                                            NECESSARY
contact vehicle owners if a correction                                                                           IF MAILED
of a safety-related defect or an                                                                                   IN THE
noncompliance with an applicable                                                                               UNITED STATES
Federal motor vehicle safety standard
becon~es necessary.


Please como~ete one of tne attached
postcards if you cnange your address
or purchase a used Volkswagen.               BUSINESS REPLY MAIL
                                           FIRST-CL/kSS MArL PER.MIT NO. 107        PONTIAC MI
You neeo not use this care if you
purchased your car l:nrougn an             POSTAGE WILL BE PAID BY ADDRESSEE
author zed Volkswagen dealer.
Quota the complete Vehicle
Identification Number IVIN of your
Volkswagen. Do ao~ ase an abbreviated      ATTN PRODUCT COMPLIANCE
numoer,                                    VOLKSWAGEN OF AMERICA INC
Loca’~ions of the Vehicle Identificatior   PO BOX 217022
Number IVINI are illustrated anc           AUBURN HILLS MI 48321-9802
explained in the Owner’s Manual.
Additional cares can be obtained frorr
any authorized Volkswagen aea=er.                             I,l,,ll,,I,,,ll,,,I,l,,,ill,l,,I,,I,II,,,,,I,l,,ll,I
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                 Other Terms
                 The Volkswagen Carefree Maintenance Program           substantially reassembled from or repaired with
                 goes no[ cover vel~lCleS severely damaged or de-      parts obtained from another used vehicle (referred
                 clared to be a total loss by an insurer or vehicles   to as salvage parts).




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       Service schedule

       Delivery inspection
       ¯ Your authorized Volkswagen dealer will fill out          for your Volkswagen moaeL ~[ ~s possible that this
       the necessary information and stamp this booklet           information may differ from the check points listed
       to confirm that the necessary services have been           in this booklet, Your Volkswagen Service consu~-
       performed,                                                 tant can answer any questions you may nave.
       ¯ Automobiletechnolegychangescongnuously.                  ¯ Ifyouarenotsurewhentobdngyourcarinfor
       Your authorized Volkswagen dealer always has the           service, ask your authorized Volkswagen Sen/ice
       most current Service and Maintenance information           consultant.

       Delivery Inspection
       Before your vehicle is delivered to you, it is inspected according to factory guidelines.
       The Delivery Inspection was performed on:
                                   Next Service:
       Date: ........................
       Miles: ...................




                      (whichever occurs first)                      Today’s date and Volkswagen Dealer stamp


       Points to Review
       Points to review during every service,                    ¯Headlignts: Check adjustment
        ¯ Battery: Check (and second battery if appli-           ¯ Lighting: Front and rear lights, luggage com-
       cable)                                                    partment I=ghting, turn signals, and hazard warning
                                                                 lights: Check
       ¯ Coolant level and frost protection: Check
                                                                 ¯ Visual insoection of windshield. Note damage g
        ¯ Engineandenginecomparfmentcomponents:
       Check (from above) for leaks and damage
        ¯ Engine and engine compartment components:
       Check (from below) for leaks and damage, check
       transmission, final drive, and ddve shaft boots




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                  Service at 10,000 miles (Included in the Volkswagen Carefree Maintenance
                  Program)

                 Service at 10,000 miles or one year from vehi-         ¯ Service inten/al display: Reset
                 cle in-service date, whichever occurs first,           ¯ Service sgcker: Enter the date of the next ser~-
                 ¯ AdBlue~ fluid: Check and add if necessary            ice on the service sticker and apply to the driver’s
                 (Passat 2.0L TDI engine only)                          side-door pillar
                 ¯ Brake pads: Check thickness and brake disc           ¯ Tires: Rotate front to rear
                 condition. Look for contact oattern and corrosion of   ¯ Win~]shieid washer, headlight cleaning system,
                 brake discs (front and rear)                           and wiper blades: Check for damage and function.
                 ¯ Engine: Change oil and replace oil filter            Check fluid level and add if necessary
                 ¯ Rear window: Check cleaning nozzle funcgon-
                 ality (if applicable)

                                             Next Service:
                  Date:........................
                  Miles:...................




                                    whichever occurs first                 Today’s date and Volkswagen Dealer stamp
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       Service at 20,000 miles (Included in the Volkswagen Carefree Maintenance
       Program)

       Service at 20,000 miles or one year after last        ¯ Fuel filter: Reolace (2.0L TDI engi.e only)
       servfoe, whichever occurs first.                      ¯ Rear w~ndow: Check cleaning nozzle function-
       ¯ AdB~ue~ fluid: Check and add if necessary           ality (if applicable)
       (Passat 2.0L TDI engine only)                         ¯ Service interval display: Reset
       ¯ Battery: Check (and second battery if appli-        ¯ Service sficker: Enter the date of the next serv-
       cable)                                                ice on the service sticker and apply to the driver’s
       ¯ Brakes: inspect brake system and shock ab-          side-door oil]at
       sorber for leaks and damage, check thickness of       ¯ Tires: Check tread deoth, condlfion, wear pat-
       brake pads, brake disc condition front and rear.      tern, and pressure of all tires (including spare)
       Look for contact pattern and corrosion of brake       ¯ Tires: Rotate fron[ to rear
       discs, and check brake fluid level subject to abra-
       sion                                                  ¯ Windshieldwashe- headlightcleanfogsys[ern
                                                             and wiper blades: Check for damage and function.
       ¯ Dust and pollen filter: Replace (if appficable)     Check fluid level and add if necessary
       ¯ Engine: Change oil and replace oil filter

                                    Next Service:
        Date: ........................
        Miles:...................




                          whichever occurs first                Today’s date and Volkswagen Dealer stamp




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                 Service at 30,000 miles (Included in the Volkswagen Carefree Maintenance
                 Program)

                 Service at 30.000 miles or one year after last        ¯ Service interval disptay: Reset
                 service, whichever occurs first.                      ¯ Servicesflcker:Enterthedateoffhenextser~-
                 ¯ AdBlue® fluid: Check and add if necessary           ice on the sen/ice sticker and apply to the driver’s
                 {Passat 2.0L TDI engine only)                         side-door pillar
                                                                       ¯ Tires: Rotate front to rear
                 ¯ Brake Deals: Check thickness and brake disc
                 condition. Look for contact ~agern and corrosion of   ¯ Windshield washer, headlight cleaning system,
                 brake discs (front and rear}                          and wiper blades: Check for damage and function.
                 ¯ Engine: Change oil and replace oil filter           Check fluid level and add if necessary
                 ¯ Rear window: Check cleaning nozzle function-
                 ality (if applicable)

                                             Next Service:
                  Date:........................
                  Miles:...................




                                    whichever occurs first                Today’s date and Volkswagen Dealer stamp




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      Service at 40,000 miles

      Service at 40,000 miles or one year after last        ¯ Lighting: Front and rear lights, luggage com-
      service, whichever occurs first.                      partment lighting, turn signals, ana nazaro warning
                                                            lights: Check
      ¯ AdBlue® fluid: Check and add if necessary
      (Passat 2.0L TDI engine only)                         ¯ Power steering: Check oil level
      ¯ Battery: Check (and second battery if appli-        ¯ Rearwindow:Checkcleaningnozzlefoncfion-
                                                            ality (if applicable)
      cable)
      ¯ Body: Visual inspection for corrosion               ¯ Ribbed belt: Check condition
      ¯ Brakes: Inspect brake system and shock ab-          ¯ Service interval display: Reset
      sorber for leaks and damage, check thickness of       ¯ Service sticker: Enter the date of the next serv-
      brake pads, brake disc condition front and rear.      ice on the sen/ice sticker and apply to the driver’s
      Look for contact pattern and corrosion of brake       side-door pillar
      discs, and check brake fluid level subject to abra-   ¯ Spark plugs: Replace (2.0L MPI and 2.5L on-
      sion                                                  ~y)
      ¯ Convertible roof, CSC roof, and retractable         ¯ Sunroof and Panoramic sunroof: Check. clean.
      hard top: Check for function and damage and           and lubricate (if applicable)
      clean and lubricate seals (if applicable)
                                                            ¯ Sunroof: Open sunroof and check front and
      ¯ Convertible roof water drains: Check (Beetle        rear water drains and clean if necessary (if appli-
      Convertible only)                                     cable)
      ¯ Coolant level and frost protection: Check           ¯ Test drive: Check braking, kickdown, steering,
      ¯ CV joints: Check for leaks and damage               electrical, heating and ventilation systems, a~r con-
      ¯ Door checks and mounting pins: Lubricate            ditioning, handling, and parking brake
       ¯ Dust and pollen filter: Replace (if applicable)     ¯ Tie rod ends: Check for excessive play and
                                                            looseness, check boots
       ¯ Engine: Change oil and replace oil filter
                                                             ¯ 3ires: Check tread depth, condigon, wear pa~-
       ¯ Engine and engine compar[mect components:          tern, and pressure of all tires (including spare)
      Check (from above) for leaks and damage
                                                            ¯ Tires: Rotate front to rear
       ¯ Engine and engine compartment components:
      Check (from below) for leaks and damage, check         ¯ Transmission: DSG (non Automafic): Change
      transmission, final drive, and drive shaft boots      fluid and filter
       ¯ Exhaust system: Check for leaks, damage, and        ¯ Underbody: inspect under seal underbody
      secure fittings                                       tdms, pipe placing, and plug for damage
                                                             ¯ WindsMe]d washer, headlight cleaning system.
       ¯ Fuel glter: Replace (2.0L TDI engine only)
                                                            and wiper blades: Chock for damage and function.
       ¯ Headlights: Check adjustment                       Check fluid level and add if necessary
       ¯ Intedor lighting and glove box lights, cigarette
      lighter/power outlets, horn, and all warning lamps:
      Check

                                   Next Service:
       Date: ........................
       Miles:...................




                         whichever occurs first                Today’s date and Volkswagen Dealer stamp




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                 Service at 50,000 miles

                 Service at 56,000 miles or one year after last         ¯ Service interval display: Reset
                 service, whichever occurs first.                       ¯ Servlce st~cker: Enter the date of the next serv-
                 ¯ AdBlue~ fluid: Check and add fl necessary            =ce on the service sticker and apply to the driver’s
                 (Passat 2.0L TDI engine only)                          s~ae-aoor pillar
                 ¯ Brake pads: Check thickness and brake disc           ¯ ~res: Rotate front to rear
                 condition. Look for contaci pattern and corrosion of   ¯ Transmission: Automagc (non DSG): Change
                 brake discs [front and rear)                           fluid (2.0L MPI and 2.5L only)
                 ¯ Engine: Change oil and replace oil filter            ¯ Windshield washer, headlight cleaning system,
                 ¯ Rear window: Check cleaning nozzle function-         and wloer blades: Check for damage and function.
                 ality (if applicable)                                  Check fluid level and add if necessary

                                              Next Service:
                  Date: ........................
                  Miles:...................




                                     whichever occurs first                Today’s date and Volkswagen Dealer stamp




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       Service at 60.000 miles

       Service at 60.000 miles or one year after last       ¯ Rear window: Check cleaning nozzle fonction-
       service whichever occurs first.                      ality (if applicable)
       ¯ AdBlue® fluid: Check and add if necessary          ¯ Service interval display: Reset
       (Passat 2.0L TDI engine only)                        ¯ Servicesgcker:Enterthedateofthenextserv-
       ¯ Air flfler element and snow screen: Reolace el-    ice on the service sticker and apply to the driver’s
       ement and clean screen and housing (if applica-      side-door 3illar
       ble}                                                 ¯ Spark plugs: Replace (2.0T and 3.6L only)
       ¯ Battery: Check (and second battery if appfl-       = Timing belt: Check and replace if necessary
       cable)                                               (2.0L MPI only} If replaced at 60.000 miles, check
       ¯ Brakes: Inspect brake system and shock ab-         every 60.000 miles after. If not replaced at 60,000
       sorber for leaks and damage, check thickness of      miles, check even/20.000 miles until replaced.
       DraKe paas. brake disc condition front and rear.     then every 60.000 miles
       Look for contact oattem and corrosion of brake       ¯ Tires: Check tread depth, condition, wear DaF
       discs and check brake fluid level subject to abra-   [em. an pressure of all tires (including spare}
       sion                                                 ® Tires: Rotate front to rear
       ¯ Dust and pollen filter: Replace (if applicable)    ¯ Windshield washer headlight cleaning system¯
       ¯ Engine: Change oil and replace oil filter          ana wiper blades: Check for damage and function.
           Fuel filter: Replace (2.0L TDI engine only)      Check fluid level and add if necessary
                                                                                                                   _.
                                   Next Service:
       Date: ........................
       Miles:...................




                         whichever occurs first               Today’s date and Volkswagen Dealer stamp




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                Service at 70,000 miles

                Service at 70,000 miles or one year after last         ¯ Service interval display: ~eset
                service, whichever occurs first.                       ¯ Service sticker: Enter the date of the nex[ serv-
                = AdBlue® fluid: Check and add if necessary            ice on the service sticker and apply to the driver’s
                                                                       side-door pillar
                (Passat 2.0L TDI engine only)
                                                                       ¯ Tires: Rotate front to rear
                ® ~rake Pads: Check thickness and brake disc
                condition. Look for contact eattern and corrosion of    ¯ Windshield washer, headlight cleaning sys[em.
                brake discs (front and rear)                           ana wider blades: Check for damage and function,
                ¯ Engine: Change oil and replace oil filter            Check fluid level and add if necessary
                ¯ Rear window: Check cleaning nozzle function-
                ality (if applicable)

                                              Next Service:

                 Miles: ...................




                                       whichever occurs first             Today’s date and Volkswagen Dealer stamp




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      Service at 80,000 miles

      Service at 80,000 mges or one year after last           ¯ Power steering: Check oil level
      service whichever occurs first.                         ¯ Rearwindow:Checkcleaning ~ozzlefunction-
      ¯ AdBlue® fluid: Check and add if necessary             al~ty (if applicable)
      (Passat 2.0L TDI engine only)                           ¯ Ribbed belt: Check condition
      ¯ Battery: Check (and second battery if appli.          ¯ Service interval display: Reset
      cable)                                                  ¯ Service sticker: Ecter me date of the next serv-
      ¯ Body: Visual inspection for corrosion                 =co on the service sticker and apply to the ddver’s
      ¯ Brakes: inspect brake system and shock ab-            side-door 3illar
      sorber for leaks and damage, check thickness of         ¯ Spark plugs: Replace (2.8L MPI and 2.5L
      DraKe oaas. brake disc condition front and rear
      Look for contact oattern and corrosion of brake          ¯ Sunroof and Panoramic sunroof: Check. clean
      discs and check brake fluid level subject to abra-       and lubricate (if applicable}
                                                               ¯ Sunroofi Coon sunroof and check front and
      ¯ Conver[ible roof. CSC roof. and retractable            rear water erains and clean if necessary (if appli-
      hard lop: Check for function and damage and              cable)
      clean and lubricate seals (if applicable)
                                                               ¯ Test drive: Check braking, k[ckdown, steering,
      ¯ Conver[ible roof water drains: Check (Beege            electrical, neaung and ventilation systems, air con-
      Convertible only)                                        dttioning, handling, and parking brake
      ¯ Coolant level and frost protection: Check              ¯ Tie rod ends: Check for excessive p~ay and
      ¯ CV joints: Check for leaks and damage                   ooseness check boots
      ¯ Door checks and mounting pins: Lubricate               ¯ Timing belt: Check and reolace if necessary
      ¯ Dust and oollen filter: Replace (if applicable)        (2.0L MPI only) If replaced at 60.000 miles, check
                                                               every 60.000 miles after, if not reolaced at 60,000
      ¯ Engine: Change oil and replace oil filter              miles, check every 20.000 miles until reolaced.
      ¯ Engine and engine compartment comoonen[s:             then every 60.000 miles
      Check (from above} for leaks and damage                  ¯ Tires: Check tread depth, condition, wear pat-
                                                               tern. and pressure of all tires (including spare)
      Check (from below} for leaks and damage, check          ¯ Tires: Rotate front to rear
      transmission final drive, and ddve shaft boots
                                                               = Transmission: DSG (non Aufomafic): Change
      ¯ Exhaust system: Check for leaks, eamage, and          fluid and filter
      secure flthngs
                                                               ¯ Underbody:Inspect under se~ underbody
      ¯ Fuel filter: Replace (2.8L TBI engine only)
                                                              ~nms, pipe placing, and plug for damage
      ¯ Headlights: Check ad.us[mem                            ¯ Windshield washer, headlight cleaning sysmm
           ~terior lighting and glove box lights, c~garette    and wiper blades: Check for damage and function.
      ~ghter/power outlets norm and all warning romps:         Check fluid level and add if necessary
      Check
      ¯ Lighting: Front and rear ghts, luggage com-
      partment lighting, turn signals, and hazard warning
      lights: Check
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                                            Next Service:
                 Date:........................
                 Miles:...................




                                    whichever occurs first                Today’s date and Volkswagen Dealer stamp



                 Service at 90,000 miles

                 Service at 90,000 miles or one year after last         ¯ Service interval display: Reset
                 service, whichever occurs first.                       ¯ Service sficker: Enter the date of the next serv-
                 ¯ ~,dBlue® fluid: Check and add if necessary           ice on the service sticker and apply to the driver’s
                 (Passat 2.0L TDI engine only)                          side-door pillar
                 ¯ Brake pads: Check thickness and brake disc           ¯ Tires: Rotate front to rear
                 condition. Look for contact pattern and corrosion of   ¯ Windshield washer, hea®ight cleaning system,
                 brake discs (front and rear)                           and wiper blades: Check for damage and function.
                 ¯ Engine: Change oil and reolace oil filter            Check fluid level and add if necessary
                 ¯ Rear window: Check cleaning nozzle fun®ion-
                 allty (tf applicable)

                                             Next Service:
                  Date:........................
                  Miles:...................




                                    whichever occurs first                 Today’s date and Volkswagen Dealer stamp




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       Service at 100,000 miles
       Service at 100,000 miles or one year after last        ¯ Service interval display: Reset
       service, whichever occurs first.                       ¯ Service sticker: Enter the date of the next serv*
       ¯ AdBlue~ fluid: Check and add if necessary            ce on [he service sticker and apply to the driver’s
       (Passat 2.0L TDI engine only)                         SlQe*QOOF Pillar
       ¯ Bafter~ Check (and second battery if appli-          ¯ Timing belh Check and replace if necessary
       cable)                                                (2.0L MPI only) If replaced at 60 300 miles, check
                                                             every 60.000 miles after. If not reelaced at 60.000
       ¯ 3rakes: Inspect brake system and shock ab-          miles, check every 20.000 miles until reo~aceo.
       sorber for leaks and damage check thickness of        then every 60.000 miles
       brake 3ads brake disc condition front and rear.
       Look for contact oaftern and corrosion of brake        ¯ Tires: Check tread depth, condition, wear oat-
       discs, and check 3rake fluid level subject to abra-   [ern. ane pressure of all tires (including spare}
       SlOt~                                                 ¯ Tires: Rotatefronttorear
      ¯ ~ust and oollen filter: Reolace (if applicable)       ¯ Transmission:Automatic (non DSG): Change
      ¯ Engine: Change oil and replace oil filter            fluid (2.0L MPI and 2.5L only)
      ¯ =uel filter: Replace (2.0L TDI engine only)           ¯ Windshield washer, headlight cleaning system,
                                                             ane wiper blades: Check for damage and function.
      ¯ ~ear window: Check cleaning nozzle function-         Check "uid level and add if necessary
      allty (if applicable}

                                   Next Service:
       Date: ........................
       Miles: ...................




                         whichever occurs first                Today’s date and Volkswagen Dealer stamp




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                Service at 110.000 miles

                Service at 110,000 miles or one year after last         ¯ Service interval display: Reset
                service, whichever occurs first,                        ¯ Service sticker: Enter the date of the nex[ sen/-
                ¯ Ad~31ue® fluid: Check and add if necessary           ice on the service sticker and apply to the ddveCs
                (Passat 2.0L TDI engine only)                          side-door pillar
                ¯ Brake pads: Check thickness and brake disc           ¯ Tires: Rotate ~ont to rear
                condition. Look for contacl pattern and corrosion of    ¯ Windsflield washer, headlight cleaning system,
                brake discs [front and rear)                            and wiper blades: Check for damage and function.
                ¯ Engine: Change oil and replace oil filter             Check fluid level and add if necessary
                ¯ Rear window: Check cleaning nozzle function-
                ality (if applicable)

                                             Next Service:
                 Date: ........................
                 Miles: ...................




                                    whichever occurs grst                 Today’s date and Volkswagen Dealer stamp




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     Service at 120,000 miles

     Service at 120,000 mOes or one year after last          ¯ Headlights: Check adjustment
     service, whichever occurs first.                        ¯ Interior lighting and glove box lights, cigarette
     ¯ AdBlue~) fluid: Check and add if necessary            lighter/power outlets, horn, and all warning lamps:
     (Passat 2.0L TDI engine only)                           Check
                                                             ¯ Lighting: Front and rear lights, luggage cora-        i:
     ¯ Air filter element and snow screen: Replace el*
     ement and clean screen and housing (if applica-         partment lighting, turn signals, and hazard warning
                                                             lights: Check
     bfa)
                                                             ¯ Power steering: Check oil level
     ¯ Satiety: Chedk (and second baftery if appli-
     cable)                                                  ¯ Rear window: Check cleaning nozzle function-
     ¯ Body: Visual inspecflon for corrosion                 ality (if applicable)
     ¯ Brakes: Inspect brake system and shock ab-            ¯ Ribbed belt: Check condition
     sorber for leaks and damage, check thickness of         ¯ Service interval display: Reset
     brake pads, brake disc condition front and rear.         ¯ Service s0cker: Enter the date of the next serv-
     Look for ¢ontsct pattern and corrosion of brake          ice on the service sticker and apply to the driver’s
     discs, and check brake fluid level subject to abra-     side-door pillar
     sion                                                     ¯ Spark plugs: Reptace (Ag engines except "~D~
     ¯ Convertible roof, CSC roof, and retractable            ¯ Sunroof and Panoramic sunroof; Check, clean
     hard top: Check for function and damage and
     clean and lubricate seals (if applicable)
      ¯ Convertible root water drains: Check (Beette
      Convertible only)
     ¯ Coolant level and frost protection: Check
      ¯ CV joints: Check for teaks and damage
      ¯ Diesel Particulate Fi[far: Perform after the first
      ~20,oog miles or 120,000 miles after a O fasel
      Pa~gculate Fitter (DPF) replacement: Check ash
      loading according to manufacturer work procedure;
      Replace if necessa~. NOTE: If DPF replacement
      is not necessary, perform check every 20,000
      m~k~s thereatter ung~ reptacement becomes neces-
      saw. (2.gL TDI engine only)
      ¯ Door checks and mounting pins: Lubricate
      ¯ Dustandpollenfilter:Replace(ifappOcable)
       ¯ Engine: Change oil and replace oil filter
       ¯ Engine and engine compartment components:
      Check (from above) for leaks and damage
       ¯ Engine and engine compartment components:
       Check (from below) for leaks and damage, check
       transmisslon, final dTive, and drive shaft boots
      ¯ Exhaust system: Check for leaks, damage, and




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                                             Next Service:
                 Date: ........................




                                    whichever occurs first                Today’s date and Volkswagen Dealer stamp



                 Service at 130,000 miles

                 service at t16,000 miles or one year after Fast        ¯ Service interval display: Resel
                 service, whichever occurs first.                        ¯ Service sticker: Enter the date of tl~e next serv-
                 ¯ AdB~ue®fluid:Checkandaddifnecessary                  ice on the service sticker and apply to the ddvers
                                                                        side-door pillar
                 (Passat 2.0L TDI engine only)
                 ¯ Brake pads: Check thickness and brake disc            ¯ Timing belt: Replace (2.0L TDI engine only)
                 condition. Look for contact aattern and corrosion of   ¯ Tires: Rotate front to rear
                 brake discs (front and rear)                            ¯ Windshield washer headlight cleaning system.
                 ¯ Engine: Change oil and replace oil filter             ano w per Diaries: Check for damage and function
                 ¯ Rear window: Check cleaning nozzle function-          Check fluid level and add ~f necessary
                 ality (if applicable)

                                              Next Service:
                  Date: ........................
                  Miles: ...................




                                     whichever occurs first                Today’s date and Volkswagen Dealer stamp




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       Additional service

       Time-dependent maintenance items
       Every 1 year:                                          Every 4 years regardless of miles driven:
       Perform visual check of airbag system.                 ¯ AdBlue® fluid: Change fluid if the mileage is
       Every 2 years:                                         under 10.000 miles (Passat 2.0L TDI engine only}
                                                              ¯ Spark plugs: Replace (2.0L MPI only}
           Check latch for convedible roof (if applicable)
                                                              ® Tire filler bo~le in the tire mobility set: Replace
           Dust and pollen filter: Replace (if applicable)    (observe expiration date)
       ¯ Tire filler bot[le in the tire mobility set: Check
                                                              Every 6 years regardless of miles driven:
       (observe expiration date)
                                                              ¯ Air filter e~ement and ~qow screen: Reolace el-
       At the 3 year mark, then every 2 years regard-
       less of miles driven:                                  ement and clean screen and housing ( r mileage is
                                                              under 60.000 miles) (if applicable)
       ¯ Brake fluid and clutch unit: Replace fluid. First    ¯ Spark plugs: Replace (All engines except
       fluid replacement included under the Volkswa-          2.0L MPI and TDI)
       gen Carefree Maintenance Program if mileage
       is less than or equal to 36,000 miles.
       Every 3 years:
       ¯ Haldex clutch: Change oil First fluid replace-
       ment included under the Volkswagen Carefree
       Maintenance Program if mileage is less than or
       equal to 36,000 miles. (Tiguan 2.0T and CC 3.6L
       4MOTION® only)




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                 Brake fluid replacement

                 Replacement record

                 J The brake fluid must be replaced every 3 years
                 regardless of mileage, and every 2 years thereafter
                 regardless of mileage driven. First fluid replace-
                 ment Included under the Volkswagen Carefree
                 Maintenance Program if mileage is less than or
                 equal to 36,000 miles.
                 Brake Fluid Replacement Record

                 A brake fluid replacement was performed on: ...........................................
                 Next Brake Fluid Replacement:

                 Date: ........................




                                                                                                    Today’s date and
                                                                                                Volkswagen Dealer stamp


                 A brake fluid replacement was performed on: ...........................................
                 Next Brake Fluid Replacement:

                 Date: ........................




                                                                                                     Today’s date and
                                                                                                 Volkswagen Dealer stamp




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      Brake Fluid Replacement Record

       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
                                                                                       Volkswagen Dealer stamp


       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
                                                                                       Volkswagen Dealer stamp


       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
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                 Brake Fluid Replacement Record

                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: ........................




                                                                                                        Today’s date and
                                                                                                    Volkswagen Dealer stamp


                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: ........................




                                                                                                        Today’s date and
                                                                                                    Volkswagen Dealer stamp


                  A brake fluid replacement was performed on: ...........................................
                  Next Brake Fluid Replacement:

                  Date: .......................




                                                                                                        Today’s date and
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      Brake Fluid Replacement Record

       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
                                                                                       Volkswagen Dealer stamp


       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
                                                                                       Volkswagen Dealer stamp


       A brake fluid replacement was performed on: ...........................................
       Next Brake Fluid Replacement:

       Date: ........................




                                                                                           Today’s date and
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                 Airbag Replacement
                 The airbag system can be deployed only once.              After an airbag has inflated it must be replaced.
                                                                           The proper replacement of airbags will be entered
                                                                           into the record by your authorized Volkswagen
                                                                           Dealer.

                   FrontAirbag                                  []       left               [] right
                   Side Airbag                                   left                       right
                                                                []       front             []       front

                                                                []       rear              []       rear

                   SIDEGUARD                                    []       left              []       right

                   Knee Airbag (where applicable)               []       left                       right
                                                                                           ~




                                               Authorized Volkswagen Dealer Stamp

                   Module rep~aceo                               Date:

                   Next Reolacemen[:                             Date:




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        FrontAirbag                                   lee
                                                ~                      [~ righl
        Side Airbag                              left                  right
                                                []      front          []      front

                                                []      rear           []      rear

        SIDEGUARD                               []      left           []      right

        KneeAirbag (where applicable)           []      left           []      r~gn~




                                  Authorized Volkswagen Dealer Stamp

        Module replaced:                        Date:

        Next Replacement:                       Date:




                                                                                 Maintenance   49
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      Afterword
      Volkswagen AG works constantly to improve all of
      its products. Due to ongoing vehicle development,
      changes in design, equipment, and technology are        press wn~en consent of Volkswagen AG
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      weights, fuel consumption, standards, and func-
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